Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 1Confidentiality
                                         to Further     of 88. PageID #: 248595
                                                                            Review

     1                UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
     2                      EASTERN DIVISION
     3
             IN RE: NATIONAL                 )
     4       PRESCRIPTION                    )   MDL No. 2804
             OPIATE LITIGATION               )
     5       _____________________           )   Case No.
                                             )   1:17-MD-2804
     6                                       )
             THIS DOCUMENT RELATES           )   Hon. Dan A.
     7       TO ALL CASES                    )   Polster
     8
                        FRIDAY, NOVEMBER 16, 2018
     9
              HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10                 CONFIDENTIALITY REVIEW
    11                          – – –
    12                Videotaped deposition of James
    13      Rausch, held at the offices of STINSON
    14      LEONARD STREET LLP, 7700 Forsyth Boulevard,
    15      Suite 1000, St. Louis, Missouri, commencing
    16      at 9:00 a.m., on the above date, before
    17      Carrie A. Campbell, Registered Diplomate
    18      Reporter and Certified Realtime Reporter.
    19
    20
    21
    22                           – – –
                       GOLKOW LITIGATION SERVICES
    23             877.370.3377 ph | 917.591.5672 fax
                             deps@golkow.com
    24
    25

   Golkow Litigation Services                                         Page 1 (1)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 2Confidentiality
                                         to Further     of 88. PageID #: 248596
                                                                            Review
                                            Page 2                                                 Page 4
    1         APPEARANCES:                            1   ALSO PRESENT:
    2
    3   KELLER ROHRBACK LLP
                                                      2    JASON TILLY,
        BY: DEAN KAWAMOTO                                  In-house Counsel for Mallinckrodt
    4      dkawamoto@kellerrohrback.com
           GARY GOTTO                                 3    Pharmaceuticals
    5      ERIKA KEECH                                4
        1201 Third Avenue, Suite 3200
    6   Seattle, Washington 98101                         VIDEOGRAPHER:
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    8                                                        Golkow Litigation Services
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   12
   13   ROPES & GRAY, LLP                            10
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   14      rocky.tsai@ropesgray.com
        3 Embarcadero Center                         12
   15   San Francisco, California 94111              13
        (415) 315-6300
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        and                                          15
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        800 Boylston Street
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        (617) 951-7000                               19
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   23      (VIA TELECONFERENCE)                      23
        725 Twelfth Street, N.W.
   24   Washington, DC 20005                         24
        (202) 434-5331                               25
   25   Counsel for Cardinal Health, Inc.
                                            Page 3                                                 Page 5
    1   COVINGTON & BURLING LLP                       1               INDEX
        BY: MICHELLE YOCUM                            2                              PAGE
    2      myocum@cov.com                                 APPEARANCES.................................. 2
           (VIA TELECONFERENCE)                       3
    3   850 Tenth Street, NW                          4   EXAMINATIONS
        Washington, DC 20001-4956                     5    BY MR. KAWAMOTO............................ 10
    4   (202) 662-6000                                     BY MS. HERZFELD............................ 301
        Counsel for McKesson Corporation              6
    5                                                 7    BY MR. TSAI................................ 336
    6   REED SMITH LLP                                8    BY MR. KAWAMOTO............................ 340
        BY: M. PATRICK YINGLING
    7      pyingling@reedsmith.com                    9
           (VIA TELECONFERENCE)                      10              EXHIBITS
    8   10 South Wacker Drive                        11      No.     Description          Page
        40th Floor
    9   Chicago, Illinois 60606-7507                 12   Mallinckrodt E-mail(s),             76
        (312) 207-1000                                    Rausch 1     MNK-T1_0000273559 -
   10
   11
        Counsel for AmerisourceBergen                13            MNK-T1_0000273562
        JONES DAY                                    14   Mallinckrodt September 27, 2006 letter       76
   12   BY: SARAH G. CONWAY                               Rausch 2     from the US Department of
           sgconway@jonesday.com                                   Justice, Drug Enforcement
   13   555 South Flower Street, 15th Floor          15
        Los Angeles, California 90071-2300                         Administration to
   14   (213) 489-3939                               16            registrants,
        Counsel for Walmart
   15                                                              MNK-T1_0000273563 -
   16   PELINI, CAMPBELL & WILLIAMS LLC              17            MNK-T1_0000273566
        BY: PAUL B. RICARD                           18   Mallinckrodt E-mail(s),             93
   17      pbricard@pelini-law com
           (VIA TELECONFERENCE)                           Rausch 3     MNK-T1_0000419874 -
   18   8040 Cleveland Avenue NW, Suite 400          19            MNK-T1_0000419875
        North Canton, Ohio 44720                          Mallinckrodt December 27, 2007 letter        93
   19   (330) 305-6400                               20
        Counsel for Prescription Supply,                  Rausch 4     from the US Department of
   20
   21
        Inc.                                         21            Justice, Drug Enforcement
        FOX ROTHSCHILD LLP                                         Administration to
   22   BY: JACOB PERSKIE                            22            registrants,
           jperskie@foxrothschild.com                              MNK-T1_0000421084 -
   23      (VIA TELECONFERENCE)
        1301 Atlantic Avenue, Suite 400              23            MNK-T1_0000421085
   24   Atlantic City, New Jersey 08401              24
        (609) 348-4515                               25
   25   Counsel for Validus Pharmaceuticals
   Golkow Litigation Services                                                      Page 2 (2 - 5)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 3Confidentiality
                                         to Further     of 88. PageID #: 248597
                                                                            Review
                                                      Page 6                                        Page 8
    1   Mallinckrodt Mallinckrodt Controlled        126         1        VIDEOGRAPHER: We're now on the
        Rausch 5     Substance Suspicious Order
    2            Monitoring Program,                            2   record. My name is James Arndt. I'm
                 Introductory Training for
    3            Field Sales, June 5, 2008                      3   a videographer for Golkow Litigation
    4   Mallinckrodt DEA Compliance Procedure,         151
        Rausch 6     Draft 3, published 6/2/08,                 4   Services.
    5            MNK-T1_0000419993 -                            5        Today's date is November 16,
                 MNK-T1_0000419997
    6
        Mallinckrodt Suspicious Order Monitoring 196
                                                                6   2018, and the time is 9 a.m.
    7   Rausch 7     Program, Dosage Products                   7        This video deposition is being
                 Shipment from Hobart,
    8            Activities 08/2008 through                     8   held in St. Louis, Missouri, in the
                 08/2010,
    9            MNK-T1_0000477900 -                            9   matter of the National Prescription
                 MNK-T1_0000477912
   10                                                          10   Opiate Litigation for the United
        Mallinckrodt Peculiar Order Process,       231         11   States District Court, Northern
   11   Rausch 8     MNK-T1_0000264431 -
                 MNK-T1_0000264432                             12   District of Ohio, Eastern Division.
   12
        Mallinckrodt November 2, 2010 Memorandum 236           13        The deponent is Jim Rausch.
   13   Rausch 9     from Howard Davis to Karen
                 Harper,                                       14        Will counsel please identify
   14            MNK-T1_0000269399 -
                 MNK-T1_0000269400                             15   themselves for the record?
   15
        Mallinckrodt Standard Operating           244          16        MR. KAWAMOTO: Dean Kawamoto,
   16   Rausch 10     Procedure, Due diligence                 17   Gary Gotto and Erika Keech from Keller
                 procedures and monitoring
   17            of controlled substances                      18   Rohrback on behalf of the MDL
                 sales,
   18            MNK-T1_0000269401 -                           19   plaintiffs.
                 MNK-T1_0000269406
   19                                                          20        MR. TSAI: Good morning. Rocky
        Mallinckrodt E-mail(s),               275
   20   Rausch 11     MNK-T1_0000307119                        21   Tsai, Ropes & Gray, representing the
   21   Mallinckrodt E-mail(s),               279
        Rausch 12     MNK-T1_0000266788                        22   witness and Mallinckrodt.
   22
        Mallinckrodt E-mail(s).               282
                                                               23        MR. DAVISON: William Davison,
   23   Rausch 13     MNK-T1_0000266994 -                      24   Ropes & Gray, representing the witness
                 MNK-T1_0000266997
   24
   25
                                                               25   and Mallinckrodt.
                                                    Page 7                                          Page 9
    1   Mallinckrodt E-mail(s),        286                      1        MR. TILLY: Jason Tilly,
        Rausch 14    MNK-T1_0000266735 -                        2   Mallinckrodt Pharmaceuticals.
    2            MNK-T1_0000266736                              3        MS. CONWAY: Sarah Conway on
    3   Mallinckrodt E-mail(s),        291                      4   behalf of Walmart.
        Rausch 15    MNK-T1_0000266730
    4
                                                                5        MS. HERZFELD: Tricia Herzfeld
        Mallinckrodt E-mail(s).                293              6   on behalf of plaintiffs for the
    5   Rausch 16      MNK-T1_0000298447                        7   Tennessee state litigation.
    6   Mallinckrodt E-mail(s),                298              8        VIDEOGRAPHER: The court
        Rausch 17      MNK-T1_0000387257 -                      9   reporter is Carrie Campbell, and she
    7            MNK-T1_0000387258                             10   will now swear in the witness.
    8     (Exhibits attached to the deposition.)
    9
                                                               11        MR. YINGLING: Yeah, this is
   10                                                          12   Patrick Yingling for
   11                                                          13   AmerisourceBergen.
   12                                                          14        MR. PERSKIE: Jacob Perskie
   13                                                          15   from Fox Rothschild for Validus
   14
   15
                                                               16   Pharmaceuticals in the Arkansas
   16
                                                               17   matter.
   17                                                          18        MS. YOCUM: Michelle Yocum from
   18                                                          19   on behalf of McKesson.
   19                                                          20        MS. MCNAMARA: Colleen McNamara
   20                                                          21   on behalf of Cardinal Health.
   21
   22
                                                               22        MR. RICARD: Paul Ricard on
   23
                                                               23   behalf of Prescription Supply, Inc.
   24                                                          24
   25                                                          25


   Golkow Litigation Services                                                         Page 3 (6 - 9)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 4Confidentiality
                                         to Further     of 88. PageID #: 248598
                                                                            Review
                                              Page 10                                             Page 12
    1               JAMES RAUSCH,                        1            Your attorney may object for
    2   of lawful age, having been first duly sworn      2   the record. Unless he instructs you not to
    3   to tell the truth, the whole truth and           3   answer, though, you are to answer the
    4   nothing but the truth, deposes and says on       4   question.
    5   behalf of the Plaintiffs, as follows:            5        A. Okay.
    6                                                    6        Q. Have you ever testified at
    7            DIRECT EXAMINATION                      7   trial?
    8   QUESTIONS BY MR. KAWAMOTO:                       8        A. One -- once.
    9       Q. Good morning, Mr. Rausch.                 9        Q. And can you describe the --
   10       A. Good morning.                            10   well, what was the nature of that trial?
   11       Q. Thank you for being here today.          11        A. Someone stole firearms from my
   12            So my name is Dean, and my             12   house -- or my apartment at the time. I went
   13   colleagues are Gary and Erika.                  13   to testify on identifying the firearm.
   14            I'm going to plan to take a            14        Q. And who are the other people
   15   break probably around every hour, but if you    15   seated next to you today?
   16   need one earlier, just please let me know.      16        A. These are the lawyers
   17       A. Okay.                                    17   representing Mallinckrodt.
   18       Q. Could you please state your              18        Q. And are they also your
   19   name and business address?                      19   attorneys?
   20       A. James Rausch, and I'm currently          20        A. They represent me.
   21   retired.                                        21        Q. Okay. And are you paying them
   22       Q. And you understand that you're           22   to be here today?
   23   under oath, right, sir?                         23        A. No.
   24       A. Yes.                                     24        Q. Okay. Do you know who is
   25       Q. And are you taking any                   25   paying them?
                                              Page 11                                             Page 13
    1   medications, or is there any other reason        1       A. Mallinckrodt.
    2   that would interfere with your ability to        2       Q. So, sir, I want to ask you a
    3   answer my questions fully and truthfully?        3   few questions about your deposition
    4       A. I'm taking medications, but it            4   preparation.
    5   wouldn't interfere with being able to answer     5            Did you review any documents in
    6   the questions.                                   6   preparation for this deposition?
    7       Q. Thank you.                                7       A. That's attorney-client
    8            And if I ask a question you             8   privilege.
    9   don't understand, please let me know and I       9       Q. My understanding, and Rocky can
   10   will try to rephrase it.                        10   object if he feels he needs to, but I'm not
   11       A. Okay.                                    11   asking you to identify for me the documents
   12       Q. Have you ever testified in a             12   that you reviewed. I just want to know if
   13   deposition?                                     13   you reviewed any documents.
   14       A. No.                                      14            MR. TSAI: You can answer that
   15       Q. Okay. So some basic ground               15       question.
   16   rules, just primarily for the benefit of the    16            THE WITNESS: Yes.
   17   court reporter, but it's very important that    17   QUESTIONS BY MR. KAWAMOTO:
   18   when I ask you a question, that you answer      18       Q. Okay. And did you review any
   19   verbally as opposed to nodding or shaking       19   deposition transcripts or other trial
   20   your head.                                      20   testimony?
   21       A. Okay.                                    21       A. No.
   22       Q. And it's also very important             22       Q. And did you review any expert
   23   that we not speak over each other. So I'll      23   reports?
   24   ask my question, and then I'll let you          24       A. Excerpt reports?
   25   answer.                                         25       Q. Expert reports.
   Golkow Litigation Services                                                   Page 4 (10 - 13)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 5Confidentiality
                                         to Further     of 88. PageID #: 248599
                                                                            Review
                                              Page 14                                              Page 16
    1      A.      No.                                   1       ask you to identify those -- I will
    2      Q.      My apologies.                         2       ask you to identify those documents.
    3            Do you recall reviewing any             3            Rocky?
    4   court documents?                                 4            MR. TSAI: I object on
    5       A. No.                                       5       attorney-client privilege and work
    6       Q. And what about any electronic             6       product grounds, and I instruct the
    7   records, for example, any databases?             7       witness not to answer to the extent
    8       A. No.                                       8       the question is asking him to identify
    9       Q. Now, have you looked at your              9       documents that were selected and
   10   own personal paper or electronic files to       10       compiled by counsel and discussed with
   11   prepare for this deposition?                    11       counsel.
   12       A. No, I've been retired for                12   QUESTIONS BY MR. KAWAMOTO:
   13   almost six years.                               13       Q. Okay. So I'm going to try to
   14       Q. Now, I take it you spoke with            14   modify that question, and your attorney may
   15   your attorneys prior to this deposition; is     15   also have the same objection.
   16   that fair?                                      16            But can you generally describe
   17       A. Yes.                                     17   for me the categories of documents that you
   18       Q. And do you recall whether it             18   looked at to refresh your recollection?
   19   was in person or by phone or both?              19       A. I believe that's
   20       A. In person.                               20   attorney-client privilege.
   21       Q. And on how many occasions did            21            E-mails, I guess, would be the
   22   you speak with them?                            22   answer to that.
   23       A. Three times.                             23       Q. And other than your attorneys,
   24       Q. And do you recall roughly how            24   did you speak to anyone else to prepare for
   25   many hours on each occasion it was?             25   your deposition?
                                              Page 15                                              Page 17
    1       A. Four or five hours, roughly.              1       A. No, sir.
    2       Q. And this is four or five hours            2       Q. Okay. Now, sir, are you being
    3   each time?                                       3   reimbursed by anyone for your expenses in
    4       A. Yes.                                      4   connection with this deposition?
    5       Q. Okay. And at these meetings,              5       A. No, sir.
    6   who was present?                                 6       Q. And so Mallinckrodt is not
    7       A. Rocky and Bill.                           7   compensating you for your time in connection
    8       Q. And so no one else was present            8   with this deposition?
    9   other than --                                    9       A. No, sir.
   10       A. No.                                      10       Q. Can you brief -- strike that.
   11       Q. -- Rocky and Bill?                       11            Can you briefly describe your
   12            Now, you indicated that you            12   education background after high school?
   13   reviewed documents.                             13       A. I went to college for three
   14            Did any of those documents             14   years in pursuit of a major in psychology,
   15   refresh your recollection regarding the         15   and -- I was hired -- this was in '76, I was
   16   issues at this deposition?                      16   hired as -- at Mallinckrodt as a summer
   17       A. Yes. Considering that I've               17   replacement for people going on vacation, and
   18   been retired for six years, so I had not seen   18   I ended up staying on full time, so I never
   19   any of these documents for quite a long time.   19   did finish school.
   20            MR. KAWAMOTO: Okay. And I              20       Q. And roughly when you did you
   21       take it, Mr. Tsai, if I ask him to          21   start working at Mallinckrodt?
   22       identify those documents, you'll            22       A. 1976.
   23       object on privilege?                        23       Q. And you say you retired six
   24            MR. TSAI: Yes.                         24   years ago. So forgive my math, but that
   25            MR. KAWAMOTO: Okay. So I will          25   would be 2012?

   Golkow Litigation Services                                                    Page 5 (14 - 17)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 6Confidentiality
                                         to Further     of 88. PageID #: 248600
                                                                            Review
                                              Page 18                                              Page 20
    1       A. 2013. January.                            1       Q. And then when did you go to
    2       Q. Okay. And so between 1976 and             2   production and inventory, roughly what year?
    3   2013, you were employed by Mallinckrodt?         3       A. I would say '77.
    4       A. That's correct.                           4       Q. Okay. And I'm sorry, go ahead.
    5       Q. And so you've never worked for            5   You were saying something about, I think it
    6   anyone else other than Mallinckrodt?             6   was a bulk business?
    7       A. Correct.                                  7       A. Yes, the bulk business that
    8       Q. Have you completed any                    8   Mallinckrodt had there. I was a production
    9   nondegree programs of study?                     9   and inventory control planner.
   10           And if you don't understand             10       Q. And what did that entail? I'm
   11   what that means, I'm happy to clarify.          11   not familiar with that term.
   12       A. Would you clarify that?                  12       A. It entailed planning the
   13       Q. Have you taken any other                 13   production of inventory for material that was
   14   courses or any training outside of              14   to be sold. Based upon inventory levels, we
   15   Mallinckrodt, for example, any -- do you have   15   would -- we would plan the raw materials that
   16   any regulatory certifications or professional   16   needed to be brought in and then the
   17   licenses?                                       17   production schedules for the production of
   18       A. No.                                      18   the material.
   19       Q. So I would like to ask you               19       Q. And so you're talking about raw
   20   about your employment at Mallinckrodt, and      20   materials that would be, I guess, turned into
   21   recognizing that it covers 1976 to 2013, it's   21   pharmaceuticals?
   22   a broad time period, so I'll understand if      22       A. This is not pharmaceuticals at
   23   you don't remember the details, particularly    23   that time. I was not in the
   24   from the earlier time.                          24   pharmaceutical -- I was in the specialty
   25           But can you generally walk me           25   chemical business, which was for raw
                                              Page 19                                              Page 21
    1   through the different positions that you've      1   materials that went into food -- food --
    2   held since starting at Mallinckrodt?             2   foods and industrial applications. This was
    3       A. Sure, I'll try.                           3   all down in our St. Louis plant. And this
    4            As I said, in 1976 I was hired          4   was a raw material; it was not a finished
    5   as a replacement for -- in customer service.     5   good.
    6   It was a business that no longer is with         6        Q. And so is it fair to say that
    7   Mallinckrodt.                                    7   your job was to make sure that you had
    8            And I eventually was hired full         8   sufficient amounts of the raw materials to
    9   time, and after about a year, that business      9   make the needed amounts of the finished
   10   moved to Paris, Kentucky, and I stayed in       10   goods?
   11   St. Louis and got a position in the             11        A. That was part of it, yes, to
   12   production and inventory control area in our    12   make sure that the raw materials were
   13   bulk business.                                  13   scheduled to be brought in on time so when we
   14       Q. Okay. And if I could pause you           14   were scheduling the run for making the
   15   there.                                          15   product that we wanted to make was there in
   16            So when were you hired full            16   time.
   17   time, roughly what year?                        17        Q. Okay. And how long did you
   18       A. It was in '76.                           18   continue with those responsibilities?
   19       Q. And you were initially hired             19        A. I did that from
   20   into customer service for a business that       20   approximately -- well, I was a planner for
   21   subsequently moved?                             21   several years, and then I became a supervisor
   22       A. Right.                                   22   over four or five planners, and I was in that
   23       Q. A business line that                     23   position until '91, and then I went to work
   24   subsequently moved?                             24   in customer service as a manager.
   25       A. Right.                                   25        Q. And was that still related to

   Golkow Litigation Services                                                    Page 6 (18 - 21)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 7Confidentiality
                                         to Further     of 88. PageID #: 248601
                                                                            Review
                                              Page 22                                              Page 24
    1   raw chemicals in -- or was that in               1   continued to be a raw material. That was
    2   pharmaceuticals?                                 2   considered our finished good.
    3       A. Yes, still -- I had the                   3       Q. Okay.
    4   acetaminophen, our acetaminophen customer        4       A. And was sold in bulk
    5   service group, I had our specialty chemical      5   quantities, hundred -- hundred kilos or
    6   group, and our bulk narcotic group reporting     6   hundred pounds at a time.
    7   to me.                                           7       Q. So I just want to make sure
    8       Q. Okay.                                     8   that I've got the timing correct.
    9       A. And I reported into the sales             9            So in '91 you became a manager
   10   for the -- for the bulk area.                   10   and -- you became a manager of the
   11       Q. And what is -- what is the               11   acetaminophen customer service group, the
   12   specialty chemical group?                       12   specialty chemical group and the bulk
   13       A. Well, like I said, the                   13   narcotic group; is that correct?
   14   specialty chemical group is for raw materials   14       A. That's correct.
   15   for us to produce finished good, raw            15       Q. And did you -- did you later go
   16   materials for, say, food applications. We       16   on other positions, or did you stay in that
   17   sold raw materials to Anheuser Busch. We        17   position?
   18   sold industrial chemicals, but they were all    18       A. Yes, I had that position until
   19   raw material and then they would further take   19   approximately the fall of 2008, and then I
   20   our raw material and combine it with their      20   took over customer service for the dosage
   21   raw materials to make finished good or          21   business.
   22   whatever application they were using it for.    22       Q. And can you describe for me
   23       Q. And none of these raw materials          23   what the dosage business is?
   24   related to the manufacture of opioids; is       24       A. The dosage business is when you
   25   that fair?                                      25   take raw material products, opiate products,
                                              Page 23                                              Page 25
    1       A. That was another group. That              1   and combine them with other chemicals to make
    2   was our -- that was our bulk narcotic group.     2   a finished good in the tablet or powder form.
    3       Q. Okay. And what -- can you                 3       Q. So when you say you take raw
    4   define for me, what is a bulk -- or what is a    4   material products, this was Mallinckrodt raw
    5   bulk narcotic group?                             5   material products and making them into opioid
    6       A. A bulk narcotic is a -- a raw             6   products?
    7   material that we produce from opiate and the     7       A. Yes.
    8   raw material is then sold to another             8       Q. And these opioid products would
    9   manufacturer who adds chemical -- other          9   subsequently be shipped out to Mallinckrodt's
   10   chemicals to that -- our raw material to make   10   customers; is that correct?
   11   a finished product. Pills, powder, tablets.     11       A. Yes. Our distributor customers
   12            We did not make a finished             12   and that, yes.
   13   good, product, in the bulk area.                13       Q. And you held this position from
   14       Q. And the pills and powders and            14   2008 until you retired in 2012 -- or I'm
   15   tablets, that would later be sold to, for       15   sorry, 2013?
   16   example, distributors?                          16       A. Correct.
   17       A. Yes, from the manufacturers              17       Q. Who was your predecessor in
   18   that we sold to.                                18   this position -- I'm sorry, in this position?
   19       Q. And when you say that you did            19       A. Cathy Stewart.
   20   not make a finished good or a product, that's   20       Q. I know if I -- if I could go
   21   with respect to the bulk narcotics; is that     21   back to the -- the bulk narcotics business
   22   correct?                                        22   for a second.
   23       A. Correct. And when I say                  23       A. Yes.
   24   "finished good," in your terms, it was not in   24       Q. Do you recall who the
   25   a tablet form or whatever. It was a --          25   manufacturers were who purchased bulk

   Golkow Litigation Services                                                    Page 7 (22 - 25)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 8Confidentiality
                                         to Further     of 88. PageID #: 248602
                                                                            Review
                                              Page 26                                              Page 28
    1   narcotics from Mallinckrodt?                     1   customer-service-based compensation.
    2       A. Oh, gosh. Purdue was one of               2       Q. So do you recall in -- for
    3   the bigger ones. I don't remember -- I don't     3   2012, what was your base compensation?
    4   remember all of them.                            4       A. As far as dollars?
    5       Q. Well, do you recall if Endo               5       Q. Yes.
    6   purchased any?                                   6       A. I don't remember.
    7       A. Endo, I believe, was one of               7       Q. And do you recall what your
    8   them, yes.                                       8   bonus was?
    9       Q. Okay. What about Teva?                    9       A. Oh, my base as far as salary?
   10       A. Yes.                                     10       Q. Yes, your base salary.
   11       Q. What about Allergan?                     11       A. It was probably around 90,000.
   12       A. I believe so.                            12       Q. And then do you recall what
   13       Q. Okay. How about Johnson &                13   your bonus was for that year?
   14   Johnson?                                        14       A. No. But it was like 10 percent
   15       A. Yes.                                     15   was the -- was the most I could make, if I
   16       Q. How about Janssen?                       16   met my objectives.
   17       A. I believe so.                            17            MR. TSAI: And, Dean, I know
   18       Q. So in the context of the bulk            18       that the depo transcripts are
   19   narcotics business, you sold to most of the     19       presumptively highly confidential, but
   20   major manufacturers in the market; is that      20       because you're getting into personal
   21   fair?                                           21       financial information, I do want to
   22       A. Yes.                                     22       designate this discussion as highly
   23       Q. Sir, was your retirement                 23       confidential.
   24   voluntary?                                      24            MR. KAWAMOTO: Sure, that's
   25       A. Yes.                                     25       fine.
                                              Page 27                                              Page 29
    1       Q. So you could have stayed on if            1   QUESTIONS BY MR. KAWAMOTO:
    2   you wanted to; you just decided it was time      2        Q. And the $90,000, was this --
    3   to go?                                           3   was this more or less your base salary for
    4       A. Yes.                                      4   the 2008 to 2013 time period?
    5       Q. And can you briefly -- well,              5        A. Well, we had yearly reviews,
    6   strike that.                                     6   and based upon reviews and if you met your
    7            The position you held from fall         7   goals and that type of thing, depending on
    8   of 2008 until 2013, what was your title?         8   what the percentage was for that year, you
    9       A. Manager of customer service.              9   know, it could go up or stay the same.
   10       Q. And it was manager of customer           10        Q. And were your reviews generally
   11   service for dosage products, is that the        11   positive in your opinion?
   12   full --                                         12        A. Yes. Yes.
   13       A. Yes.                                     13        Q. Did anyone ever express any
   14       Q. And what was your compen --              14   concerns about your performance?
   15   well, what was your compensation scheme for     15        A. No.
   16   your -- for your position?                      16        Q. And in terms of your goals,
   17            In other words, were you paid a        17   what are the goals that you recall that you
   18   base? Did you also have a bonus? How was        18   were evaluated based on?
   19   that determined?                                19        A. I don't remember many of them.
   20       A. At the time I reported into the          20   It's been a long time. But again, like I
   21   logistics group, which included customer        21   said, it was based upon, say, call answering
   22   service, shipping and warehousing, and we did   22   rate, we needed to have it above 95 percent,
   23   have a bonus that was based upon backorders,    23   so we would keep track of that, and that
   24   how long it took us to -- to answer the         24   would be one goal.
   25   phone, that type of thing. Very                 25            Keeping our backorders down to,
   Golkow Litigation Services                                                    Page 8 (26 - 29)
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1983-21
                               SubjectFiled: 07/24/19 9Confidentiality
                                         to Further     of 88. PageID #: 248603
                                                                            Review
                                            Page 30                                              Page 32
    1   I forget what percentage, was another goal.    1   there wasn't many because the DEA wanted to
    2            We had other goals as far as          2   keep control of where the production -- how
    3   having the CSRs attend -- or sign up for       3   much production was being put out and who was
    4   different seminars, and we were responsible    4   producing it.
    5   for making sure that they met their goals      5       Q. So would you describe yourself
    6   there. So that was another thing that we       6   as one -- as essentially the dominant player
    7   were graded on.                                7   in the bulk narcotics business?
    8            Just a few that I can think of.       8       A. I would say we were --
    9        Q. Were any of these goals                9            MR. TSAI: Object to the form.
   10   compliance related?                           10            Go ahead.
   11        A. Karen Harper would have yearly,       11            THE WITNESS: -- we were one of
   12   if I remember right, a review of what was     12       the larger producers.
   13   going on in compliance and kind of keep us    13   QUESTIONS BY MR. KAWAMOTO:
   14   abreast of any -- any new regulations or      14       Q. And who were the other larger
   15   anything like that that we may need to know   15   producers in that space?
   16   about.                                        16       A. Like I said, I don't remember.
   17        Q. And so was your compensation          17       Q. Would you -- do you believe you
   18   based, in part, on your ability to comply     18   were the largest producer in that space?
   19   with these regulations?                       19            MR. TSAI: Objection. Vague as
   20        A. No.                                   20       to time.
   21        Q. And who reported to you?              21            THE WITNESS: Yes, it depends
   22            You were a manager, so who were      22       on the time frame that we're speaking.
   23   the people under you?                         23            Early on we were probably one
   24        A. I had five CSRs and one being a       24       of the largest ones. I'm not saying
   25   lead.                                         25       we were the largest or not, I don't
                                            Page 31                                              Page 33
    1       Q. Okay. And do you recall their           1        remember, but we were in the top
    2   names?                                         2        three, I would say.
    3       A. No, not all of them. Brenda             3   QUESTIONS BY MR. KAWAMOTO:
    4   Raycop was the lead. I don't remember the      4        Q. So, no, I understand that there
    5   rest of their names.                           5   are limits to your memory.
    6       Q. And who did you report to?              6        A. Right.
    7       A. Well, at one time it was                7        Q. So what was the time frame
    8   Michael Pheney and George -- last one was      8   where you would -- where it would be fair to
    9   George -- I forget his last name now.          9   say you were probably one of the largest?
   10       Q. Is it George Saffold?                  10        A. Well, like I said, I don't
   11       A. Saffold, yes.                          11   remember.
   12       Q. And you mentioned Karen Harper.        12        Q. Roughly would this be in the
   13       A. Yes.                                   13   2000s? In the '90s?
   14       Q. Did you report to her?                 14        A. Roughly, probably in the '90s
   15       A. No.                                    15   and early 2000.
   16       Q. So going back to the bulk              16        Q. And then I guess when you say
   17   narcotics business.                           17   early 2000s, are we talking like 2005 to
   18            Who would you say were your          18   2000 -- I'm sorry, 2000 to 2005 or 2006?
   19   main competitors in that field?               19        A. 2000 to 2005 would be -- from
   20       A. Back then, we didn't have a            20   what I remember.
   21   whole lot of competitors within the United    21        Q. And then after 2005, you were
   22   States. We had a -- we had a sizeable         22   still a large producer; you just weren't the
   23   percentage of the -- of the production that   23   largest; is that fair?
   24   the DEA allowed within the country. I don't   24        A. That's true.
   25   remember who they were, but it wasn't --      25        Q. Now, focusing on your position
   Golkow Litigation Services                                                  Page 9 (30 - 33)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further10Confidentiality
                                                         of 88. PageID #: 248604
                                                                             Review
                                               Page 34                                              Page 36
     1   from 2008 to 2013, which is when you were the    1   office on a monthly basis.
     2   customer service manager for dosage products.    2        Q. I'm sorry.
     3        A. Okay.                                    3            And roughly what time frame was
     4        Q. What training did you receive            4   this process in effect for?
     5   for your -- for that position?                   5        A. Probably 2000 -- and I'm
     6        A. Training was mostly done by the          6   guessing because I don't remember exactly
     7   previous customer service rep or manager,        7   when we started, when they requested this.
     8   Cathy Stewart.                                   8            But I would say probably 2003,
     9        Q. And do you recall what she did           9   '4 to 2006 or '7.
    10   to train you?                                   10        Q. And I take it the process then
    11        A. We just went over the processes         11   changed in 2006 or '7?
    12   that the CSRs and that had to -- what was       12        A. That's -- that's correct.
    13   needed as far as orders, forms needed from      13        Q. Okay. And what was that
    14   the customers before we could ship orders       14   different process then?
    15   out, who their customers were, the product      15        A. We started working on a more
    16   line, that type of thing.                       16   enhanced suspicious order program at the
    17        Q. And when you say "who their             17   request of our compliance group to automate
    18   customers were," were you -- are you            18   it so we were capturing information on orders
    19   referring to Mallinckrodt's direct customers    19   at the time of -- the order was entered. It
    20   or the customers of your customer?              20   was based upon a lot more detail than what we
    21        A. Mallinckrodt's direct                   21   had previously been supplying the DEA. The
    22   customers.                                      22   DEA was in the process of changing what they
    23        Q. And when you say "product               23   wanted to see and what they wanted to see
    24   line," what are you referring to?               24   their customers, I'll call them, or the
    25        A. This -- the products that we            25   registrants, what they wanted from them, from
                                               Page 35                                              Page 37
     1   sold in the finished good form. We're            1   the registrants, and it became more complex
     2   talking about hydrocodone, oxycodone,            2   than what we had previously.
     3   codeine, those type of products.                 3       Q. And so I guess for simplicity's
     4       Q. And are you referring to                  4   sake, I will refer to the earlier suspicious
     5   Mallinckrodt's generic products?                 5   order monitoring program as the pre-2007
     6       A. Yes.                                      6   program, and then the enhanced one is either
     7       Q. Okay. Would the product lines             7   the enhanced SOM or the post-2007; does that
     8   you're responsible for also include              8   make sense?
     9   Mallinckrodt's branded products?                 9       A. That's fine.
    10       A. Yes.                                     10       Q. Okay. So for the pre-2007 SOM
    11       Q. Now, are you familiar with the           11   program, how did you identify the suspicious
    12   term "suspicious order monitoring"?             12   orders?
    13       A. Yes, I am.                               13       A. It was -- the system -- it was
    14       Q. What does that term mean to              14   put into our order entry system and it was
    15   you?                                            15   based upon a log rhythm {sic} that we had
    16       A. It was a process -- well,                16   come up with and designed and was approved by
    17   depends on what time frame we're talking        17   the DEA field office based upon the average
    18   about. When I was in the bulk business as a     18   order quantity. And I believe it was 2 X was
    19   customer service manager, when we first         19   the quantity that would flag an order on our
    20   developed the suspicious order monitoring       20   system -- 2 X meaning two times the normal
    21   program requested by our St. Louis DEA, it      21   order pattern that the customer placed. And
    22   was a monthly report that we sent to them       22   it was a -- a running total. So it wasn't
    23   showing orders that were out of the ordinary    23   just based upon a year. It was based upon
    24   as far as quantity or frequency, that type of   24   the previous 12 rolling months.
    25   a report. It was sent to our DEA field          25       Q. And so just so I understand

   Golkow Litigation Services                                                   Page 10 (34 - 37)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further11Confidentiality
                                                         of 88. PageID #: 248605
                                                                             Review
                                               Page 38                                              Page 40
     1   sort of mathematically how this works, are       1       Q. And when you say it "had to
     2   you essentially looking at the average over      2   match," what does that mean?
     3   the past 12 months and then seeing if the new    3       A. It couldn't be more than -- the
     4   order is more than two times that average?       4   order couldn't be more than what was on the
     5        A. That's correct.                          5   222 form.
     6        Q. Okay. So if the average -- I             6       Q. Okay.
     7   understand that there may be different sort      7       A. And the 222 form was -- was
     8   of metrics, but if the average I had was,        8   received from the DEA.
     9   let's say, 50 bottles per month --               9       Q. And so the DEA would tell
    10        A. Correct.                                10   the -- would tell the --
    11        Q. -- that means that my new order         11       A. Yes.
    12   could be, I guess, up to a hundred bottles;     12       Q. -- your customer how much they
    13   is that fair?                                   13   could order on a monthly basis?
    14        A. Correct.                                14       A. I don't think it was on a
    15        Q. Okay.                                   15   monthly basis. It was based -- I'm not sure.
    16        A. And keep in mind we not only            16   I don't remember how the customer would get
    17   had the suspicious order monitoring program,    17   their 222 form, but everybody in the quota
    18   but the customers that we sold to also had to   18   system -- the DEA would take -- the DEA would
    19   supply quota forms and that, which was issued   19   take the total amount of a particular
    20   by the DEA, on what they could buy. And 222     20   product, like let's just say one product that
    21   forms was another requirement giving -- that    21   was sold in a particular year, and they would
    22   had to be supplied with every order that they   22   look at that and that's the base of what we
    23   placed.                                         23   are going to allow to be sold the following
    24        Q. And are they -- when you say            24   year.
    25   "quota forms," is that the same as the 222      25            Some customers, like
                                               Page 39                                              Page 41
     1   form?                                            1   Mallinckrodt, would get a portion of that,
     2       A. Quota forms were forms that               2   other manufacturers would get a portion of
     3   were used for raw material manufacturers.        3   that, and it was based upon their previous
     4            222 forms were used for                 4   sales. Okay. The same would be for the
     5   researchers and other type of registrants and    5   distributors.
     6   also for the dosage customers who were           6            And that's what they would
     7   ordering Schedule II products.                   7   start off with for the year, how much they
     8       Q. Okay. So you wouldn't need                8   could buy, and the way that they bought it
     9   both a quota form or a 22 form --                9   was with a 222 form, which the DEA would give
    10       A. Right.                                   10   them these forms in advance and they had --
    11       Q. -- or a 222 form.                        11   they would, I guess, request more as they
    12            It was one or the other?               12   needed them.
    13       A. Depending on their                       13       Q. Okay.
    14   registration.                                   14       A. Just as long as it was within
    15       Q. And for the 222 form, what               15   their quota limits.
    16   would that tell you?                            16       Q. So it sounds like there are
    17       A. Are we getting away from the             17   essentially two quotas being imposed:
    18   bulk side?                                      18   There's one being imposed on Mallinckrodt,
    19       Q. Yes, why don't we focus on               19   and then there's another one --
    20   dosage and then we can come back to bulk.       20       A. As a manufacturer.
    21       A. Okay.                                    21       Q. Yes, one being imposed on
    22       Q. Because the 222 form isn't used          22   Mallinckrodt as a manufacturer. Thank you.
    23   in connection with bulk, correct?               23       A. Right.
    24       A. No, the 222 form had to match            24       Q. And one being imposed on
    25   the order that they were placing.               25   Mallinckrodt's customers, which it sounds

   Golkow Litigation Services                                                   Page 11 (38 - 41)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further12Confidentiality
                                                         of 88. PageID #: 248606
                                                                             Review
                                               Page 42                                              Page 44
     1   like are distributors?                           1   the 222 form was likely going to
     2       A. If you're looking at the bulk             2   significantly exceed any monthly order that
     3   side, again, we're a bulk manufacturer and       3   the customer placed; is that fair?
     4   we're selling to bulk manufacturers who add,     4       A. Correct.
     5   so they would buy it on their procurement        5       Q. Okay. So it's not as if the
     6   quota, okay, so they would send us a quota       6   222 form is really directly limiting the
     7   form, too.                                       7   monthly order of a customer.
     8       Q. Okay. So is the only                      8            The check on how much that
     9   difference between a quota form and a 222        9   customer can order on a monthly basis would
    10   form the nature of the customer submitting      10   be Mallinckrodt's algorithm?
    11   the form?                                       11       A. Yes.
    12       A. It's the nature of their                 12       Q. And that algorithm for the
    13   registration.                                   13   2000 -- the pre-2007 time period was based on
    14       Q. Okay. And so focusing on the             14   two times your yearly average -- I'm sorry,
    15   dosage products, let's say I'm a distributor    15   your yearly monthly average?
    16   and the DEA has given me a quota of             16       A. Are we speaking on bulk?
    17   50 million pills, let's say, for the year.      17       Q. No, I was talking about dosage
    18       A. Okay.                                    18   products.
    19       Q. And Mallinckrodt has a quota             19       A. Oh, okay.
    20   of, you know, 200 million pills.                20            I'm not -- I didn't have it at
    21       A. Okay.                                    21   that time. I believe they did have a similar
    22       Q. I take it this means that my             22   report, but I'm not sure what the algorithm
    23   222 form that I submit to Mallinckrodt can't    23   was at the time. That came under Cathy
    24   exceed 50 million; is that right?               24   Stewart's watch.
    25       A. How much did you say they had?           25       Q. But for the bulk products that
                                               Page 43                                              Page 45
     1        Q. Well, my overall quota is                1   you were in charge of --
     2   50 million.                                      2        A. Uh-huh.
     3        A. Right.                                   3        Q. -- the algorithm was two times
     4        Q. For the entire year, though.             4   the monthly average?
     5        A. Right.                                   5        A. From what I remember, that's
     6        Q. So when I submit a 222 form to           6   true.
     7   Mallinckrodt, I mean, I assume so long as the    7        Q. Okay.
     8   number is not higher than 50 million, then       8        A. Rolling average.
     9   it's okay?                                       9        Q. And I'm sorry, what's the
    10            I'm trying to sort of                  10   difference between a rolling average and --
    11   understand what the -- what the limit is for    11        A. It's not a calendar -- it's not
    12   the specific 222 form in any given month.       12   a calendar period. It's a 12-month period.
    13        A. Well, keep in mind that they            13        Q. Okay. So it's still 12 months.
    14   wouldn't be bringing in 50 million tablets      14   It's just you don't go from January to
    15   into their inventory. They didn't want to       15   January.
    16   keep that kind of inventory. And that,          16        A. Correct.
    17   again, would call fall under the suspicious     17        Q. Okay. And so in the bulk
    18   order monitoring program, so that large of a    18   context, if my monthly average was, let's
    19   quantity at one time would be brought to the    19   say, 50 kilograms --
    20   attention of the DEA, and the DEA would look    20        A. Okay.
    21   into why they're ordering so much at one        21        Q. -- I could go up to a hundred
    22   time.                                           22   kilograms on my next order?
    23        Q. Understood.                             23        A. Correct.
    24            But as a general matter, the           24        Q. And then, of course, if I order
    25   222 form -- well, the quota being applied to    25   a hundred kilograms, that would affect my
   Golkow Litigation Services                                                   Page 12 (42 - 45)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further13Confidentiality
                                                         of 88. PageID #: 248607
                                                                             Review
                                               Page 46                                              Page 48
     1   average.                                         1   fair?
     2       A. Correct.                                  2       A. That's true, yes.
     3       Q. And so, you know, over -- over            3       Q. Would you believe that there is
     4   time, if you're using a two times algorithm,     4   an opioid -- that there's an opioid crisis in
     5   you know, the monthly limit on what you can      5   this country?
     6   order could increase significantly; isn't        6       A. That's what I have heard, yes.
     7   that fair?                                       7       Q. And when you say that that's
     8            MR. TSAI: Object to the form.           8   what you've heard, what do you mean by that?
     9            THE WITNESS: It could.                  9       A. Well, on the news and that,
    10   QUESTIONS BY MR. KAWAMOTO:                      10   I've heard that there's been an opioid
    11       Q. And was there any -- well, if            11   epidemic, yes.
    12   you were to look at --                          12       Q. And you believe that's
    13       A. But keep in mind --                      13   accurate?
    14       Q. Sorry, go ahead.                         14       A. I can only, you know -- from
    15       A. But keep in mind, you know,              15   what I've heard. I don't know personally.
    16   they could increase their -- what they were     16       Q. But you don't have any reason
    17   ordering as long as it was within their quota   17   to believe that that's -- that that's not
    18   from the DEA.                                   18   true?
    19       Q. Understood.                              19       A. No.
    20       A. And then outside of our monthly          20       Q. Do you believe that the drugs
    21   report that went to the DEA, which the DEA      21   sold by Mallinckrodt contributed to this
    22   was fine with, okay, with what we used for      22   epidemic?
    23   our criteria, we also -- the customer service   23       A. That's a -- that's a -- no, I
    24   reps were quite familiar with who our           24   don't believe that, and why I say that is
    25   customers were and -- because there wasn't a    25   Mallinckrodt was -- was at the top of the --
                                               Page 47                                              Page 49
     1   huge number of bulk manufacturers that we        1   what I'll call the chain in that we
     2   were dealing with, like there wasn't new         2   manufactured the product. We did not
     3   players all the time, so we had a pretty good    3   manufacture the -- we manufactured it, we
     4   understanding of what their needs were.          4   shipped it, sold it to our distributors, the
     5            So if there was something out           5   distributors sold it to the pharmacies, the
     6   of the ordinary that our CSRs saw, they would    6   pharmacies sold it to the physicians and the
     7   bring it to the attention of Karen Harper and    7   physicians sold it to -- or prescribed it to
     8   just make her aware of it if she felt there      8   the patients. We were not in the position
     9   was a need to look into it with the DEA or       9   to, I guess, ever send the pills to an end
    10   whatever.                                       10   user.
    11       Q. And this is for the bulk                 11        Q. Well, when you say that there
    12   narcotics process, correct?                     12   is an opioid epidemic, what's your
    13       A. That's correct. That's what              13   understanding of the nature of the epidemic?
    14   we're speaking to, yes.                         14        A. I didn't say -- I agree with
    15       Q. And so in 2008, who took your            15   you that I believe that from what I've heard
    16   place in -- with respect to bulk narcotics?     16   that there is.
    17   Who assumed your position?                      17        Q. Okay. So you've heard that --
    18       A. Cathy Stewart. So we switched.           18   you've heard there's an opioid epidemic?
    19       Q. Okay. You switched.                      19        A. Uh-huh.
    20            And do you recall who has or do        20        Q. What is your understanding of
    21   you know who has your position now with         21   the nature of that epidemic?
    22   respect to dosage products?                     22        A. Well, it's from diversion of
    23       A. No, I sure don't.                        23   not only prescription medicine but from
    24       Q. Okay. So, sir, you're aware              24   illegal products that are coming from other
    25   that this case is about opioids; is that        25   countries, that type of thing. It's not --
   Golkow Litigation Services                                                   Page 13 (46 - 49)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further14Confidentiality
                                                         of 88. PageID #: 248608
                                                                             Review
                                               Page 50                                             Page 52
     1   it's not all prescribed or prescription,         1   QUESTIONS BY MR. KAWAMOTO:
     2   controlled medication.                           2       Q. Yes.
     3        Q. Would you agree that the                 3       A. That's up to his doctor.
     4   prescription controlled medication is a          4       Q. Do you believe that opioids are
     5   significant component of this epidemic?          5   addictive?
     6        A. I -- from what I've read or              6       A. I believe that they can be
     7   heard.                                           7   addictive if they're abused.
     8        Q. And when you say "diversion,"            8       Q. And do you believe that opioids
     9   what do you mean by that?                        9   are being abused?
    10        A. It's not being prescribed for           10       A. From my understanding and what
    11   its intended use.                               11   I've heard, yes, they can be abused.
    12        Q. And when you say "prescribed            12       Q. Okay. And what are the risk
    13   for its intended use," what does that mean?     13   factors for opioid abuse? Do you know what
    14        A. For medical purposes. For the           14   any of them are?
    15   control -- what I consider medical use is       15       A. I'm not familiar with it.
    16   that the pills -- or the product that we sold   16       Q. Now, I just wanted to make sure
    17   to other manufacturers who made a finished      17   I understood your -- your understanding of
    18   good, intended use was for pain relief, okay,   18   what the term "diversion" is.
    19   and for people that were suffering from         19             But what -- could you define
    20   long-term illness that needed pain relief,      20   "diversion" for me?
    21   cancer patients, surgery, people that had       21       A. The way I think of diversion is
    22   surgery, that's what the intended use of the    22   that the -- something that is being used
    23   opiates that we sold were for.                  23   for -- is not being used for its intended use
    24        Q. And I'm just reading along --           24   I guess is the simplest way I can think of
    25   I'm just reading on the screen, but you         25   it.
                                               Page 51                                             Page 53
     1   indicated that your understanding is that the    1        Q. And when you say "not being
     2   products being sold by Mallinckrodt were for     2   used for its intended use," what do you mean
     3   long-term illness that needed pain relief,       3   by that?
     4   cancer patients and surgery, essentially         4            Are you talking about the
     5   cancer pain or acute pain; is that fair?         5   doctor is not appropriately prescribing it,
     6       A. Some of that, yeah. Some of               6   or what -- what do you mean by "not being
     7   the major applications.                          7   used for intended use"?
     8       Q. Okay. Do you understand what              8        A. I guess that that would be part
     9   chronic pain is?                                 9   of it, yes, that the doctor is prescribing
    10            MR. TSAI: Objection to the             10   maybe more than what the patient needs or
    11       form.                                       11   product is being brought over from other
    12            Go ahead.                              12   countries, that type of thing. It's not for
    13            THE WITNESS: Chronic pain is           13   its intended use as a medical need, I guess.
    14       from -- what my understanding of it is      14        Q. So the fact that a patient is
    15       is for people that are constantly in        15   taking an opioid pursuant to a prescription
    16       pain. Okay. I can say like my               16   doesn't necessarily mean that the patient is
    17       brother-in-law who has a chronic pain       17   not abusing opioids; is that fair?
    18       in his back, and it's just every day        18        A. Saying that again?
    19       is a hard time getting out of bed.          19        Q. The fact that a patient is
    20   QUESTIONS BY MR. KAWAMOTO:                      20   taking opioids pursuant to a prescription
    21       Q. And so in your opinion should            21   from a doctor --
    22   he be on opioids?                               22        A. Pursuant to a prescription.
    23            MR. TSAI: Object to the form.          23        Q. -- does not mean that the
    24            Go ahead.                              24   patient -- well, strike that. Let me reask
    25            THE WITNESS: In my opinion?            25   that question.
   Golkow Litigation Services                                                   Page 14 (50 - 53)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further15Confidentiality
                                                         of 88. PageID #: 248609
                                                                             Review
                                               Page 54                                             Page 56
     1            A doctor could misprescribe             1   the DEA changed their needs, our requirements
     2   opioids; is that fair?                           2   for us, I felt we had the controls in place
     3       A. I guess they could.                       3   to meet that.
     4       Q. And you've indicated that would           4       Q. Did others at Mallinckrodt ever
     5   be one example of diversion?                     5   express any concerns to you regarding
     6       A. Yes.                                      6   diversion of Mallinckrodt products, opioid
     7       Q. Okay. So if you had a patient             7   products?
     8   that was taking opioids pursuant to a            8       A. That there was a diversion
     9   prescription that was improper, that patient     9   problem?
    10   would be abusing opioids, notwithstanding the   10       Q. That there either was a
    11   fact they had a prescription?                   11   diversion problem or that there was a risk of
    12            MR. TSAI: Object to the form.          12   Mallinckrodt products being diverted?
    13            THE WITNESS: I guess -- I              13       A. No.
    14       guess that's possible.                      14            MR. TSAI: Objection.
    15   QUESTIONS BY MR. KAWAMOTO:                      15       Compound.
    16       Q. And so in terms of what the              16            Go ahead.
    17   problems are with diversion or what the harms   17            THE WITNESS: No, not that I
    18   are with diversion, what in your opinion are    18       remember. Everybody -- everybody was
    19   the problems or harms stemming from             19       doing what they could in making sure
    20   diversion, the diversion of opioids?            20       that we were meeting the needs of
    21            MR. TSAI: Object to the form.          21       the -- meeting the DEA compliance
    22            THE WITNESS: In my opinion as          22       needs.
    23       a layman?                                   23   QUESTIONS BY MR. KAWAMOTO:
    24   QUESTIONS BY MR. KAWAMOTO:                      24       Q. And did you understand
    25       Q. Well, in your opinion as                 25   diversion to be an issue of corporate concern
                                               Page 55                                             Page 57
     1   someone that's worked for Mallinckrodt from      1   for Mallinckrodt?
     2   1976 to 2013 and spent the past -- well, the     2       A. I believe it was a corporate
     3   past 12-plus years in their business.            3   concern, and that's one of the reasons why
     4       A. Well, I would say if they                 4   our controls were so -- so tight.
     5   weren't using it for its intended use as a       5       Q. And when you say your "controls
     6   medicinal pain reliever, then I guess it         6   were so tight," what controls are you talking
     7   could be abused. And if they abused it, they     7   about? Could you list them for me?
     8   could be -- become medically dependent on it.    8       A. Well, what I mean by that is
     9       Q. And so diversion, one of the              9   what we've discussed already is that we were
    10   consequences of diversion, could be abuse and   10   meeting the compliance of the DEA regulations
    11   addiction; is that fair?                        11   with requiring the quota letters and the 222
    12       A. Correct.                                 12   forms, which were required, also the letter
    13       Q. Did you ever have any concerns           13   that we -- and bulk, also on dosage, that we
    14   about diversion while you were working for      14   were asked to submit on a monthly basis early
    15   Mallinckrodt?                                   15   on. And then as the regulations -- or as the
    16       A. It was always a concern that we          16   DEA tightened their regulations and asked us
    17   have the proper tools in place to keep that     17   to submit more than just the letters and
    18   from happening, and I felt that we did with     18   actually end the letters and to come up with
    19   the regulations that we filed -- that were      19   a more robust -- more robust suspicious order
    20   given to us by the DEA as far as needing the    20   monitoring program, we did that going
    21   222 forms, in the bulk side, the quota forms.   21   forward.
    22   Also we had the necessary data collection       22            I always felt that Mallinckrodt
    23   that the DEA asked us to submit to them,        23   was a -- felt that it was very important as a
    24   which went from the monthly letters to a more   24   citizen -- I'm calling Mallinckrodt as a
    25   sophisticated reporting system. Later on as     25   citizen -- to adhere and meet the needs of

   Golkow Litigation Services                                                   Page 15 (54 - 57)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further16Confidentiality
                                                         of 88. PageID #: 248610
                                                                             Review
                                               Page 58                                             Page 60
     1   what the DEA was requiring over and beyond       1   regulations that, like, Karen Harper in the
     2   anything. That was kind of our corporate         2   compliance group would be.
     3   goal, I guess I would say.                       3             But from what I remember, the
     4            MR. TSAI: Dean, we've been              4   quota system was important in -- for the DEA
     5       going about an hour.                         5   to keep track of what was being used in the
     6            MR. KAWAMOTO: Sure, why don't           6   United States. So like I had mentioned
     7       we take -- why don't we take a               7   earlier, the DEA would take all the quota,
     8       ten-minute break.                            8   all the -- all the quota letters and forms
     9            VIDEOGRAPHER: We're going off           9   and the 222 forms that were used -- and I'm
    10       the record at 10 a.m.                       10   not only talking, you know, from the
    11        (Off the record at 10:00 a.m.)             11   distributors but also from the pharmacists
    12            VIDEOGRAPHER: We're back on            12   and everyone else that had to report to the
    13       the record at 10:21 a.m.                    13   DEA what they were using during the year --
    14   QUESTIONS BY MR. KAWAMOTO:                      14   they would take that, add it all up and see
    15       Q. So, Mr. Rausch, you indicated            15   what the total was for United States for a
    16   that in 2008 you and Cathy Stewart              16   particular product. And they would use that
    17   essentially switched jobs.                      17   for their base for what they were going to
    18       A. Yes.                                     18   allow the following year. So that's why the
    19       Q. So you went to dosage products,          19   reporting through the quota system was very,
    20   and she went to bulk narcotics.                 20   very important.
    21       A. That's correct.                          21        Q. And you had indicated that the
    22       Q. Why did you switch?                      22   compliance with the quota system was an
    23       A. Our boss at the time, George             23   element of Mallinckrodt's efforts to fight
    24   Saffold, wanted us to switch to learn more      24   diversion; is that fair?
    25   about the other areas.                          25        A. Well, I wouldn't say it was
                                               Page 59                                             Page 61
     1       Q. And "the other areas" meaning             1   that. You know, it was to meet the
     2   he wanted you to learn more about dosage         2   regulations that were given to us by the DEA.
     3   products and her to learn more about bulk        3            As a good citizen, Mallinckrodt
     4   narcotics?                                       4   being a good citizen, we felt it was very
     5       A. That's correct, right.                    5   important that we follow the regulations in
     6       Q. Did George have any concerns              6   that to keep something like diversion from
     7   about Cathy's stewardship of the dosage          7   happening.
     8   products?                                        8       Q. And so what are -- what are all
     9       A. No.                                       9   of the steps -- focusing now on the bulk
    10            MR. TSAI: Object to the form.          10   narcotics side, what are all of the steps
    11   QUESTIONS BY MR. KAWAMOTO:                      11   that Mallinckrodt took to ensure that the
    12       Q. Okay. And would you view your            12   quota system was being complied with?
    13   switch in 2008 as a promotion for you?          13       A. We would -- we would require
    14       A. No, it was a lateral.                    14   from our customers, along with their order,
    15       Q. Now, do you recall our prior             15   to send us a quota form under their license,
    16   discussion regarding the quota system?          16   whether they're a manufacturer or a
    17       A. Yes.                                     17   researcher or whatever license they had, they
    18       Q. Okay. And so I want to focus             18   had to send us a quota form, and we would not
    19   now on bulk narcotics with respect to the       19   use -- we could not ship that order until
    20   quota system.                                   20   that form was sent to us. And what we would
    21            Well, I guess why are quotas           21   do with the quota form is then turn that into
    22   important?                                      22   our compliance group.
    23       A. Quotas are important -- and              23       Q. And did the -- did the quota
    24   again, I'm speaking as a customer service       24   form indicate their overall quota for the
    25   person. I'm not, you know, privy to all the     25   year?

   Golkow Litigation Services                                                   Page 16 (58 - 61)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further17Confidentiality
                                                         of 88. PageID #: 248611
                                                                             Review
                                               Page 62                                              Page 64
     1       A. No, usually it was the amount             1   Mallinckrodt, or was that all orders?
     2   that they were ordering. It couldn't be more     2       A. It would be all orders.
     3   than what was on the order.                      3       Q. Okay. So if Manufacturer A
     4       Q. And so how -- how would                   4   were ordering, you know, bulk product from
     5   Mallinckrodt know that this order -- that the    5   Mallinckrodt and three other manufacturers,
     6   order -- that the newest order your customer     6   the quota form is going to show the total
     7   had submitted didn't exceed their quota for      7   amount they had received from all of those
     8   the year?                                        8   other manufacturers?
     9       A. It would show the total, I                9       A. Yes.
    10   believe, if I'm -- and I'm trying to            10       Q. And did Mallinckrodt take any
    11   remember. I think it would show the total,      11   steps to ensure that those numbers were
    12   but then it would also show what they're        12   accurate?
    13   using for that particular order.                13       A. Customer service wasn't
    14       Q. And when you say "total," I'm            14   responsible for that, so we would turn in the
    15   sorry, what total are you referring to?         15   forms to our -- to compliance groups, so that
    16       A. You're asking what -- how we             16   would be for them to determine that. They
    17   knew what the customer's total was?             17   reported through their system, which was the
    18       Q. My apologies. So let me                  18   ARCOS system, which I'm not that familiar
    19   rephrase that question.                         19   with, but that's how they reported what the
    20            The quota form which showed the        20   manufacturer or our customers had taken from
    21   total amount of that narcotic they had          21   us or sold to them from us.
    22   received that year?                             22       Q. And ARCOS would tell you how
    23       A. That they were ordering from             23   much -- ARCOS would give you the amount of
    24   us.                                             24   product that the manufacturer had obtained
    25       Q. Okay. Understood. But I guess            25   from Mallinckrodt.
                                               Page 63                                              Page 65
     1   my question may be a little different.           1            Would it also provide you with
     2            So let's say the DEA gives              2   the information as to how much they had
     3   Manufacturer A a quota of a hundred              3   obtained from everyone else?
     4   kilograms?                                       4       A. I would to refer you to Karen
     5       A. Uh-huh.                                   5   Harper on that.
     6       Q. And Mallinckrodt -- and they              6       Q. And going over to the dosage
     7   submit an order to Mallinckrodt asking to        7   side, what was the system in place on the
     8   purchase 3 kilograms.                            8   dosage side to ensure that the quota system
     9       A. Okay.                                     9   was being complied with?
    10       Q. How does Mallinckrodt know               10       A. The customer had to give us a
    11   that -- whether that 3-kilogram order is        11   222 form that matched the order quantity that
    12   going to exceed their hundred-kilogram quota?   12   they were ordering, and that 222 form would
    13       A. It would show the total and              13   then sent -- be sent to our compliance
    14   then what had been used so far, from what I     14   person, and they would gather all that --
    15   remember.                                       15   those compliance forms, I believe, on a
    16       Q. So your recollection is that             16   monthly basis and send them to the DEA.
    17   the quota form is going to show their overall   17            But, again, that's the
    18   quota, so a hundred kilograms?                  18   compliance group, and I would refer you to
    19       A. Right.                                   19   them for more information.
    20       Q. Plus the amount that they had            20       Q. And did the 222 form also
    21   ordered up -- so the total amount they had      21   contain the total quota assigned to that
    22   ordered thus far for the year?                  22   distributor?
    23       A. I believe so, from what I                23       A. No, I don't believe it did,
    24   remember.                                       24   from what I remember. It was just for that
    25       Q. And was that just orders for             25   particular order.
   Golkow Litigation Services                                                   Page 17 (62 - 65)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further18Confidentiality
                                                         of 88. PageID #: 248612
                                                                             Review
                                               Page 66                                              Page 68
     1       Q. So I guess going back to my               1   being abused; is that fair?
     2   question from the bulk side.                     2       A. Correct.
     3       A. Uh-huh.                                   3       Q. Are you familiar with the term
     4       Q. With respect to the dosage side           4   "Ms"?
     5   of the business, how did Mallinckrodt know       5       A. Ms?
     6   that -- well, strike that.                       6       Q. Ms.
     7            So let's take the following             7       A. No, I'm not.
     8   hypothetical: Distributor A has a quota from     8       Q. Okay. What about "Mollies"?
     9   DEA for a hundred pills.                         9       A. Mollies?
    10       A. Uh-huh.                                  10            I've heard of them, but I don't
    11       Q. It submits a 222 form to                 11   know specifically what they are.
    12   Mallinckrodt asking to buy ten pills.           12       Q. Okay. Are you familiar -- are
    13            How does Mallinckrodt know that        13   you familiar with any terms or any references
    14   those ten pills don't exceed the hundred-pill   14   to Mallinckrodt products with respect to
    15   quota?                                          15   being street drugs?
    16       A. We probably wouldn't, but                16       A. No.
    17   remember that the DEA is issuing the 222        17       Q. So given that Mallinckrodt
    18   form, so they -- as we turn in -- or we and     18   products were being diverted and they were
    19   whoever else they're buying from -- the 222     19   being abused, are there any additional steps,
    20   forms back to the DEA, the DEA would give       20   looking back in hindsight, that you feel
    21   them new 222 forms based upon what was left.    21   Mallinckrodt should have taken?
    22       Q. And do you know how DEA set the          22       A. Well, I just want to say that
    23   quotas?                                         23   if you remember where we were in the chain of
    24       A. No, that would be a Karen                24   manufacturing, if we're talking about bulk at
    25   Harper question.                                25   this time -- are we talking about 2007? Are
                                               Page 67                                              Page 69
     1       Q. But you would agree that it's             1   we talking generic? What time frame?
     2   very important to comply with that quota         2       Q. Let's start with dosage
     3   system?                                          3   products and then we can go to bulk.
     4       A. Oh, yes.                                  4       A. Okay. Okay.
     5       Q. So we previously spoke about              5            Keep in mind that the generic
     6   diversion.                                       6   business, we were -- you know, we had our own
     7            Do you recall that?                     7   regulations in place of meeting the DEA
     8       A. Yes.                                      8   requirements, plus we developed our
     9       Q. And is it your understanding              9   suspicious order monitoring program, which
    10   that Mallinckrodt products were being           10   was another step of identifying orders that
    11   diverted?                                       11   may have been out of order or suspicious
    12       A. Is it my understanding?                  12   quantities.
    13            Not that I'm aware of. Just            13            And when we sold those, sold
    14   from what -- I guess what I've heard from the   14   our product, they went to distributors who
    15   news.                                           15   were supposed to have their own suspicious
    16       Q. Well, but you've seen news               16   order monitoring programs in place, and then
    17   reports indicating that Mallinckrodt products   17   they sold to druggists and then to physicians
    18   have been diverted; is that fair?               18   and then to the end user.
    19       A. Yes. Yes.                                19            So there was a -- quite a
    20       Q. And do you recall what those             20   number of people in between Mallinckrodt and
    21   news reports said?                              21   the end user, so I would say that we did
    22       A. No, not really.                          22   our -- our due diligence in trying to keep
    23       Q. But your understanding from              23   diversion from happening.
    24   these news reports is that Mallinckrodt         24       Q. And when you say "due
    25   products were being diverted and they were      25   diligence," what do you mean by that?

   Golkow Litigation Services                                                   Page 18 (66 - 69)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further19Confidentiality
                                                         of 88. PageID #: 248613
                                                                             Review
                                               Page 70                                              Page 72
     1       A. By -- by meeting the                      1   particular product that the order was for,
     2   requirements of the DEA.                         2   and I would ask them if they knew why all of
     3       Q. And so it was very important to           3   a sudden we were having a peculiar order from
     4   you that Mallinckrodt meet these DEA             4   that customer.
     5   requirements?                                    5            And a peculiar order, again,
     6       A. I would say it's probably the             6   would be unusual quantity from what they have
     7   most important thing that we did.                7   bought in the past over a period of time
     8       Q. And this view was widely shared           8   based upon the log rhythms {sic} we set in
     9   at the company; is that correct?                 9   place in our computer system.
    10       A. Yes, it was.                             10            If they didn't know, my next
    11            I will add that when we were           11   step would be going to the salesperson and
    12   developing our suspicious order program, that   12   asking them.
    13   that was rolled out to our marketing people     13       Q. And so when you say that you
    14   and also our sales force on what our            14   didn't have any suspicious orders, though,
    15   requirements were and what their part would     15   what do you mean -- what do you mean by that?
    16   be going forward in helping us on -- on         16       A. Suspicious order is one that
    17   controlling any -- any possible suspicious      17   would be -- where there is possible -- where
    18   orders or peculiar orders as we -- it became    18   we could not identify for whatever -- what
    19   known as later on.                              19   reason the customer was ordering more than
    20       Q. How did you know that your               20   what they had in the past. That would become
    21   suspicious order monitoring program was         21   a suspicious order. And we report that to
    22   effective?                                      22   Karen Harper and her group, who would then
    23       A. We did not have one suspicious           23   report it to the DEA.
    24   order while I was doing the job.                24       Q. And so I just want to make sure
    25       Q. And when you say you did not             25   I understand what your testimony is.
                                               Page 71                                              Page 73
     1   have one suspicious order while you were         1            Are you saying that because
     2   doing the job, what do you mean by that?         2   none of your customers ever submitted a
     3        A. Well, just to talk a little bit          3   suspicious order to you, that your suspicious
     4   about the suspicious order program that we       4   order monitoring program was effective?
     5   developed, an order would be flagged every       5            MR. TSAI: Object to the form.
     6   day -- an order could be flagged on a daily      6            THE WITNESS: I'm saying that
     7   basis as being suspicious or peculiar, as we     7        during the time that I was running the
     8   called it, and what that is, is just a stage     8        program and working the program that
     9   that we went through.                            9        we did not have a suspicious order.
    10            If an order was flagged as             10   QUESTIONS BY MR. KAWAMOTO:
    11   being peculiar, it was during my time, my job   11        Q. And when you say you "did not
    12   or responsibility to talk to marketing or our   12   have a suspicious order," that means that you
    13   customer service reps, who would be the first   13   didn't identify any orders that were
    14   people that I would talk to because they were   14   suspicious?
    15   in tuned to our customers and what their        15        A. We identified orders that were
    16   order needs were, and they would know if        16   peculiar, but we could explain them and did
    17   there was anything unusual as far as a          17   not go to the point of being a suspicious
    18   distributor picking up a new customer that      18   order.
    19   they hadn't had before that they would now      19        Q. And I guess my question is, I
    20   need increased material to supply.              20   mean, you've indicated that you could explain
    21            And if our CSR did not have            21   all of your peculiar orders.
    22   a -- an answer to why the customer was          22            How do you know that -- that
    23   ordering more, I would go to the product        23   your explanations were, in fact, correct?
    24   manager, or business manager, whatever they     24        A. Because in identifying the --
    25   were being called at the time, who had that     25   why the order was being determined being
   Golkow Litigation Services                                                   Page 19 (70 - 73)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further20Confidentiality
                                                         of 88. PageID #: 248614
                                                                             Review
                                               Page 74                                              Page 76
     1   peculiar, we had a legitimate explanation of     1        Q. Was the sales force's
     2   why the order was larger or peculiar from        2   compensation based upon their -- strike that.
     3   what it had been in the past, increased          3             Was the sales force's
     4   sales, a new customer was coming aboard that     4   compensation in any way based upon their
     5   the customer of ours had gotten. They were       5   compliance with the DEA regulations?
     6   explainable orders is what I'm saying. So,       6             MR. TSAI: Object to the form.
     7   therefore, they went to peculiar order to        7             THE WITNESS: I can't -- I
     8   legitimate order.                                8        can't answer that. I don't know.
     9       Q. And the explanation you were              9             (Mallinckrodt-Rausch Exhibits 1
    10   getting, though, was ultimately being           10        and 2 marked for identification.)
    11   provided by the customer; is that accurate?     11   QUESTIONS BY MR. KAWAMOTO:
    12       A. By the -- by the -- well, from           12        Q. I would like to mark this as
    13   the salesman or from marketing or the product   13   Exhibit 1.
    14   manager in dealing with the customer.           14             And actually this Exhibit 1
    15       Q. So they would get the                    15   goes in connection with Exhibit 2, so I'm
    16   information from the customer --                16   going to mark that as well.
    17       A. Correct.                                 17             So. Mr. Rausch, I've handed
    18       Q. -- and relay it to you?                  18   you two exhibits. The first one is an e-mail
    19       A. At that -- yes.                          19   chain and it bears the Bates number
    20       Q. Was there ever a circumstance            20   MNK-T1_273559. That's Exhibit 1.
    21   why a customer lied to one of your sales        21             And then I've also provided you
    22   reps?                                           22   with an exhibit marked Exhibit 2. This is a
    23       A. I don't know that.                       23   letter from the DEA, and it's dated
    24       Q. If the customer lied to your             24   September 27, 2006, and it bears a Bates
    25   sales rep, then, in fact, the order would not   25   number MNK-T1_273563.
                                               Page 75                                              Page 77
     1   be legitimate; is that correct?                  1        A. Okay.
     2            MR. TSAI: Object to the form.           2        Q. Do you have both exhibits, sir?
     3            Go ahead.                               3        A. I do.
     4            THE WITNESS: That's possible,           4        Q. So directing your attention to
     5       but what I'm saying that from when I         5   the e-mail if the very top of the e-mail
     6       was working at, we were -- we were           6   chain?
     7       satisfied with explanations that we          7        A. Which -- on Exhibit 1?
     8       were receiving from our sales force          8        Q. On Exhibit 1.
     9       and the marketing folks why the order        9        A. Okay.
    10       was legitimate.                             10        Q. Do you see the second paragraph
    11   QUESTIONS BY MR. KAWAMOTO:                      11   that says, "Please note that Vince Kaiman and
    12       Q. Are you familiar with the                12   I had a conversation"?
    13   compensation scheme for your sales force?       13        A. Yes.
    14       A. No, I'm not.                             14        Q. Okay. And this is an e-mail
    15       Q. Do you know if their bonus was           15   from Karen Harper, but she's indicating that
    16   dependent in any way on the number of sales     16   she shared a DEA letter with you.
    17   they made?                                      17             Do you see that?
    18       A. Well, I would guess that sales           18        A. Correct.
    19   would be involved, but keep in mind that the    19        Q. Okay. And Exhibit 2 I believe
    20   sales force were very aware of the DEA          20   is that letter.
    21   compliance that Mallinckrodt enforced and       21        A. I want to look at that now?
    22   they knew it could lead to firing or us         22        Q. Yes. Could you look at that?
    23   losing our license to manufacture and sell.     23        A. Okay.
    24   So it was a high priority for us over and       24        Q. Do you recall Karen Harper
    25   beyond sales.                                   25   sharing this letter from you -- with you?
   Golkow Litigation Services                                                   Page 20 (74 - 77)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further21Confidentiality
                                                         of 88. PageID #: 248615
                                                                             Review
                                                Page 78                                              Page 80
     1       A. I don't.                                   1   that the person placing the suspicious order
     2       Q. Okay.                                      2   is a DEA registrant and turn a blind eye to
     3       A. Just because I don't remember              3   the suspicious circumstances."
     4   seeing it. It's been a long time.                 4            Do you understand that to also
     5       Q. Sure.                                      5   require -- also apply to Mallinckrodt as a
     6             But do you recall receiving             6   manufacturer?
     7   this letter at some point?                        7        A. Yes.
     8       A. I don't recall it, but that                8        Q. Okay. Then turning to page 3
     9   doesn't mean I didn't receive it.                 9   of the memo. It says, "Circumstances that
    10       Q. Okay. Do you recall ever                  10   might be indicative of diversion." It
    11   reviewing a letter like this?                    11   identifies four -- four circumstances.
    12       A. Yes.                                      12            Would you agree that those
    13       Q. And why did you review this               13   circumstances are ones that are indicative of
    14   letter?                                          14   diversion?
    15       A. Can I --                                  15        A. Certain pharmacies have engaged
    16       Q. Absolutely.                               16   in dispensing controls.
    17       A. Can I take a look at it?                  17            Those are four circumstances
    18       Q. Yes. Actually, why don't you              18   that could lead to diversion, yes.
    19   review that letter and let me know when          19        Q. And so if a distributor -- if a
    20   you're ready.                                    20   distributor's order fell within one of these
    21       A. Okay. Okay.                               21   four circumstances, you would agree that that
    22       Q. So directing your attention to            22   is potentially a suspicious order, would you
    23   the second page of this letter, it bears the     23   not?
    24   Bates number 273564, do you see the third        24        A. Peculiar order, yes.
    25   paragraph from the bottom? It starts, "Thus      25        Q. Then below that, there's --
                                                Page 79                                              Page 81
     1   in addition."                                     1   there's a paragraph below that with ten
     2        A. Okay.                                     2   questions.
     3        Q. And can you read that paragraph           3            Do you see that?
     4   into the record for me?                           4       A. Yes.
     5        A. "Thus, in addition to reporting           5       Q. So the first question is:
     6   all suspicious orders, a distributor has a        6   "What percentage of the pharmacy's business
     7   statutory responsibility to exercise due          7   does dispensing controlled substances
     8   diligence to avoid filling suspicious orders      8   constitute?"
     9   that might be diverted into other than            9            Would you agree that that is
    10   legitimate, medical, scientific and              10   important information to have and evaluate
    11   industrial channels. Failure to exercise         11   whether an order is suspicious?
    12   such due diligence could, as circumstances       12       A. For the distributor?
    13   warrant, provide a statutory -- statutory        13       Q. Yes.
    14   basis for revocation or suspension of the        14       A. I would say yes.
    15   distributor's registration."                     15       Q. And then if you were to change
    16        Q. Now, did you understand that             16   this question so that it be what percentage
    17   that legal requirement also applied to           17   of the distributor's business does dispensing
    18   Mallinckrodt as a manufacturer?                  18   controlled substances constitute, would you
    19            MR. TSAI: Object to the form.           19   agree that that's important information for
    20            Go ahead.                               20   Mallinckrodt to have with respect to its
    21            THE WITNESS: Yes.                       21   customer?
    22   QUESTIONS BY MR. KAWAMOTO:                       22       A. Yes.
    23        Q. Okay. And then do you see in             23       Q. Okay. And so for number 2 it
    24   the paragraph beneath that, it says, "A          24   says: "Is the pharmacy compliant with the
    25   distributor may not simply rely on the fact      25   laws of every state in which it is dispensing
   Golkow Litigation Services                                                    Page 21 (78 - 81)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further22Confidentiality
                                                         of 88. PageID #: 248616
                                                                             Review
                                              Page 82                                                Page 84
     1   controlled substances?"                          1       Q. And so if a pharmacy chain fell
     2            If you were to substitute, you          2   into any one of these six categories,
     3   know, one of Mallinckrodt's customers in for     3   wouldn't that be of concern to Mallinckrodt?
     4   "pharmacy," would you agree that's important     4            MR. TSAI: Object to the form.
     5   information for Mallinckrodt to have?            5            THE WITNESS: I would guess so.
     6       A. Yes.                                      6   QUESTIONS BY MR. KAWAMOTO:
     7       Q. Okay. So looking at these -- I            7       Q. Okay. So, for example, if you
     8   guess the remaining ten questions, in an         8   had a retail pharmacy that was soliciting
     9   effort to try to truncate things, would you      9   buyers of controlled substances via the
    10   agree that all of these questions, as applied   10   Internet or is a pharmacy associated with the
    11   to Mallinckrodt's customers, are important      11   Internet that solicits orders for controlled
    12   information for Mallinckrodt to have in         12   substances, that would be of concern to
    13   assessing whether an order is peculiar?         13   Mallinckrodt, would it not?
    14            MR. TSAI: Object to the form.          14       A. Yes.
    15            THE WITNESS: No, not all of            15       Q. And modifying that question, if
    16       them would apply to our business of         16   you were -- if one of your distributors was
    17       selling to the distributors.                17   doing business with, for example, a pharmacy
    18   QUESTIONS BY MR. KAWAMOTO:                      18   or an Internet site affiliated with the
    19       Q. Okay. Which ones would not               19   pharmacy offering to facilitate the
    20   apply?                                          20   acquisition of a prescription for a
    21       A. Well, does the pharmacy fill             21   controlled substance from a practitioner with
    22   prescriptions issued by practitioners based     22   whom the buyer has no preexisting
    23   solely on an online questionnaire without a     23   relationship, wouldn't that be of concern to
    24   medical exam or bona fide doctor-patient        24   you?
    25   relationship.                                   25       A. We sold to the distributors,
                                              Page 83                                                Page 85
     1            Do you want me to go through            1   not -- your question was about the
     2   all of them and tell you which ones I don't      2   distributor.
     3   think would apply?                               3       Q. Well, no, I'm sorry. Let me
     4        Q. Yes, I think that would be               4   rephrase that.
     5   helpful.                                         5            My question is now about the
     6            So I have number 5 and then...          6   distributors' customers.
     7        A. Number 3.                                7       A. Okay.
     8        Q. Okay.                                    8       Q. So you've got a list here of
     9        A. Number 4.                                9   ten essentially -- would it be fair to call
    10            Number -- well, number 8 is            10   these red flags?
    11   something that we wouldn't -- wouldn't be       11       A. Yes.
    12   part of.                                        12       Q. Okay. So you've got a
    13            Number 9.                              13   question -- you've got a list here of ten red
    14            Number 10.                             14   flags.
    15        Q. And your basis for identifying          15            If a distributor is doing
    16   these is because Mallinckrodt doesn't do        16   business with a pharmacy that raises one or
    17   business directly with pharmacies; is that      17   more red flags, wouldn't that be of concern
    18   correct?                                        18   to Mallinckrodt?
    19        A. Correct.                                19            MR. TSAI: Object to the form.
    20        Q. Okay. Does Mallinckrodt do              20            THE WITNESS: Well, it would be
    21   business with retail pharmacies, though? For    21       a red flag for the distributor who
    22   example, you know, CVS or Walgreens?            22       also has a suspicious order monitoring
    23        A. With chains.                            23       program that should be in place.
    24        Q. With pharmacy chains?                   24       Okay.
    25        A. Right.                                  25            We were -- we were not
   Golkow Litigation Services                                                    Page 22 (82 - 85)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further23Confidentiality
                                                         of 88. PageID #: 248617
                                                                             Review
                                              Page 86                                               Page 88
     1       monitoring our customers' customer at        1   was put in place in the end of 2008.
     2       this time. We were asked to -- to            2            So from the bulk business, we
     3       monitor our customers or build a             3   were monitoring our customers, not their
     4       report -- a suspicious order program         4   customers.
     5       on our customers.                            5       Q. But Mallinckrodt had the
     6   QUESTIONS BY MR. KAWAMOTO:                       6   capability of monitoring your customers'
     7       Q. And you said you're not                   7   customers, did it not?
     8   monitoring them at this time.                    8       A. On the bulk business?
     9       A. Well, okay. We weren't                    9            No, not that I am aware of.
    10   monitoring them. When I had -- this is back     10       Q. Did it have the ability to do
    11   in 2007. When I was in -- or in 2006,           11   so on the dosage side?
    12   actually. When I didn't -- I was in the bulk    12       A. From a customer service
    13   area, not in the dosage area.                   13   perspective, no.
    14            But our program was based upon         14       Q. Well, you indicated a customer
    15   the customers that we were selling to, not      15   service perspective. I guess I would ask the
    16   who our customers' customers were selling to.   16   question --
    17   We didn't have that information available to    17       A. We did not have the resources
    18   us at that time.                                18   to identify who our customer -- who our
    19       Q. And do you know if --                    19   customer were selling to.
    20       A. Am I making myself clear?                20       Q. And when you say "resources,"
    21       Q. Well, I think so, but I want to          21   you're talking about you didn't have enough
    22   make sure I understand what you're saying.      22   employees; you did not have enough staff?
    23       A. Okay.                                    23       A. No, we didn't have the data
    24       Q. So with respect to the bulk              24   information available to us, that I'm aware
    25   area, which is prior to 2007 -- which is        25   of.
                                              Page 87                                               Page 89
     1   prior to 2007 --                                 1       Q. On the -- either on the dosage
     2        A. Uh-huh.                                  2   side or on the bulk side?
     3        Q. This letter is dated 2006.               3       A. Well, are we bouncing back and
     4            You're saying that from -- from         4   forth?
     5   the standpoint of the bulk narcotics             5            On the bulk side, we did not.
     6   business --                                      6       Q. Okay. So on the bulk side, you
     7        A. Yes.                                     7   did not have -- you did not have the data
     8        Q. -- you were not looking at your          8   that would allow you to know who your
     9   customers' customer; is that accurate?           9   customers' customer was?
    10        A. That's correct.                         10       A. Right.
    11        Q. Okay.                                   11       Q. Now, turning to the dosage
    12        A. And keep in mind, back then, we         12   side --
    13   were sending a monthly letter to the DEA        13       A. Which I did not have at that
    14   office, which I think I talked about earlier    14   time.
    15   in our conversation. That was the               15       Q. Understood.
    16   requirement of the DEA at that time in 2006,    16            But turning to the dosage side
    17   and I believe into 2007, and then the DEA was   17   prior to 2007 --
    18   telling us through our compliance group where   18       A. Right.
    19   we were getting the information like this and   19       Q. -- did Mallinckrodt -- are you
    20   in talks with her that the letter was no        20   aware -- well, strike that.
    21   longer needed. They didn't want to see the      21            Did Mallinckrodt have the
    22   letter. They wanted us to start developing a    22   ability to monitor its customers' customer?
    23   program, which we would call our -- ongoing     23       A. I was not aware if it was or
    24   our suspicious order monitoring program,        24   not.
    25   which we worked on for a period of time and     25       Q. And when you say you're "not
   Golkow Litigation Services                                                   Page 23 (86 - 89)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further24Confidentiality
                                                         of 88. PageID #: 248618
                                                                             Review
                                               Page 90                                              Page 92
     1   aware," is that -- strike that.                  1   order there. We couldn't tell who they were
     2            You don't know one way or the           2   selling to at that time.
     3   other; is that fair?                             3            If you're asking me did I
     4       A. Correct.                                  4   think -- do I feel that knowing our
     5       Q. Would Cathy Stewart know?                 5   customers' customer would benefit
     6            MR. TSAI: Object to the form.           6   Mallinckrodt or benefit the diversion? It's
     7            THE WITNESS: I can't answer             7   possible, but I can't answer that for sure.
     8       that. I don't know what Cathy would          8       Q. Well, if Mallinckrodt, though,
     9       know about it.                               9   had the ability to monitor its customers'
    10   QUESTIONS BY MR. KAWAMOTO:                      10   customer, would you --
    11       Q. Okay. But in any event,                  11       A. Is that hypothetically?
    12   Mallinckrodt was not monitoring its             12       Q. Hypothetically.
    13   customers' customer on the dosage side prior    13            If they had the ability to do
    14   to 2007?                                        14   that, would you agree that it would have been
    15       A. As far as I know, they were              15   helpful to diversion control for them to do
    16   not. They were -- they were doing the same      16   so?
    17   thing the bulk side was doing.                  17            MR. TSAI: Object to the form.
    18       Q. Would you agree, though, that            18            THE WITNESS: Yes, it would be
    19   from a standpoint of diversion control and      19       helpful.
    20   diversion prevention, it would be helpful to    20   QUESTIONS BY MR. KAWAMOTO:
    21   know your customers' customer?                  21       Q. Okay. Do you believe it should
    22       A. I can't answer that. I                   22   have been required?
    23   don't -- I don't know the answer to that from   23       A. I can't answer that. We were
    24   a diversion.                                    24   meeting the requirements that I felt were in
    25            I mean, keep in mind I want to         25   place at the time.
                                               Page 91                                              Page 93
     1   reiterate that we were not the only player in    1            That's a -- that's a Karen
     2   this -- in this closed loop where we were        2   Harper question.
     3   selling to our customer, our customer was        3       Q. So turning now -- I'm going to
     4   supposed to be monitoring their customer all     4   focus your attention on two other -- two more
     5   the way down to the pharmacist and the           5   exhibits, and so I'm marking these in tandem
     6   doctor.                                          6   as Exhibit 3 and as Exhibit 4.
     7        Q. Well, but I have a slightly              7            (Mallinckrodt-Rausch Exhibits 3
     8   different question, which is: You know a         8       and 4 marked for identification.)
     9   distributor is distributing to, let's say,       9   QUESTIONS BY MR. KAWAMOTO:
    10   Internet pharmacies that are just filling       10       Q. This is Exhibit 3 and it bears
    11   prescriptions, you know, over the Internet,     11   the Bates number MNK-T1_419874.
    12   it's soliciting orders over the Internet, and   12            And while I'm labeling things,
    13   that's an area of concern, that's one of the    13   I'm going to also label Exhibit 4. This is a
    14   red flags raised in this 2006 letter, is it     14   DEA letter, and it bears a Bates number
    15   not?                                            15   MNK-T1_421084.
    16        A. Yes.                                    16       A. Okay. You want me to read
    17        Q. Okay. So you've got a                   17   this, or you want just --
    18   distributor and you know that distributor is    18       Q. Actually, I just have a few
    19   doing business with those types of              19   quick questions on this cover e-mail.
    20   pharmacies; isn't that of concern to            20       A. Okay.
    21   Mallinckrodt?                                   21       Q. But it is an e-mail to -- from
    22        A. I think that's one of the               22   Karen Harper to Cathy Stewart.
    23   reasons we put in our program on the            23            Do you see the second e-mail
    24   deviation of orders that were coming from our   24   that's dated -- the second e-mail from the
    25   customers to show if there was a suspicious     25   top dated March 12, 2008?
   Golkow Litigation Services                                                   Page 24 (90 - 93)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further25Confidentiality
                                                         of 88. PageID #: 248619
                                                                             Review
                                               Page 94                                               Page 96
     1       A. Okay. Yes.                                1   the responsibility does not end merely with
     2       Q. It references attached                    2   the filing of a suspicious order report.
     3   information that Karen had sent to you and       3   Registrant must conduct an independent
     4   Michael Pheney.                                  4   analysis of suspicious orders prior to
     5            Who is Michael Pheney?                  5   completing a sale to determine whether the
     6       A. Michael Pheney was my boss at             6   controlled substances are likely to be
     7   the time.                                        7   diverted from legitimate channels."
     8       Q. And I believe the                         8            Do you understand that
     9   attachments on -- the attachment to this         9   language?
    10   e-mail is this December 27, 2007 letter.        10       A. Yes.
    11            So if I could -- well, do you          11       Q. And is that -- is that a
    12   recall Karen Harper sending you this -- this    12   correct statement of Mallinckrodt's
    13   letter?                                         13   responsibilities under the law?
    14       A. No, I don't.                             14       A. Yes.
    15       Q. Okay. Actually, I'm sorry, if            15       Q. Okay. Further on down it
    16   you look at the very bottom of the page,        16   states, "The regulation specifically states
    17   there's an e-mail from Karen Harper dated       17   that suspicious orders include orders of an
    18   January 4, 2008, and you are -- you are one     18   unusual size, orders deviating substantially
    19   of the cc's.                                    19   from a normal pattern, and orders of an
    20            Do you see that?                       20   unusual frequency. These criteria are
    21       A. Yes.                                     21   disjunctive and are not all inclusive."
    22       Q. Okay. Do you recall Karen                22            Do you see that?
    23   Harper sending you this e-mail?                 23       A. Yes.
    24       A. No, it's been --                         24       Q. And do you understand what that
    25       Q. Do you have any reason to doubt          25   means?
                                               Page 95                                               Page 97
     1   that she sent you this e-mail?                   1       A. Yes.
     2       A. No, I don't.                              2       Q. And is that an accurate
     3       Q. Okay. Could you please review             3   statement of what a suspicious order is?
     4   the December 27, 2007 letter? I believe          4       A. Yes.
     5   that's Exhibit 4.                                5       Q. Okay.
     6       A. Okay.                                     6       A. And then some.
     7       Q. Okay. So do you recall                    7       Q. Okay. At the very bottom of
     8   reviewing this letter when you were employed     8   that paragraph it says, "The size of an order
     9   by Mallinckrodt?                                 9   alone, whether or not it deviates from a
    10       A. I recall it.                             10   normal pattern, is enough to trigger the
    11       Q. Okay. So directing your                  11   registrant's responsibility to report the
    12   attention to the third paragraph from the top   12   order as suspicious.
    13   of the first page of the letter --              13            "The determination of whether
    14       A. Okay.                                    14   an order is suspicious depends not only on
    15       Q. -- it said, "The regulation              15   the ordering patterns of the particular
    16   also requires that the registrant inform the    16   customer but also on the patterns of the
    17   local DEA division office of suspicious         17   registrant's customer base and the patterns
    18   orders when discovered by the registrant."      18   throughout the relevant segment of the
    19       A. Okay.                                    19   regulated industry."
    20       Q. "Filing a monthly report of              20            Do you see that statement?
    21   completed transactions, e.g., an excessive      21       A. I do.
    22   purchase report or high unit purchases, does    22       Q. And do you agree with it?
    23   not meet the regulatory requirement to report   23       A. Yes.
    24   suspicious orders.                              24       Q. And so you understood this to
    25            "Registrants are reminded that         25   be an accurate statement of Mallinckrodt's
   Golkow Litigation Services                                                    Page 25 (94 - 97)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further26Confidentiality
                                                         of 88. PageID #: 248620
                                                                             Review
                                              Page 98                                            Page 100
     1   legal responsibilities with respect to          1   words, this was a floor, not a ceiling?
     2   suspicious orders?                              2        A. Correct.
     3       A. From the bulk side, which is             3        Q. Okay. But it was -- it was
     4   where I was at this time, this was where we     4   critically important to Mallinckrodt that its
     5   started, from what I remember. Our St. Louis    5   enhanced SOM program meet, at a minimum, the
     6   field office did not want to receive the        6   requirements in this letter?
     7   monthly report any longer. Okay.                7        A. Yes.
     8            And we were instructed -- Karen        8        Q. Okay. And so directing your
     9   Harper and Michael Pheney and some other        9   attention to page 2, it says, "Registrants
    10   folks put together a team of people to come    10   that rely on rigid formulas to define whether
    11   up with a more robust suspicious order         11   an order is suspicious may be failing to
    12   monitoring program, which included myself,     12   detect suspicious orders. For example, a
    13   Cathy. Karen Harper oversaw it, but she        13   system that identifies orders as suspicious
    14   didn't come to all the meetings. We had a      14   only if the total amount of a controlled
    15   few IT people that was involved, to come up    15   substance ordered during one month exceeds
    16   with a more robust ordering -- suspicious      16   the amount ordered the previous month by a
    17   order monitoring program that would identify   17   certain percentage or more is insufficient."
    18   orders as being peculiar as the orders came    18            And so what is your
    19   through.                                       19   understanding of what that requirement is?
    20            This was developed over time          20        A. Well, I think what they're
    21   period of like 2000 -- in the 2000-2008 time   21   saying is that it shouldn't be based on just
    22   period and put in place.                       22   what the previous month was -- what -- what
    23       Q. And this -- I guess you would           23   previous month order might have been. Okay.
    24   call --                                        24            They're saying is that they
    25       A. This was kind of the precursor          25   want you to take a look at an ongoing -- what
                                              Page 99                                            Page 101
     1   for that -- this kind of got the motion --      1   I'll call a floating month period, like I
     2   wheels in motion for getting that done.         2   described earlier to you, a rolling time
     3        Q. So I take it -- and that's what         3   period. So it wasn't from calendar year. It
     4   I think you previously referred to as your      4   was like January to January, February to
     5   enhanced suspicious order monitoring --         5   February, so it kept moving depending on --
     6        A. Correct.                                6   so if you were in April, it was looking at
     7        Q. -- program, your enhanced SOM           7   orders that were placed from March to March,
     8   program?                                        8   okay.
     9        A. Yes.                                    9        Q. Now, it also says that
    10        Q. And you would agree with me            10   "Registrants that rely on rigid formulas to
    11   that that enhanced program was required to     11   define whether an order is suspicious may be
    12   meet all of the requirements set forth in      12   failing to detect suspicious orders."
    13   this letter, would you not?                    13        A. That's exactly what I'm trying
    14        A. Not only what was in this              14   to describe to you right there. They're not
    15   letter -- keep in mind the DEA did not tell    15   saying don't look at what they ordered just
    16   us what should be in our program. They         16   the previous month. Look at what they've
    17   never -- they didn't tell us whether it was    17   done over the previous 12 months or -- and in
    18   correct. They didn't want to see a program.    18   our case, we said, okay, we're going to look
    19   They just told us that, "These are some of     19   at a 12-month roving {sic} period of time.
    20   the things that we wanted to see in your       20        Q. Okay. Doesn't this also tell
    21   program."                                      21   you though that if all you're doing is
    22             We did this stuff and included       22   relying on a rigid formula, on a numeric
    23   some other things that they thought were       23   formula, that is also insufficient?
    24   important.                                     24              MR. TSAI: Object to the form.
    25        Q. Okay. So this -- in other              25              THE WITNESS: Yeah, and that's
   Golkow Litigation Services                                                Page 26 (98 - 101)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further27Confidentiality
                                                         of 88. PageID #: 248621
                                                                             Review
                                              Page 102                                             Page 104
     1      what I'm trying to explain to you.            1   Indicative of Diversion."
     2           Not only did we have this, what          2            I'm sorry, it's actually page 3
     3      they're saying -- they say ordered            3   of the letter.
     4      during one-month period exceeds the           4       A. Okay. Page 3.
     5      amount ordered, that was rigid, that's        5            At the top?
     6      what they considered rigid. Okay.             6       Q. Yes.
     7           What they were saying, don't             7       A. Okay.
     8      rely on what they just ordered the            8       Q. You would agree that --
     9      previous month, that's what they              9       A. Again, we're looking at
    10      considered rigid.                            10   pharmacies, right?
    11           So the rolling months was not           11       Q. Well, we were looking at
    12      rigid. Okay.                                 12   "Circumstances that Might Be Indicative of
    13           We only -- we not only did              13   Diversion."
    14      rolling months, but we went in               14       A. Okay.
    15      frequency over a period of time. We          15       Q. And so you would agree that an
    16      not only looked at a particular size,        16   adequate suspicious order monitoring program
    17      and I'm -- of a bulk product, and this       17   would take into account these four
    18      also applies to the dosage because I'm       18   circumstances, would it not?
    19      thinking of dosage. Because we had           19       A. Number 2 I don't think is
    20      different sizes of the same product.         20   something that would involve what we were in
    21           We would look at the family,            21   the business of doing, ordering a limited
    22      okay, meaning combining all the              22   variety of controlled substances in
    23      products within, let's say,                  23   quantities disproportionate to the quantity
    24      hydrocodone, we had several different        24   of noncontrolled medications. I -- I
    25      sizes. So we would look at the bulks         25   don't -- I don't see how that applies to us.
                                              Page 103                                             Page 105
     1       of that size, okay.                          1       Q. I'm sorry.
     2            So if they changed it up and            2       A. It's not something that we
     3       they went from a 10 by 50 to a 25 by         3   would have been looking at.
     4       50, you know, just to -- we would --         4       Q. Well, isn't that what that --
     5       we would take the entire amount that         5   well, reading the requirement it says,
     6       was being bought, make sure they             6   "Ordering a limited variety of controlled
     7       weren't buying more than what they           7   substances in quantities disproportionate to
     8       normally did.                                8   the quantity of noncontrolled medications
     9            So I think we did more so than          9   ordered."
    10       what the regulations were requiring.        10            So if a distributor was doing
    11   QUESTIONS BY MR. KAWAMOTO:                      11   that from you, meaning all of the -- well,
    12       Q. Now, directing your attention            12   let me rephrase that.
    13   back to Exhibit 2, do you have that in -- can   13            If a retail pharmacy was only
    14   you put that in front of you so that -- yeah,   14   ordering controlled substances from you in
    15   that would be the first DEA letter we looked    15   quantities disproportionate to the quantity
    16   at.                                             16   of noncontrolled medications ordered, so
    17       A. Okay.                                    17   we're talking a retail pharmacy here --
    18       Q. And do you see on page 2, it's           18       A. Okay.
    19   got -- under the "Circumstances that Might Be   19       Q. -- wouldn't that be something
    20   Indicative of Diversion," it's identifying      20   your suspicious order monitoring program
    21   four different issues?                          21   should pick up on?
    22       A. Page 2, you said?                        22       A. When you say "noncontrolled
    23       Q. Yes.                                     23   medication orders," I'm not sure,
    24       A. And where at?                            24   noncontrolled medications, what would that
    25       Q. "Circumstances that Might Be             25   be?
   Golkow Litigation Services                                                Page 27 (102 - 105)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further28Confidentiality
                                                         of 88. PageID #: 248622
                                                                             Review
                                             Page 106                                             Page 108
     1       Q. Well, I assume it would be               1   industrial channels may be failing to
     2   other pharmaceuticals that were not, for        2   maintain effective controls against
     3   example, Schedule II.                           3   diversion."
     4       A. Okay.                                    4            Now, I guess to use the
     5             Again, I go back to this is           5   Mallinckrodt terminology, I should be
     6   something that we were not -- we didn't have    6   substituting in "peculiar orders"; is that
     7   the tools to do at that time.                   7   fair?
     8       Q. Well, but you would agree that           8       A. Correct.
     9   this is a circumstance that might be            9       Q. Okay. So registrants that
    10   indicative of diversion, would you not?        10   routinely -- or, you know, registrants that
    11       A. I suppose it could be, yes.             11   routinely report peculiar orders yet fill
    12       Q. And given that and given that           12   those orders without first determining that
    13   this is -- I mean, the DEA is flagging this    13   order is not being diverted into other than
    14   as an issue that they are concerned about,     14   legitimate, scientific and industrial
    15   wouldn't it be important for Mallinckrodt's    15   channels may be failing to maintain effective
    16   suspicious order monitoring program,           16   controls against diversion.
    17   particularly its enhanced SOM program, to      17            You would agree with that
    18   take this into account?                        18   statement?
    19       A. We were -- as far as                    19       A. Yes.
    20   pharmacies, we were selling to chain           20       Q. Okay. So as part of
    21   pharmacies and we were shipping to -- to       21   Mallinckrodt's suspicious order monitoring
    22   their shipping sites, not particular           22   program --
    23   pharmacies. Okay. Not individual               23       A. Yes.
    24   pharmacies. We were selling to their           24       Q. -- it had to make sure that it
    25   warehouses.                                    25   did not report -- it did not identify
                                             Page 107                                             Page 109
     1        Q. But if a chain -- if a chain            1   peculiar orders and yet fill those orders
     2   pharmacy is only ordering Schedule II           2   without first determining that the order was
     3   substances from you, isn't that something       3   not being diverted; is that correct?
     4   that your program ought to have taken into      4        A. Are you talking about -- at
     5   account and registered?                         5   this time period or are you talking during
     6        A. If we had the resources to do           6   when? Are we talking about bulk, or are we
     7   so, I suppose so.                               7   talking about dosage?
     8             MR. TSAI: Dean, this is a time        8        Q. Well, let's focus on dosage
     9        check. It's been about an hour since       9   products.
    10        the last break.                           10        A. Okay.
    11             MR. KAWAMOTO: Sure. Actually,        11        Q. And for dosage products --
    12        why don't I finish up on Exhibit 4 and    12        A. Right.
    13        then we can take a quick break.           13        Q. -- prior to 2007, it would have
    14   QUESTIONS BY MR. KAWAMOTO:                     14   been improper for Mallinckrodt to identify a
    15        Q. So page 2 of Exhibit 4, that's         15   peculiar order and fill that order without
    16   the 2007 DEA letter.                           16   first determining that the order was not
    17        A. Page -- okay.                          17   being diverted into other than legitimate,
    18        Q. Page 2.                                18   medical, scientific and industrial channels;
    19        A. Of 4?                                  19   is that correct?
    20        Q. Yes.                                   20        A. Yes.
    21             It says, "Lastly registrants         21        Q. Okay. And presumably in the
    22   that routinely report suspicious orders yet    22   post-2007 time period under your enhanced
    23   fill these orders without first determining    23   suspicious order monitoring program, it still
    24   that order is not being diverted into other    24   would have been improper to fill an order
    25   than legitimate, medical, scientific and       25   without first investigating the order; is
   Golkow Litigation Services                                               Page 28 (106 - 109)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further29Confidentiality
                                                         of 88. PageID #: 248623
                                                                             Review
                                             Page 110                                              Page 112
     1   that correct?                                    1        A. Yes.
     2             MR. TSAI: Object to the form.          2        Q. So with respect to both bulk
     3             THE WITNESS: Keep it in mind,          3   and dosage products, now, with respect to
     4        like I've mentioned before, prior to        4   both pre-2007 and post-2007, it would have
     5        2007, we were -- we were instructed by      5   been improper for Mallinckrodt to ship an
     6        our field offices at that time, our         6   order without first concluding an
     7        DEA field offices, that the monthly         7   investigation -- well, strike that.
     8        report that we gave them was                8             It would have been improper for
     9        sufficient.                                 9   Mallinckrodt to ship a peculiar order without
    10   QUESTIONS BY MR. KAWAMOTO:                      10   first concluding its investigation as to
    11        Q. Okay. But nevertheless, from            11   whether that order was not going to be
    12   a -- from a standpoint of --                    12   diverted; is that accurate?
    13        A. From a -- from -- as far as --          13             MR. TSAI: Object to the form.
    14   I can only speak towards bulk because that's    14             THE WITNESS: I would say that
    15   what I had at the time. Okay.                   15        when I had dosage at the time, that we
    16             So besides the program that we        16        had an agreement with Karen Harper
    17   had in place, which was what the DEA required   17        that we didn't always have the time
    18   at that time, regardless of what this letter    18        because orders would go out on a daily
    19   is saying, we were also monitoring our          19        basis from when they were -- they were
    20   customers of any orders that we felt -- our     20        entered, and they -- if an order
    21   CSRs would notify myself or Karen Harper        21        kicked out as peculiar, we didn't
    22   that, "Hey, we've got an order that's more --   22        always have the ability to do the
    23   more than what the customer normally buys,"     23        thorough investigation prior to the
    24   and we would -- we identify that and turn it    24        order being shipped. Okay.
    25   over to Karen Harper for her -- to discuss      25             And we came to that conclusion
                                             Page 111                                              Page 113
     1   with the DEA.                                    1      after several months of orders being
     2            I want to keep in mind that in          2      placed through our system and we did
     3   the bulk area in a time frame of seven days      3      not have any suspicious orders. What
     4   to a month would be our normal period of         4      we had -- had any suspicious orders,
     5   fulfilling an order because we manufactured      5      so we felt comfortable that we could
     6   all the orders make-on-order. Okay. We           6      go ahead and ship the order.
     7   didn't stock bulk narcotics. We didn't have      7           And the reason why we were not
     8   the -- the inventory to be able to stock it,     8      able to always thoroughly investigate
     9   so everything was made to order. And the         9      the order prior to it shipping was,
    10   time frame that we needed our -- was anywhere   10      one, we didn't have the information
    11   from seven days to a month. Okay.               11      available from the CSR, our first
    12            So we had -- what I'm getting          12      contact, okay. They didn't know why
    13   at is we had plenty of time prior to the        13      this is -- this order is being placed
    14   order being shipped to determine whether it     14      for -- unusual order was being placed.
    15   was suspicious order or not.                    15           Secondly, we would go to the
    16        Q. Okay. But as I -- as I                  16      business manager for that product. If
    17   understand this letter to be stating, and       17      that business manager didn't know why
    18   please correct me if you have a different       18      there was an unusual order being
    19   interpretation, what it's saying is that if     19      placed, we would then go to the
    20   you identify a peculiar order, you should not   20      salesperson. This all took time
    21   ship that order without investigating whether   21      because these people aren't always
    22   the order is -- whether the order is being      22      available to get back to us. Okay.
    23   diverted; is that accurate?                     23           And we felt comfortable enough
    24        A. I would say so.                         24      through our -- through this program
    25        Q. Okay.                                   25      being in place for several months
   Golkow Litigation Services                                                Page 29 (110 - 113)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further30Confidentiality
                                                         of 88. PageID #: 248624
                                                                             Review
                                              Page 114                                            Page 116
     1       before we went to that that we -- we         1   without their blessing.
     2       could continue to investigate that           2       Q. Did Karen Harper ever tell you
     3       order because that order was going to        3   that the DEA had signed off on this
     4       a distributor who also had a program         4   agreement?
     5       in place for suspicious orders, so we        5       A. No.
     6       knew that we could get the product           6       Q. Okay. And when you say that
     7       back or stop it if need be.                  7   you had an agreement with Karen Harper, what
     8   QUESTIONS BY MR. KAWAMOTO:                       8   do you mean by that?
     9       Q. So in certain circumstances               9       A. I asked her, based upon the
    10   then, Mallinckrodt would ship peculiar orders   10   circumstances that I described, if it was
    11   without completing its investigation as to      11   okay to do this, and she agreed to it.
    12   whether that order might be diverted into       12       Q. Now, was this agreement
    13   other than legitimate, medical, scientific or   13   memorialized in writing?
    14   industrial channels; is that correct?           14       A. I believe there was an e-mail.
    15            MR. TSAI: Objection. Vague as          15       Q. Okay. Was this agreement
    16       to time.                                    16   memorialized in any formal policy put out by
    17            Go ahead.                              17   Mallinckrodt?
    18            THE WITNESS: Yes, we -- on             18       A. Not that I'm aware of.
    19       rare circumstances where we didn't          19       Q. So this agreement then would
    20       want to hold up the order because of        20   not be included in whatever written policy
    21       people needing for legitimate reasons,      21   you had regarding your enhanced suspicious
    22       medical needs, we didn't want to hold       22   order monitoring program, would it?
    23       up the order, but we continued to go        23       A. I don't remember.
    24       through the process of identifying          24            MR. KAWAMOTO: Okay. Do you
    25       whether it was legitimate or not.           25       want to take a break now, Rocky?
                                              Page 115                                            Page 117
     1            And I can say that from the             1            MR. TSAI: Let's take a break,
     2       time period that I have it, we did not       2       yeah.
     3       have a suspicious order.                     3            VIDEOGRAPHER: We're going off
     4   QUESTIONS BY MR. KAWAMOTO:                       4       the record at 11:34 a.m.
     5       Q. Did you ever inform DEA that              5        (Off the record at 11:34 a.m.)
     6   you were doing this?                             6            VIDEOGRAPHER: We're back on
     7       A. Yes.                                      7       the record at 11:49 a.m.
     8            Well, let me say we informed            8   QUESTIONS BY MR. KAWAMOTO:
     9   our DEA compliance person, Karen Harper, and     9       Q. So, Mr. Rausch, directing you
    10   she was in agreement to that.                   10   to Exhibit 4 again. It's a 2007 DEA letter.
    11       Q. But did you ever inform the              11            Do you have that in front of
    12   Drug Enforcement Administration?                12   you?
    13       A. I did not talk to the Drug               13       A. Yes.
    14   Enforcement Agency myself.                      14       Q. So looking on the back page on
    15       Q. Do you know if Karen Harper              15   the top paragraph -- and we've discussed this
    16   informed the Drug Enforcement Administration?   16   briefly during the last session.
    17       A. I don't know what Karen Harper           17       A. Okay.
    18   did.                                            18       Q. Do you see the top paragraph
    19       Q. So you have no basis to believe          19   where it says, "Registrants that rely on
    20   that the DEA felt that this was an acceptable   20   rigid formulas to define whether an order is
    21   practice?                                       21   suspicious may be failing to detect
    22       A. I would say, as well as I know           22   suspicious orders."
    23   Karen Harper and how she dealt with the DEA,    23       A. Yes.
    24   she kept them informed of what we were doing.   24       Q. And your interpretation of that
    25   She would not -- she would not do anything      25   requirement is that you couldn't just rely on
   Golkow Litigation Services                                                Page 30 (114 - 117)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further31Confidentiality
                                                         of 88. PageID #: 248625
                                                                             Review
                                              Page 118                                             Page 120
     1   the month before; is that accurate?              1   interpretation?
     2        A. Well, I think that's what                2       A. Just thought that was the
     3   they're -- they're saying here. For example,     3   better approach than just looking at one
     4   a system that identifies orders as suspicious    4   month.
     5   only if the total amount of controlled           5            And if I'm reading here, it
     6   substance ordered during one month exceeds       6   says, okay, "should not rely on rigid
     7   the amount ordered the previous month.           7   formulas to define whether an order is
     8        Q. Okay. And so --                          8   suspicious or not," and they give, for
     9        A. That -- that I interpret as              9   example, a system that defines -- identifies
    10   being rigid.                                    10   orders as suspicious only in a total amount
    11        Q. And so it would be improper to          11   of the controlled substance ordered during
    12   just look at one month, but if you were to      12   one month.
    13   look at the past two months, that would be      13       Q. Well, let me -- go ahead.
    14   okay; is that your interpretation?              14       A. Do I understand what
    15        A. No. No.                                 15   you're asking?
    16            Well, what I'm saying is --            16       Q. Well, let me phrase this
    17   what we -- what we did is we looked at a        17   another way.
    18   12-month roving {sic} period of time, as I      18            So you have three potential
    19   explained earlier, where we not only looked     19   options. Option one is you would have -- you
    20   at the previous month and the month before      20   would base your SOM system on just look --
    21   that and six months before that, but a year's   21   just comparing the current order to the
    22   basis.                                          22   previous month's order, and your
    23            So if they placed an order, for        23   understanding is that the DEA disapproved of
    24   example, in April, okay, what we looked at      24   that approach.
    25   were orders that had been placed from, say,     25       A. They show that as an example.
                                              Page 119                                             Page 121
     1   March of that year, the month before, through    1       Q. The other approach would be,
     2   the past March of the previous year.             2   you know, what you did -- what Mallinckrodt
     3            And so -- and that -- then that         3   did, which is to compare the current order to
     4   just kept changing. If an order was placed       4   the average of the past 12 months on a
     5   in May, we would look from April through         5   rolling basis; is that accurate?
     6   April.                                           6       A. Correct. Correct.
     7       Q. Okay.                                     7       Q. Another approach would be in
     8       A. Does that make sense?                     8   addition to looking at, you know -- in
     9       Q. I believe I understand that.              9   addition to comparing the current order to
    10       A. Okay.                                    10   the prior 12-month order on a rolling basis,
    11       Q. I guess my question is so                11   you could also look at other factors. For
    12   your -- your understanding of what it means     12   example, the factors identified in the 2006
    13   not to rely on a rigid formula is that your     13   letter.
    14   formula shouldn't be time limited,              14            So, you know, what are -- what
    15   essentially, to one month.                      15   are they ordering relative -- how much -- or
    16            Is that -- is that what you're         16   how much opioids are they ordering relative
    17   indicating?                                     17   to other products?
    18       A. I think that's what my -- our            18            Is there -- is there a pattern
    19   interpretation is what the DEA is saying        19   with respect to, you know, how often that
    20   there. Don't just look at one -- what they      20   they are -- they are providing an order that
    21   bought the previous month because that's not    21   would, for example, trigger the peculiar
    22   going to give you a good feel for an order      22   order threshold?
    23   pattern that is deviant from possibly past      23            Are they ordering excessive
    24   orders.                                         24   quantities of controlled substances in
    25       Q. And what is your basis for that          25   combination with, you know, an excessive
   Golkow Litigation Services                                                Page 31 (118 - 121)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further32Confidentiality
                                                         of 88. PageID #: 248626
                                                                             Review
                                              Page 122                                             Page 124
     1   quantities of lifestyle drugs?                   1   was a particular size, like a 25-tablet
     2           So you could have a suspicious           2   bottle versus a 50-tablet bottle, they each
     3   order monitoring program that had both this      3   would be separate SKUs. So just not looking
     4   formula in addition to other factors.            4   at the orders for those particular ones. If
     5      A. Well, keep in mind --                      5   they were within what we called the same
     6           MR. TSAI: Object to the form.            6   family, we would look at the total of that
     7           Go ahead.                                7   family.
     8           THE WITNESS: Keep in mind that           8            So what we wanted to make sure
     9      as the bulk customer service rep at           9   as far as diversion is that to keep somebody
    10      that time, what the DEA -- our field         10   from trying to get something by us is to one
    11      office was requiring is what we were         11   month order the 50-tab bottle and then the
    12      supplying. We gave them what -- what         12   next month order the hundred-tab bottle. So
    13      we had as our criteria, which I just         13   we were looking at the combined of that
    14      told you it was based upon a 12-month        14   family, combination of that family, and that
    15      rolling average. They approved that          15   would be flagged.
    16      and we had that system in place up           16            Irregular order patterns was
    17      until 2007, 2008, at which time they         17   added, which I think is talked about in here.
    18      said that was no longer going to be          18            A number of different things.
    19      valid. And that's when we started            19        Q. And I'm sorry, when you were
    20      developing our enhanced program.             20   talking about the 50 versus a hundred tabs --
    21           So regardless of what they have         21        A. Right.
    22      here, what our requirements were at          22        Q. -- what you're referring to
    23      the time was was what I just told you.       23   is --
    24   QUESTIONS BY MR. KAWAMOTO:                      24        A. Tablet bottles.
    25      Q. And do you know -- is this the            25        Q. Tablet bottles.
                                              Page 123                                             Page 125
     1   same system that was in place regarding          1             So ordering 50 tablet bottles
     2   dosage products for the prior -- the pre-2007    2   from one family and then ordering a hundred
     3   time period?                                     3   tablet bottles from another family --
     4       A. I believe so, but that's a                4        A. No, from the same family.
     5   question that I would refer to Cathy Stewart     5   Okay.
     6   who had it at the same time.                     6        Q. Okay.
     7       Q. Okay. And so if I understand              7        A. So let's say hydrocodone,
     8   your testimony, this formula, which was based    8   example, let's say they came in sized bottles
     9   on looking, comparing, the current order to      9   of 50 tablets or a hundred tablets, okay, but
    10   the prior 12-month rolling period, that         10   they all came from the same crude, okay, or
    11   formula, was changed after 2007 when you took   11   what we would call family, all right.
    12   over the role of dosage products?               12             So if somebody came in and
    13       A. Yes.                                     13   ordered 100 one month, then came back the
    14       Q. Okay. And what was -- what was           14   next month and ordered 50, the computer
    15   the change or how was it changed?               15   system would keep track of that and look at
    16       A. What was our new program?                16   it at the higher level of where that was
    17       Q. Yes.                                     17   coming from in the crude. It would look at
    18       A. Okay. I don't remember all of            18   the total combination or combined of those
    19   the particulars, but -- because it's been a     19   orders.
    20   long period of time.                            20        Q. So it was essentially looking
    21            With the input of Cathy and            21   at the number of -- it was taking into
    22   several other people, it was based upon not     22   account the number of pills in the dosage --
    23   only the order quantity on a rolling average,   23        A. Correct.
    24   it was based upon not -- not only on a          24        Q. -- as opposed to just --
    25   particular SKU, what I'll call a SKU, which     25        A. Correct.
   Golkow Litigation Services                                                Page 32 (122 - 125)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further33Confidentiality
                                                         of 88. PageID #: 248627
                                                                             Review
                                              Page 126                                             Page 128
     1       Q. -- you know, how many pills --            1            John Adams didn't.
     2       A. Right.                                    2            Karen Harper, I'm not sure if
     3       Q. -- or how many bottles?                   3   she did or didn't at that time. She -- her
     4       A. Right.                                    4   reporting relationship changed, but I don't
     5       Q. Okay. So why don't we turn                5   remember what the time period was.
     6   to -- I would like to mark as -- I believe       6       Q. Okay. So at one time --
     7   we're up to Exhibit 5.                           7       A. Susan Marlatt didn't.
     8            (Mallinckrodt-Rausch Exhibit 5          8       Q. At one time she did report to
     9       marked for identification.)                  9   JoAnne Levy or --
    10   QUESTIONS BY MR. KAWAMOTO:                      10       A. I don't remember --
    11       Q. Okay. And so I've marked as              11       Q. Okay.
    12   Exhibit 5, it's a PowerPoint. It's dated        12       A. -- what her reporting
    13   June 5, 2008. Because I've got it printed in    13   relationship was at that time.
    14   native form, I'm going to read the Bates        14       Q. And so in terms of compliance
    15   number into the record. So the Bates number     15   issues, the people that would have been
    16   for this is MNK-T1_2250046.                     16   involved with the compliance side of the
    17            So, Mr. Rausch, I would like           17   program -- well, could you identify for the
    18   you to quickly review this PowerPoint and let   18   people -- for me the people on this team that
    19   me know when you -- when you're done.           19   would have been involved in the compliance
    20       A. Okay.                                    20   issues?
    21       Q. So this is a PowerPoint dated            21       A. Well, as far as customer
    22   June 5, 2008, and its entitled "Introductory    22   service would be myself and Cathy. Susan
    23   Training for Field Sales."                      23   Marlatt from the credit and collections
    24            Have you seen this PowerPoint          24   department, they would be involved in setting
    25   before?                                         25   up the customer and doing the credit
                                              Page 127                                             Page 129
     1       A. I believe I have.                         1   background checks on them.
     2       Q. Okay. Did you help prepare                2            Who else we got?
     3   this?                                            3            We all reported into -- well,
     4       A. No, it was prepared by Karen              4   not all. Cathy and myself reported into
     5   Harper, I believe.                               5   Michael Pheney.
     6       Q. Okay. But have you reviewed               6            Kimberly France, I don't
     7   this before?                                     7   remember her.
     8       A. I've seen it before.                      8       Q. And who was responsible for
     9       Q. And did you work with Karen               9   making sure that the program and the policies
    10   Harper on preparing this?                       10   complied with the DEA regulations and
    11       A. No, I don't believe so.                  11   applicable law?
    12       Q. So turning to page 3 of the              12       A. That would be Karen Harper.
    13   PowerPoint, it says, "Mallinckrodt's            13       Q. Okay. Now, there are team
    14   suspicious order procedure team."               14   advisors listed at the bottom of the page.
    15       A. Oh, okay.                                15       A. Right.
    16       Q. Do you see that page?                    16       Q. Do you know what role they
    17       A. Yes, I do.                               17   played?
    18       Q. Who is JoAnne Levy or Levy?              18       A. Their role was to enforce what
    19       A. JoAnne Levy is the -- was the            19   the order monitoring procedures became --
    20   VP of logistics.                                20   rolled out. They were at a higher level.
    21       Q. So did everyone else report up           21   This presentation was given and Jerry Moss
    22   to her?                                         22   was the vice president of sales for the bulk
    23       A. No. Bill -- let's see.                   23   division, and Jason Jones, I'm not sure, but
    24            Michael Pheney did. I did.             24   he was over one of the sales organizations.
    25   Cathy did. Bill Ratliff, I believe, did.        25   And same with Jeff Burd, he was marketing.
   Golkow Litigation Services                                                Page 33 (126 - 129)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further34Confidentiality
                                                         of 88. PageID #: 248628
                                                                             Review
                                              Page 130                                             Page 132
     1   Bob Lesnak was in sales over the methadone       1        Q. And did someone take notes at
     2   area, I believe, and then Eileen Spaulding,      2   those meetings?
     3   was -- again, she reported into Karen Harper.    3        A. I don't remember. I don't
     4       Q. And so you indicated that their           4   remember.
     5   role was to enforce what the monitoring          5        Q. Was there any type of secretary
     6   procedure.                                       6   for these meetings?
     7            So they -- did they help                7        A. No.
     8   develop them or -- sorry?                        8        Q. Did this team have any central
     9       A. Well, when I -- when you say              9   files?
    10   "enforce," to make sure that this was rolled    10        A. I don't remember.
    11   out to our salespeople.                         11             Most of the teams -- in this --
    12            And what happened here, what           12   I don't see -- let's see.
    13   occurred, was every year the sales force        13             Everybody was given assignments
    14   would get together for a week-long period of    14   on what was needed to be done and we work on
    15   time to go over different things that were      15   our assignments and meet on a frequent basis
    16   going on in sales and then something like       16   to see where we were as far as coming up with
    17   this would be rolled out by Karen during that   17   the new suspicious order reporting system.
    18   week --                                         18        Q. And who was the team leader?
    19       Q. Okay.                                    19        A. I believe it was Karen.
    20       A. -- just to instruct them on              20        Q. So she would have been the one
    21   what the new DEA regulations -- what the DEA    21   giving out assignments and making sure that
    22   regulations were, what we were doing as far     22   they were completed; is that correct?
    23   as developing a new program, what their role    23        A. Well, she wouldn't give out
    24   was expected of them in this program, and so    24   assignments. During the meeting, we would
    25   forth.                                          25   all talk about what we wanted to see, and
                                              Page 131                                             Page 133
     1       Q. And so the person that would              1   based upon what person was involved in that
     2   have been responsible for making sure that       2   particular area, they would go back and work
     3   the suspicious order monitoring program          3   on that.
     4   complied with the DEA requirements was Karen     4             Say for IT, we asked them to
     5   Harper?                                          5   take a look at -- "IT" meaning information
     6       A. She would be the -- yes.                  6   services or computer people, okay -- we would
     7       Q. And so she would have been the            7   ask them to see, you know, can this be
     8   one that spoke to the DEA about this program?    8   implemented into the system, so they would go
     9       A. She probably tried -- yeah, she           9   back and do their due diligence on whether
    10   would notify them, but the DEA did not say      10   that can be done.
    11   one way or the other whether they liked it or   11             Cathy and I would be -- would
    12   they didn't approve it or disapprove it.        12   take a look at, you know, what was possible
    13   They -- they stayed out of that.                13   on our end to get done.
    14       Q. Okay.                                    14             So everybody was given
    15       A. As far as I remember.                    15   assignments and then we would come back and
    16       Q. Now, did --                              16   talk about what we had come up with or done.
    17       A. They didn't recommend a program          17        Q. And so -- well, strike that.
    18   and didn't say whether -- or approve programs   18             Do you know when this team was
    19   as far as I know.                               19   first formed?
    20       Q. But if they had concerns, they           20        A. Not the exact time frame. This
    21   would let Mallinckrodt know, wouldn't they?     21   was probably June of 2008. Probably earlier
    22       A. Oh, yes. Yes.                            22   in that time frame since we kind of details
    23       Q. Did this team have team                  23   out a little bit what we're going to be
    24   meetings?                                       24   looking at. Probably early 2008, maybe late
    25       A. Yes.                                     25   2007.

   Golkow Litigation Services                                                Page 34 (130 - 133)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further35Confidentiality
                                                         of 88. PageID #: 248629
                                                                             Review
                                              Page 134                                            Page 136
     1        Q. And was this team in existence           1   good feel who our customers were. We dealt
     2   for your entire time between 2008 and 2013?      2   with them for years. And there wasn't that
     3        A. No, this was just to roll out            3   many distributors in that that were -- or
     4   our new order monitoring system. What --         4   drug manufacturers at that time. So we had a
     5   I -- I had control -- I had part of the          5   pretty good idea of what their order patterns
     6   suspicious order monitoring program until        6   were and that.
     7   fall of 2010. Then it was turned over to         7            And so if we felt something was
     8   another group.                                   8   unusual or whatever, we would bring that up
     9        Q. Okay.                                    9   to the business manager for the product
    10        A. As far as being the one that            10   and/or the salesperson.
    11   would follow up on peculiar orders and that.    11       Q. And when did you become -- when
    12        Q. And in fall of 2010, do you             12   did you -- when were you placed in charge of
    13   know who it was turned over to?                 13   the dosage products?
    14        A. Tiffany -- I don't see her name         14       A. 2008.
    15   here. I do not remember her last name.          15       Q. 2008.
    16        Q. And was she in a different              16            So --
    17   group?                                          17       A. Fall of 2008, I believe.
    18        A. She was.                                18       Q. So would have been after this
    19        Q. What group was she in?                  19   presentation, but --
    20        A. I believe chargebacks.                  20       A. Yes.
    21        Q. So if you turn to the next              21       Q. A couple months after?
    22   page, page 4, it says, "DEA policy on           22       A. Yes.
    23   suspicious orders."                             23       Q. And so with respect to this
    24        A. Okay.                                   24   bullet point and your responsibilities on the
    25        Q. And one of the bullet points            25   dosage side of Mallinckrodt's business, what
                                              Page 135                                            Page 137
     1   is, "Registrant is reminded that the             1   additional responsibilities did you have
     2   responsibility does not end merely with the      2   other than filing the suspicious order
     3   filing of suspicious order report."              3   report?
     4        A. Correct.                                 4       A. On the bulk side?
     5        Q. What does that mean to you?              5       Q. No, on the dosage side.
     6        A. That's referring to the report           6       A. Oh, at that time I did not have
     7   that we were sending on a monthly basis.         7   any responsibilities. I'm sorry.
     8        Q. And so what are your additional          8       Q. Well, this -- you've got a
     9   responsibilities other than filing -- well,      9   bullet point here that says, "Registrant is
    10   strike that.                                    10   reminded that their responsibility does not
    11            What are the responsibilities          11   end merely with the filing of suspicious
    12   you have after filing your suspicious order     12   order report."
    13   report?                                         13       A. This is Cathy -- this would be
    14        A. Well, not only after filing it,         14   Cathy Stewart's responsibility.
    15   but during the interim, remember this was a     15       Q. Understood.
    16   month-to-month report that we filed and it      16           But this requirement would also
    17   was at the end of the month. So during a        17   have applied to you when you took over the
    18   month our -- our responsibilities were to       18   dosage side of the business, correct?
    19   continue to look at the orders independent of   19       A. After our -- after our new
    20   a report to see if there was unusual order      20   reporting system was put in place.
    21   activity or -- or unusual orders being placed   21       Q. So what additional
    22   that were out of the norm for that particular   22   responsibilities -- after the new reporting
    23   customer.                                       23   system gets put in place --
    24            As I talked about earlier this         24       A. Okay.
    25   morning, on the bulk side, our CSRs had a       25       Q. -- what additional
   Golkow Litigation Services                                                Page 35 (134 - 137)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further36Confidentiality
                                                         of 88. PageID #: 248630
                                                                             Review
                                             Page 138                                             Page 140
     1   responsibilities did you have other than         1   of 2008 and the fall of 2009?
     2   filing the suspicious order report?              2       A. As I discussed, just our normal
     3        A. We no longer file that report.           3   DEA compliance with the 222 forms and that.
     4   Our new monitoring system took the place of      4   We were working on the process.
     5   that. The DEA didn't -- no longer wanted us      5            Other than the CSRs bringing up
     6   to send that report.                             6   a suspicious order based upon their
     7            So during the time period of            7   knowledge, we did not have a -- a suspicious
     8   2000 -- late 2008 and 2009, we worked on         8   order program in place at that time as we
     9   our -- and this is discussed in this             9   developed it.
    10   presentation -- this team that was put          10       Q. So in -- let's say we're
    11   together worked on coming up with a new         11   talking January of 2009 here.
    12   report.                                         12       A. Okay.
    13            My responsibilities after it           13       Q. A manufacturer -- I'm sorry, a
    14   was put in place was to receive the daily       14   distributor for the dosage products submits
    15   reports, peculiar order reports, that flagged   15   an order that is, say, more than two times
    16   the orders that were out of the log             16   what it requested the prior month, that would
    17   rhythms {sic} of the normal order patterning.   17   not have been flagged for further review or
    18   Okay.                                           18   investigation?
    19            And my job, which I think I            19       A. If the CSR noticed that it was
    20   kind of discussed earlier, was to -- the        20   a larger order than normal based upon past
    21   orders that were flagged was to then talk to    21   history, which we had on our computer, they
    22   the CSRs, the business managers, and the        22   would bring it to the attention of -- of the
    23   sales force that were involved with this        23   salesperson or the business manager for
    24   particular customer that we were selling to     24   approval to ship it.
    25   and trying to explain why the order pattern     25       Q. And was there a threshold that
                                             Page 139                                             Page 141
     1   was not being followed or why this was an        1   was being applied, or how was the CSR to know
     2   unusual or peculiar order.                       2   that this was an unusual, large order?
     3        Q. And so -- well, so when did              3       A. Just from past order history
     4   this enhanced SOM policy become effective?       4   that was on the sales -- on the computer.
     5        A. I believe it was in the fall             5       Q. And so any order that was
     6   of 2009 is when we put it in place. This was     6   larger than the past sales history, or did it
     7   after -- after months of working on what we      7   have to be larger by a certain amount?
     8   wanted to see in the report. This is after       8       A. There wasn't a formal program
     9   we tested -- put it in a test mode and ran it    9   in process. As this -- as this suspicious
    10   parallel with our order entry system to see     10   order thing points out, we were in the
    11   if there was anything kicking out that          11   process of coming up with a new program, so
    12   shouldn't been, and then we put it in what I    12   from that standpoint, we didn't have a -- a
    13   call live production.                           13   computer system that was doing it. It was
    14        Q. And so prior to 2009, what              14   just informal.
    15   policy and procedures were in place regarding   15       Q. So I just want to make sure I
    16   dosage products?                                16   understand the chronology here.
    17        A. So just our normal due                  17            So prior to 2008, for the
    18   diligence of the DEA requirements of making     18   dosage products, what was the formula that
    19   sure that we had the 222 forms prior to the     19   was applied to determine if there were -- if
    20   order being shipped. All orders were placed     20   an order was suspicious or not?
    21   on hold prior to that form being received.      21       A. Prior to 2008, to my -- best of
    22   So that was our policy.                         22   my knowledge, because I was in the bulk area,
    23        Q. And you -- did you have any             23   they were reporting the best -- or the same
    24   policy or process in place to identify          24   way that I was, which was a monthly report.
    25   suspicious dosage orders between the fall       25       Q. And that is they would look at

   Golkow Litigation Services                                                Page 36 (138 - 141)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further37Confidentiality
                                                         of 88. PageID #: 248631
                                                                             Review
                                             Page 142                                              Page 144
     1   the current month's report -- I'm sorry, they    1   had asked -- had asked you to discontinue
     2   would look at the current order and compare      2   sending them the report.
     3   it to the prior month?                           3            But did they also tell you that
     4        A. Rolling 12 months.                       4   you didn't need to look at that data anymore?
     5        Q. On a rolling 12-month basis.             5       A. I don't remember.
     6             And what was the threshold that        6       Q. But nevertheless, that -- that
     7   would trigger it being viewed as suspicious?     7   formula was discontinued, and until fall
     8        A. The average of that 12-month.            8   of 2009, nothing replaced it; is that
     9   Two times that.                                  9   correct?
    10        Q. Two times that.                         10            MR. TSAI: Object to the form.
    11             Okay. So prior to 2008, on the        11            THE WITNESS: That's correct.
    12   dosage -- sorry.                                12   QUESTIONS BY MR. KAWAMOTO:
    13        A. Let me -- let me qualify that.          13       Q. So between the fall of 2008 and
    14             I was not over that program at        14   the fall of 2009, your regulatory system
    15   the time. I was not in dosage, but I believe    15   was -- well, strike that.
    16   that's what they were using, but I can't say    16            Between the fall of 2008 and
    17   for sure. That question should be asked of      17   the fall of 2009, the only regulatory -- the
    18   Cathy Stewart.                                  18   only regulatory requirement that you had in
    19        Q. Understood.                             19   place to guard against diversion for dosage
    20             But to the best of your               20   products was the 222 forms?
    21   knowledge, prior to 2008, the formula that      21            MR. TSAI: Object to the form.
    22   was in place regarding dosage products was      22            THE WITNESS: You say -- when
    23   that you looked at the current order and        23       you say "only," it was the -- part of
    24   compared it to the 12-month rolling average,    24       the DEA requirement program that we
    25   and if that order was more than two times the   25       have 222 forms and quota forms
                                             Page 143                                              Page 145
     1   12-month rolling average, that would be          1      required that, and to make -- to say
     2   flagged as a peculiar order?                     2      "only" kind of, I think, minimizes
     3       A. I'm assuming that's what they             3      or -- is playing it down that it was
     4   were doing.                                      4      not an important part of the DEA
     5       Q. Okay.                                     5      regulations. We still had that
     6       A. That's what we did on the bulk            6      requirement.
     7   side.                                            7           And keep in mind, we were -- we
     8       Q. And then in 2000 -- late 2008,            8      were shipping to distributors who also
     9   when you assumed control of the dosage           9      had requirements on having programs in
    10   products --                                     10      place. We were not shipping to the --
    11       A. Uh-huh. After the -- after the           11      the end users. There was many layers
    12   program was -- the new --                       12      of other players in this -- in this --
    13       Q. After the program was --                 13      I shouldn't say players, but other
    14       A. Was put in place.                        14      people or companies that were involved
    15       Q. -- was put in place, but before          15      in the suspicious order process
    16   the new formula was developed, you didn't       16      besides Mallinckrodt.
    17   have a formula in place at all?                 17           So to say, yes, we did not have
    18       A. Correct.                                 18      a program in place at the time. The
    19       Q. So you just got rid of the --            19      DEA was well aware that we did not
    20   you no longer looked at the comparison          20      have a suspicious order program in
    21   between the current order and the 12-month      21      place. They asked us to put one in
    22   rolling -- the two month -- I'm sorry?          22      place, and we kept them informed --
    23       A. The DEA asked us to discontinue          23      and when I say "we," Karen Harper,
    24   sending them that letter.                       24      kept them informed -- on the progress
    25       Q. Well, I understand that the DEA          25      of developing the new program, and to
   Golkow Litigation Services                                                Page 37 (142 - 145)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further38Confidentiality
                                                         of 88. PageID #: 248632
                                                                             Review
                                             Page 146                                             Page 148
     1       my knowledge, they were fine with            1            MR. KAWAMOTO: Do you want to
     2       that.                                        2       come back at 1:15, 1:30?
     3   QUESTIONS BY MR. KAWAMOTO:                       3            MR. TSAI: Let's do 45 minutes.
     4       Q. But nevertheless, if you were             4       Is that okay?
     5   to compare January of 2008 with January          5            THE WITNESS: Good.
     6   of 2009, the regulatory requirements in          6            VIDEOGRAPHER: We're going off
     7   effect on January of 2009 would be less than     7       the record at 12:28 p.m.
     8   the regulatory effects in January of -- than     8        (Off the record at 12:28 p.m.)
     9   the regulatory requirements for January          9            VIDEOGRAPHER: We're back on
    10   of 2008, that's correct?                        10       the record at 1:19 p.m.
    11            MR. TSAI: Object to the form.          11   QUESTIONS BY MR. KAWAMOTO:
    12            THE WITNESS: I would have to           12       Q. So, Mr. Rausch, in terms of the
    13       agree, yes.                                 13   bulk product side of the business, in 2007,
    14   QUESTIONS BY MR. KAWAMOTO:                      14   were you aware that Purdue pleaded guilty
    15       Q. Okay. Why was it important to            15   with respect to its opioid business in
    16   have -- strike that.                            16   federal court?
    17            With respect to the                    17       A. No, I'm not.
    18   pre-enhanced SOM program, you know -- well,     18       Q. So were you aware that the
    19   strike that.                                    19   government was conducting an investigation
    20            Why did Mallinckrodt have this         20   into Purdue?
    21   12-month rolling -- this                        21       A. I don't remember that.
                                             in place?   22       Q. Okay. And you don't have any
    23   What was its purpose?                           23   knowledge or awareness or any recollection of
    24       A. The DEA asked us to report on a          24   the fact that, for example, the Purdue
    25   monthly basis to them suspicious orders, what   25   general counsel entered a guilty plea in
                                             Page 147                                             Page 149
     1   they called suspicious order, to develop a --    1   connection with that investigation?
     2   a program, which I described to you, and to      2        A. I don't have recollection of
     3   send that to them on a monthly basis.            3   that, no.
     4        Q. And this was in addition to the          4        Q. Now, in terms of screening your
     5   222 form requirement, correct?                   5   customers on the bulk side of the business,
     6        A. The quota form, yes.                     6   is that information that you would take --
     7        Q. Yes.                                     7   you would have wanted to take into account in
     8             So why -- what was the benefit         8   determining whether or not to ship your
     9   of this added regulatory requirement given       9   products to them?
    10   that you had the quota form in place?           10             MR. TSAI: Object to the form.
    11        A. I can't answer that. That's             11             THE WITNESS: I would say, yes,
    12   a -- that's a question that you would have to   12        probably, it would be. Yes.
    13   ask the DEA or Karen Harper.                    13   QUESTIONS BY MR. KAWAMOTO:
    14        Q. But you would agree that this           14        Q. Okay.
    15   was --                                          15        A. If they were -- if they were --
    16        A. This was what was asked of us.          16   was their license suspended; do you know?
    17   We came up with a formula, and I think you      17        Q. I don't believe there was a
    18   can even see the -- that we submitted to them   18   license suspension. I think it was a -- it
    19   and they approved as far as the monthly         19   was a criminal indictment relating to
    20   reporting basis, and that's what we went        20   their -- to aspects of their business.
    21   with.                                           21        A. Okay. Oh.
    22             MR. KAWAMOTO: Well, so it's           22             And what was your question,
    23        12:30 now, Rocky. Do you want to take      23   again?
    24        a break for lunch?                         24        Q. Well, is this information -- in
    25             MR. TSAI: That's okay.                25   terms of screening your customers -- well,

   Golkow Litigation Services                                                Page 38 (146 - 149)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further39Confidentiality
                                                         of 88. PageID #: 248633
                                                                             Review
                                              Page 150                                            Page 152
     1   strike that.                                     1   order monitoring, and it says, "Revision
     2            You would agree that it is              2   number draft 3, published 6/02/2008."
     3   important for Mallinckrodt to screen its         3       A. Okay.
     4   customers?                                       4       Q. So would this document have
     5       A. I agree.                                  5   been prepared in connection with the
     6       Q. And part of that screening                6   suspicious order monitoring team and your
     7   should involve taking into account, you know,    7   enhanced SOM?
     8   whether they have any regulatory violations,     8       A. Yes, it seems to be in the same
     9   whether there are any pending investigations,    9   time period that we were working on it.
    10   by the DOJ, the DOA or a state Attorney         10       Q. Okay. And do you know if this
    11   General; is that fair?                          11   document was ever finalized?
    12       A. We would continue to monitor             12       A. I don't remember.
    13   the orders that were being placed by them,      13       Q. Was there a written document
    14   and if Karen Harper informed us that we were    14   that memorialized Mallinckrodt's enhanced
    15   not supposed to ship it to them anymore, even   15   suspicious order monitoring program?
    16   though you mentioned that they did not have     16       A. I don't remember.
    17   their license suspended or whatever, I think    17       Q. So if I were to -- let's say in
    18   unless we were informed otherwise, we           18   2014, if I were to be hired by Mallinckrodt
    19   probably would continue our order processing,   19   to oversee its enhanced suspicious order
    20   monitoring as it was then.                      20   monitoring program with respect to dosage
    21       Q. So was the -- was the license            21   products and I were to ask to see what the
    22   suspension the only reason Mallinckrodt would   22   policy was, what would you -- what would you
    23   stop shipping products to a customer?           23   give to me?
    24       A. I'm trying to think if there's           24            MR. TSAI: Object to the form.
    25   other reasons that I can think of offhand.      25            THE WITNESS: In 2014?
                                              Page 151                                            Page 153
     1             If Karen wanted us to stop for         1   QUESTIONS BY MR. KAWAMOTO:
     2   whatever reason, other than license              2        Q. Yes.
     3   suspension, she would inform us to do so, and    3        A. I didn't work for the company
     4   I don't remember if she did or not.              4   in 2014.
     5        Q. And do you have any -- do you            5        Q. Well, fair enough.
     6   recall -- strike that.                           6            In 2013, if I'm coming in as
     7             Do you have any recollection of        7   your replacement --
     8   Karen asking you to stop shipment for someone    8        A. Right.
     9   for a reason other than a license suspension?    9        Q. -- to oversee the dosage
    10        A. I don't recall.                         10   products, and I ask -- and my responsibility
    11             (Mallinckrodt-Rausch Exhibit 6        11   is to oversee --
    12        marked for identification.)                12        A. Right.
    13   QUESTIONS BY MR. KAWAMOTO:                      13        Q. -- the enhanced suspicious
    14        Q. So I would like to mark this as         14   order monitoring program, what document would
    15   Exhibit 6.                                      15   you have provided to me?
    16             And it is -- it bears the Bates       16        A. Most likely it would have a
    17   number MNK-T1_419993. It's Exhibit 6.           17   document like this, because we did have -- we
    18             So, Mr. Rausch, have you seen         18   did have documents for how things work at
    19   this document before?                           19   customer service, and I am sure we had
    20        A. I don't remember it.                    20   something -- I would guess that we did have
    21        Q. Okay.                                   21   something in place similar to this on what
    22        A. That doesn't mean I didn't see          22   customer service would do as far as the
    23   it, but I don't remember it.                    23   procedure.
    24        Q. And this is a DEA compliance            24        Q. Okay. So turning to page 2 of
    25   procedure, controlled substance suspicious      25   this -- of this draft policy?

   Golkow Litigation Services                                                Page 39 (150 - 153)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further40Confidentiality
                                                         of 88. PageID #: 248634
                                                                             Review
                                              Page 154                                             Page 156
     1       A. Okay.                                     1       A. Correct.
     2       Q. Do you see the section entitled           2       Q. -- and presumably whether it
     3   "Credit Department"?                             3   would be able to pay any debts it owed to
     4       A. I do.                                     4   Mallinckrodt, correct?
     5       Q. And it says, "Performs Dun &              5       A. Correct.
     6   Bradstreet and/or other information checks on    6       Q. Would this have helped prevent
     7   new controlled substance customers to            7   diversion in any way?
     8   determine credit worthiness."                    8       A. No, I think this is -- this is
     9            Was this part of the enhanced           9   just a -- part of the credit department's
    10   SOM program for dosage products?                10   ongoing procedure.
    11       A. I'm not -- I'm not sure if it's          11             Like I said, it was probably
    12   part of the enhanced. I'm not sure what the     12   two and three of this credit department that
    13   credit department did prior to this period of   13   you have here that would be new to the
    14   time, but I know they did -- they did check     14   compliance, SOM, suspicious order.
    15   Dun & Bradstreet to -- prior to the new         15       Q. When you say "two or three,"
    16   program.                                        16   what do you mean?
    17            I would say the -- the part            17       A. Sentences two or three under
    18   about referring the new customer account to     18   the credit department.
    19   the director of DEA compliance would be new,    19       Q. Okay. So just so I'm clear,
    20   and the conducts periodic checks for existing   20   Dun & Bradstreet was not related to diversion
    21   accounts would also be new.                     21   control?
    22       Q. And I guess in terms of sort of          22       A. No, that was always a -- a
    23   overall what I'm trying to accomplish, I'm      23   check that they did prior to -- to putting in
    24   trying to understand whether or not these       24   a new customer.
    25   components made it into the final version of    25       Q. Okay. And so Section 2 is --
                                              Page 155                                             Page 157
     1   the enhanced SOM program.                        1   refers to the new account customer DEA
     2            So with respect to the enhanced         2   compliance of the new account has no
     3   SOM program or the final version, would the      3   historical or financial information available
     4   credit department have performed a Dun &         4   or if the data shows liens, lawsuits or other
     5   Bradstreet --                                    5   information which might raise suspicions to
     6       A. Yes.                                      6   the legitimacy of the new account company.
     7       Q. -- check?                                 7            And how does that help
     8       A. Yes.                                      8   prevent -- or how does that assist in
     9       Q. Okay.                                     9   diversion control?
    10       A. I didn't work in that                    10       A. Well, again, you're speaking
    11   department, but I'm sure that that was part     11   about an area that I was not part of, okay,
    12   of their -- their process going forward.        12   so I can't answer that question. That's a
    13       Q. And what was the purpose of              13   credit department question.
    14   performing that review or asking Dun &          14       Q. And so the credit -- well, you
    15   Bradstreet to perform that review?              15   indicated that part of your responsibilities
    16       A. It would just give them a                16   was you identified -- part of your
    17   history of -- credit history of sales and       17   responsibilities under the enhanced SOM
    18   that type of thing, if they had, you know,      18   program is that you would identify peculiar
    19   any debt or had gone bankrupt or that type of   19   orders or they would be identified to you on
    20   thing. I'm not speaking as a credit person,     20   a report; is that fair?
    21   but I think that's what that was part of it.    21       A. That's correct.
    22       Q. So this would have addressed             22       Q. And then you would then take
    23   the concern -- I mean, the concern that         23   that order and interact with various people
    24   Mallinckrodt had about the financial solvency   24   in the sales department to determine if there
    25   of the institution --                           25   was a basis for that order; is that correct?
   Golkow Litigation Services                                                Page 40 (154 - 157)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further41Confidentiality
                                                         of 88. PageID #: 248635
                                                                             Review
                                              Page 158                                              Page 160
     1       A. Correct.                                  1   the on-site visit and the photographs were?
     2       Q. Did you ever interact with the            2        A. The reason for that is take a
     3   credit department to determine if there was a    3   look at the physical property itself to see
     4   basis for the order?                             4   if it looked like a legitimate business.
     5       A. This is referring to new                  5   They didn't want it to be running out of
     6   customer accounts, okay. So the order would      6   somebody's house or whatever, so it had to be
     7   never -- there would never be an order placed    7   like, you know, physically have to look like
     8   unless the credit department established them    8   there's a company that you would want to sell
     9   as a -- as a new customer. Okay. So that         9   to and not being run out of back -- back of a
    10   would be preliminary work to me ever            10   hotel or something like that.
    11   receiving an order.                             11             So this information was passed
    12       Q. And was there any effort made            12   on to the DEA director, I believe, is --
    13   to update this information?                     13   yeah, it's security.
    14       A. There was a yearly -- there was          14        Q. And your -- this requirement
    15   a yearly form that was sent out by the credit   15   applies to Mallinckrodt's customers, correct?
    16   department from what I can remember, that       16        A. Yes.
    17   they had to -- it was a checklist that they     17        Q. Would it be your expectation
    18   had to fill out and send back to the credit     18   that the distributors would be doing
    19   department to keep their account current, and   19   something similar for their customers?
    20   it had questions concerning the compliance      20        A. I -- I can't answer that.
    21   that we were doing for the suspicious order     21        Q. From a standpoint of diversion
    22   monitoring program.                             22   control, do you think it would be important
    23            This wasn't something new that         23   for a distributor to do this?
    24   was developed. I can't speak to what was all    24             MS. YOCUM: Objection. Form.
    25   involved, but there was a yearly report or      25             THE WITNESS: I can't speculate
                                              Page 159                                              Page 161
     1   checklist that was sent out to the customer      1       on what they -- what we -- they would
     2   and they had to fill it out and send it back     2       feel is important.
     3   to them to keep them current as the customer.    3            Everybody had their own
     4        Q. Okay. And this was -- this was           4       program, okay. We didn't have any
     5   all being -- this was being done in              5       guidelines from the DEA on what our
     6   connection with --                               6       program should look like.
     7        A. Our enhanced reporting system            7            So as far as what the other
     8   and suspicious order reporting.                  8       companies or distributors did as far
     9        Q. Okay. But credit didn't have             9       as their program, I don't -- I can't
    10   any role in reviewing individual orders?        10       answer that.
    11        A. No.                                     11   QUESTIONS BY MR. KAWAMOTO:
    12        Q. Okay. Now, the next section is          12       Q. Well, I understand that you --
    13   on field sales.                                 13   sorry.
    14             And by "field sales," I assume        14       A. Well, to answer that, you're
    15   we're referring to the -- the salespeople in    15   asking me would I feel that that would be
    16   the field?                                      16   something that they would want to do?
    17        A. Correct.                                17       Q. Yes.
    18        Q. Okay. It says, "Completes site          18       A. I would say yes.
    19   survey checklist for new controlled substance   19       Q. Now, for the customer service
    20   customers," and then "conducts an on-site       20   representatives, they break this up into bulk
    21   visit, including taking photographs inside      21   narcotics and dosage customer service reps.
    22   and out for review by security director and     22            Do you see that?
    23   DEA compliance manager."                        23       A. I do.
    24        A. Uh-huh.                                 24       Q. And so you would have been
    25        Q. Do you know what the purpose of         25   responsible for the dosage customer service
   Golkow Litigation Services                                                Page 41 (158 - 161)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further42Confidentiality
                                                         of 88. PageID #: 248636
                                                                             Review
                                              Page 162                                            Page 164
     1   representative section; is that fair?            1   it says, "Need clarification."
     2       A. At that time, I was -- fall               2             And again, this -- it does say
     3   of 2008.                                         3   draft, so this is a working document that was
     4       Q. Okay.                                     4   not the final document.
     5       A. So kind of in a transit year,             5        Q. And so -- and that's part of
     6   but eventually, yes, I become manager --         6   why I'm asking these questions. I want to
     7   manager over the dosage area.                    7   see if these -- if these responsibilities
     8       Q. Okay. And on the top of --                8   were transferred or were put into the final
     9   well, at the bottom of page 2 of 5 and going     9   policy.
    10   on to page 3 of 5, do you see, "Dosage          10        A. Okay.
    11   customer service representatives will perform   11        Q. But the first one is, "Verify
    12   the following activities"?                      12   that the customer has a valid DEA
    13       A. I'm sorry, which one am I                13   registration certificate."
    14   supposed to be looking at?                      14             I assume that was part of the
    15       Q. At the bottom of page 2 of 5.            15   final policy?
    16   So at the bottom of 41994. Under "Dosage        16        A. Yes.
    17   Customer Service Representatives."              17        Q. Okay. Then it also says,
    18       A. Okay. Page 3?                            18   "Ensure that the customer has provided a
    19       Q. Yes.                                     19   properly executed DEA 222 form for C-I and
    20       A. Okay.                                    20   C-II substances."
    21       Q. No, I'm sorry, page 2 of 5.              21        A. Correct.
    22       A. Okay. Under the "bulk"                   22        Q. Was that part of the final
    23   section?                                        23   policy?
    24       Q. Under the "dosage." So beneath           24        A. Yes.
    25   "bulk."                                         25        Q. Okay.
                                              Page 163                                            Page 165
     1       A. Okay. This is page 2.                     1       A. That was part of our policy
     2       Q. Uh-huh.                                   2   before the -- this program, but, yes, go
     3       A. And this is page 3.                       3   ahead.
     4       Q. So page 2 would be this section           4       Q. And then it also says, "Flag
     5   right here.                                      5   orders that deviate from the norms in terms
     6       A. Oh, okay. Under --                        6   of quantity order, frequency of order and/or
     7       Q. So it says, "Dosage customer              7   pattern of normal order placement. CSRs will
     8   service representatives."                        8   evaluate the circumstances of the order.
     9       A. Okay. Okay.                               9   This evaluation should be based on their
    10       Q. Okay. And it has -- it lists             10   knowledge of the specific customer and the
    11   various requirements that start on page 2 and   11   industry in which the customer operates, and
    12   follow on to page 3.                            12   should the circumstances deviate from the
    13            Do you see that?                       13   norm, upon completion of the order, place
    14       A. I do.                                    14   same on hold and notify security and customer
    15            I didn't -- I haven't read it          15   service manager."
    16   yet, though.                                    16       A. Okay.
    17       Q. Okay.                                    17       Q. Do you see that?
    18       A. Do you want me to read it?               18       A. Yes.
    19       Q. Yes, please.                             19       Q. Was that part of the final
    20       A. Okay.                                    20   policy?
    21            This looks like a working              21       A. That was part of our ongoing
    22   document from what I can see, because I can     22   policy. Okay.
    23   see there's some -- there's some questions      23           So as I talked while we were --
    24   here where it says, "Dosage customer service    24   before where we were discussing what was --
    25   will perform the following activities," and     25   what took place, why we're developing our

   Golkow Litigation Services                                                Page 42 (162 - 165)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further43Confidentiality
                                                         of 88. PageID #: 248637
                                                                             Review
                                             Page 166                                              Page 168
     1   final policy, this is the type of thing --       1      A.      I think there were five.
     2   type of thing I was talking about where the      2      Q.      So you have five CSRs.
     3   CSR was, you know, knew the customer best and    3      A.      Right.
     4   was to keep us informed if they saw something    4            And they were -- they were
     5   that was being ordered that was different        5   responsible for particular customers.
     6   from normal.                                     6       Q. Okay. And the CSRs were part
     7        Q. And how was the CSR to                   7   of the sales team, were they not?
     8   determine whether something was different        8       A. No. They reported into
     9   from normal?                                     9   logistics.
    10        A. Just from their knowledge of            10       Q. Yeah.
    11   the customer, like I discussed earlier. Now,    11            And so how were the CSRs
    12   if they --                                      12   compensated?
    13        Q. I'm sorry. Go ahead.                    13       A. They weren't under the bonus
    14        A. Yeah, because this is referring         14   program. They just had a salary.
    15   not -- this is -- okay. This is -- we're        15       Q. So they didn't have a bonus
    16   looking at bulk here. Dosage is over here.      16   program; it was just a salary?
    17            Yeah, "This evaluation should          17       A. Yes.
    18   be based on their knowledge of the specific     18       Q. Okay. And in terms of the
    19   customer and the industry in which the          19   factors that a CSR was to consider in
    20   customer operates, and should the               20   determining whether an order was peculiar,
    21   circumstances deviate from the norm, upon       21   was there a list of factors?
    22   completion of the order, place same on hold     22       A. I'm sorry, say that again.
    23   and notify security," which would be Karen      23       Q. Let me rephrase that question.
    24   Harper's group, "and customer service           24            So as I understand it, the CSR
    25   manager."                                       25   had the ability to flag an order that he or
                                             Page 167                                              Page 169
     1       Q. And so was this --                        1   she believed was peculiar or unusual; is that
     2       A. That was in place while we were           2   fair?
     3   developing our program, and also as -- as we     3        A. For that customer, yes.
     4   went on, our program would kick out these        4        Q. Okay. And in terms of
     5   orders, so the CSRs still had the chance, as     5   assessing whether an order was peculiar or
     6   they were placing the order, to say, "Hey,       6   unusual, was there a set of -- was there a
     7   something's wrong here," and bring it to the     7   written standard that they were supposed to
     8   attention of the customer service manager or     8   apply or a set of factors they were supposed
     9   the DEA compliance officer, but we also had      9   to look to?
    10   our program in place that would flag orders     10        A. Just past order history for
    11   that were considered peculiar.                  11   that customer, and then they would talk to --
    12       Q. And that program in place to             12   bring it to my attention or to the business
    13   flag orders, that was what was activated in     13   manager and ask them if they knew why this
    14   the fall of 2009?                               14   particular order was different from what
    15       A. That's correct.                          15   their normal order pattern was, and then
    16       Q. So with respect to the ability           16   if -- go ahead.
    17   of the CSR to identify orders that they think   17        Q. And in terms of past order
    18   are peculiar, were there standards they were    18   history, what we're talking about is just
    19   supposed to apply in that respect?              19   looking at whatever -- whatever they had --
    20       A. Just -- just orders that                 20   whatever they had ordered previously?
    21   were -- seemed out of place to them.            21        A. Correct.
    22       Q. Okay.                                    22        Q. And was there any threshold
    23       A. As far as I remember.                    23   that was applied in terms of, you know, an
    24       Q. And how many different CSRs did          24   order X percentage above the prior history
    25   you have?                                       25   would be viewed as peculiar, or was it really
   Golkow Litigation Services                                                Page 43 (166 - 169)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further44Confidentiality
                                                         of 88. PageID #: 248638
                                                                             Review
                                              Page 170                                             Page 172
     1   left up to the CSR?                              1   by the DEA?
     2        A. I don't remember, to be honest           2       A. If they did -- and I don't want
     3   with you, what -- what we gave them as           3   to say I remember that any particular one
     4   parameters, whether it was an X factor or if     4   was, but I believe that there was, but I
     5   it's just based upon their -- their knowledge    5   couldn't tell you who it was, and if it was
     6   and the order history during this time period    6   the DEA would notify us and then we would no
     7   while we were developing our suspicious order    7   longer sell to them. But I can't say yes or
     8   program.                                         8   no for sure that there was a -- a distributor
     9        Q. And did you have any program in          9   who was -- had their license suspended.
    10   place to audit the CSRs to make sure that       10       Q. Well, based on your -- your
    11   they were -- they were accurately picking up    11   reading or your viewing of news reports, are
    12   on suspicious orders?                           12   you aware of distributors that appear to have
    13        A. Not that I remember.                    13   been abusing the system?
    14        Q. Were CSRs evaluated on their            14       A. In 2008?
    15   ability to properly identify suspicious         15       Q. Well, in 2008 up till 2017.
    16   orders?                                         16       A. I think there was, yes.
    17        A. Were they evaluated?                    17       Q. Okay. And, you know, is it
    18        Q. Well, let me -- let me rephrase         18   fair to say that these distributors were not
    19   that question.                                  19   properly applying whatever standards they
    20             The CSRs were subject to an           20   were supposed to prevent diversion?
    21   annual review process, correct?                 21            MS. YOCUM: Objection. Form.
    22        A. That's correct.                         22   QUESTIONS BY MR. KAWAMOTO:
    23        Q. Was part of this annual review          23       Q. So you can answer.
    24   process a review of, you know, whether they     24       A. Oh, okay.
    25   accurately identified suspicious orders?        25            That's -- that's speculation on
                                              Page 171                                             Page 173
     1            MR. TSAI: Object to the form.           1   my point. I don't know.
     2            THE WITNESS: Not that I                 2        Q. Was it consistent with your
     3        remember.                                   3   understanding of Mallinckrodt's
     4   QUESTIONS BY MR. KAWAMOTO:                       4   responsibilities with respect to the DEA
     5        Q. So do you have any way of                5   rules and regulations that Mallinckrodt could
     6   ascertaining whether or not the CSRs             6   rely on the distributors to do their job to
     7   successfully identified suspicious orders?       7   stop diversion, or were you independently
     8        A. Well, I just -- I just want to           8   responsible for preventing suspicious orders?
     9   point out not only were our customer service     9        A. I believe that we were
    10   reps and Mallinckrodt responsible for           10   responsible for monitoring our customers and
    11   identifying suspicious orders, but also the     11   that's what we were working on at the time.
    12   people that we sold to, which were the          12        Q. And so if your customers were
    13   distributors, and the distributors to the       13   improperly distributing Mallinckrodt
    14   pharmacies all were responsible for doing       14   products, then these Mallinckrodt products
    15   this.                                           15   would contribute to the diversion crisis,
    16            So as far as diversion and that        16   wouldn't they?
    17   type of thing, there was -- there was a long    17             MR. TSAI: Object to the form.
    18   list of people in between us and the customer   18             MS. YOCUM: Object to the form.
    19   or the end user.                                19             THE WITNESS: That's possible.
    20        Q. Mallinckrodt had a number of            20   QUESTIONS BY MR. KAWAMOTO:
    21   different distributors that it did business     21        Q. Well, it's more than possible;
    22   with, correct?                                  22   it's likely, sir, isn't it?
    23        A. That's correct.                         23             MR. TSAI: Object to the form.
    24        Q. Do you know if any of these             24             THE WITNESS: If you say so.
    25   distributors ever had their licenses revoked    25


   Golkow Litigation Services                                                Page 44 (170 - 173)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further45Confidentiality
                                                         of 88. PageID #: 248639
                                                                             Review
                                              Page 174                                             Page 176
     1   QUESTIONS BY MR. KAWAMOTO:                       1   customer service representatives about
     2        Q. So going back to this document,          2   questionable customers?
     3   I think it's Exhibit 6 --                        3        A. I don't remember.
     4        A. Exhibit 6?                               4        Q. And so during the five years
     5        Q. Yes.                                     5   that you were the customer service manager
     6            We were looking at page --              6   for dosage products, you don't recall ever
     7        A. Okay.                                    7   receiving a customer service report
     8        Q. -- 3 of 5.                               8   recommending that an account not be set up;
     9        A. Uh-huh.                                  9   is that fair?
    10        Q. In terms of -- there's a                10        A. I don't remember, yes.
    11   paragraph here that says, "If the dosage        11             I don't know if that was part
    12   customer service representatives are            12   of the final -- how a draft the final -- this
    13   contacted by a new customer asking that a       13   is the draft. I don't know if that was the
    14   account be set up and the interview process     14   final product or not.
    15   yields questionable results, the CSR will       15        Q. Okay. So going down to the
    16   obtain the following information from the       16   next section, which is "Customer Service
    17   customer and forward that information in an     17   Manager."
    18   e-mail to the director of security as well as   18        A. Uh-huh.
    19   the customer service manager."                  19        Q. It says -- well, actually, can
    20            Do you see that?                       20   you review that section?
    21        A. I do.                                   21        A. Okay.
    22        Q. And was that part of the                22        Q. So it references a peculiar
    23   enhanced SOM program?                           23   order daily report.
    24        A. I believe so.                           24             Was this part of the enhanced
    25        Q. And do you recall this ever             25   SOM program?
                                              Page 175                                             Page 177
     1   occurring?                                       1        A. It was proposed. I don't think
     2        A. Again, if -- this was a working          2   it ever went into effect.
     3   document, and if -- this probably would have     3        Q. Okay. So did you -- did you
     4   went to the director of security, and if he      4   ultimately receive a report of suspicious
     5   felt that we should not set them up, we          5   orders?
     6   probably would not.                              6        A. Yes. In August when we
     7        Q. Okay. But do you recall any              7   finalized --
     8   instances where the director of security         8        Q. Finalized the program?
     9   declined to set up an account because of         9        A. -- the program, yes.
    10   concerns about the interview process?           10        Q. In what way was that report
    11        A. No. I don't recall that.                11   different than the peculiar order daily
    12        Q. And this -- this -- this                12   report that's described here?
    13   paragraph references both the director of the   13        A. There was more information that
    14   security as well as the customer service        14   was used for determining whether an order was
    15   manager.                                        15   peculiar than what is outlined here.
    16        A. Right.                                  16        Q. Okay. And what was the
    17        Q. Do you see that?                        17   additional information that was used?
    18        A. Uh-huh.                                 18        A. Yeah, like I mentioned before,
    19        Q. And that would have been you            19   it's got unusual large, unusual frequency and
    20   for dosage products in the 2008 to 2013 time    20   our deviation quantity to establish order
    21   period?                                         21   pattern.
    22        A. Going forward, it would have            22             From what I remember, it also
    23   been me.                                        23   looked at that -- that family that I talked
    24        Q. Okay. Do you recall ever                24   about where if they ordered 50 pills, as you
    25   receiving reports from the customers -- from    25   described it, and now they ordered 100 pills,

   Golkow Litigation Services                                                Page 45 (174 - 177)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further46Confidentiality
                                                         of 88. PageID #: 248640
                                                                             Review
                                              Page 178                                             Page 180
     1   it would look -- would be looking at the         1   that.
     2   total, not just that particular SKU. So that     2            What is the concern you have
     3   was added into it.                               3   with respect to looking at a SKU that is
     4             And I believe there's some             4   fixed if you look at the API?
     5   other factors that would -- that were put        5            That's what I'm trying to
     6   into the -- into the program other than it       6   understand.
     7   was just outlined here.                          7        A. Okay. So if you had 5 --
     8        Q. Okay. And going back to the              8   5 milligrams in a tablet and -- one tablet
     9   family point that you had.                       9   and you had 10 milligrams in another tablet,
    10        A. Uh-huh.                                 10   you would want to look at the total for that
    11        Q. Is this a difference between            11   particular -- the API of that particular
    12   looking at orders on a SKU basis versus an      12   product. Okay.
    13   API basis? Is that one way to think of this?    13            So if a customer ordered
    14        A. Yeah. Yes.                              14   10 milligrams of that family, say
    15        Q. And so what is an API?                  15   hydrocodone, and then decided, "Well, I
    16        A. Well, API is an active                  16   ordered too many of those, I'm going to order
    17   pharmaceutical ingredient.                      17   5 milligrams of that active ingredient" -- to
    18        Q. And what is --                          18   keep from the orders looking like they were
    19        A. Essentially what that is is             19   heavy, they could order one and one, one and
    20   that API is the active ingredient in a -- in    20   one, and it wouldn't trigger the two times or
    21   a -- let's use a tablet, for instance. To       21   whatever of the suspicious order program.
    22   make a tablet, you can't just make it from      22   It's a way around the infrequent -- not
    23   the active ingredient. There's other            23   infrequent, but, you know, twice the amount
    24   chemicals that have to be added to it so it     24   of a particular order.
    25   can be pressed into a tablet. Okay. That        25            Follow me?
                                              Page 179                                             Page 181
     1   had no chemical or no -- how do I want to say    1            Did I explain that well enough
     2   it? It did nothing for the patient, okay,        2   for you?
     3   that had nothing to do with it. It was just      3        Q. Well, I'm still trying to
     4   how to format a pill or that. So that would      4   understand this. I guess let me -- let me
     5   be the inactive ingredients in a tablet.         5   ask it this way then.
     6            Does that make sense?                   6        A. All right.
     7       Q. I believe I understand.                   7        Q. What is -- what is the problem
     8            I guess -- well, let me ask you         8   by just looking at the prior order history on
     9   this.                                            9   a SKU basis? What -- if you were to do that,
    10       A. So let me better explain it.             10   what are you missing?
    11       Q. Okay.                                    11        A. On a SKU basis?
    12       A. Okay. We made -- say we wanted           12        Q. Yes.
    13   to make hydrocodone, okay. That was the         13        A. Okay.
    14   active ingredient in the tablet.                14        Q. How could you game the system
    15            To that, we would add compac,          15   if it was based on a SKU basis as opposed to
    16   which is acetaminophen that was compressible.   16   the API basis?
    17   Okay. So those two would be added together,     17        A. Okay. If I ordered, let's say,
    18   and they would be put in pill presses and       18   on a SKU basis, a hundred tablets of this one
    19   make the product, the end product.              19   SKU, okay, then another SKU of the same
    20            But the inactive ingredient had        20   product, okay, had a different number of
    21   no benefit to the -- or could -- did not have   21   tablets. Okay. If I ordered a hundred and
    22   any drug ingredient in it.                      22   then I went over to the other one and I
    23       Q. And so what is the -- what is            23   ordered a hundred of that, okay, it would get
    24   the diversion benefit of looking at the API     24   under that -- that frequency of, say, if I
    25   as opposed to the SKU? Or let me rephrase       25   ordered twice as many as normal of the
   Golkow Litigation Services                                                Page 46 (178 - 181)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further47Confidentiality
                                                         of 88. PageID #: 248641
                                                                             Review
                                             Page 182                                               Page 184
     1   hundred.                                         1   list was entirely dependent on the DEA
     2        Q. Okay.                                    2   saying, "Don't ship to this person"; is that
     3        A. Or twice as many of the 50. So           3   fair?
     4   if I split it up and ordered one and one,        4         A. Yes.
     5   okay, it wouldn't hit that threshold, okay.      5             Well, no. That we determine as
     6   They're ordering twice as many of the            6   part of the program of suspicious activity.
     7   hundreds as they normally do, if they bounce     7             So if we had found a customer
     8   back and forth.                                  8   that was a suspicious order, we had said was
     9             Does that make sense?                  9   a suspicious order, and we could not verify
    10        Q. Okay. I think I understand.             10   that it was a good order, then there was
    11             And would it solve this problem       11   flags in the system created that would flag
    12   if you were to look at it on a SKU-by-SKU       12   that customer that we could not accept one of
    13   basis or --                                     13   their -- their orders. That was part -- that
    14        A. I don't understand your                 14   was part of the new program.
    15   question, to solve this problem.                15         Q. And so --
    16        Q. Actually, I'll withdraw that            16         A. Along with what the DEA sent
    17   question. I think I understand what you're      17   out.
    18   getting at.                                     18         Q. So just so I understand, there
    19             Okay. And so other than               19   are two ways to get on this list: One of
    20   looking at essentially -- well, strike that.    20   them would be the DEA would put them on the
    21             So with respect to the peculiar       21   list.
    22   order report that you were receiving, in        22         A. Right.
    23   addition to the information regarding size,     23         Q. The other way would be
    24   frequency and order pattern, it also took       24   Mallinckrodt would independently determine
    25   into account the family of drugs, I guess, or   25   based on the orders they're submitting that
                                             Page 183                                               Page 185
     1   they looked at things on an API basis.           1   they -- that they are -- you know, their
     2        A. Right.                                   2   orders are problematic or that there are
     3        Q. Were there other factors as              3   diversion concerns --
     4   well?                                            4        A. Yes.
     5        A. There were, but I don't                  5        Q. -- and put them on this list.
     6   remember all of them.                            6        A. Yes.
     7        Q. Now, do you see the reference            7        Q. Okay. Who maintained this
     8   to a do-not-ship list?                           8   list?
     9        A. Yes.                                     9        A. It was maintained in our order
    10        Q. Was that part of the enhanced           10   entry system, and customer service -- or -- I
    11   SOM program?                                    11   believe that customer service was in charge
    12        A. Yes. What would -- well, it             12   of that, if it ever occurred.
    13   was an ongoing -- I mean, Karen Harper would    13        Q. Okay. Do you recall how many
    14   get a report from the DEA of -- of customers    14   entities were put on this list in the 2008
    15   or other than customers that were potential     15   through 2013 time period?
    16   customers from the DEA that we were not to be   16        A. We did not have any suspicious
    17   shipping to any -- it's kind of a warning       17   orders at that time, during that time period.
    18   list, do not ship to these customers or         18        Q. So is it fair to say then that
    19   whatever.                                       19   no one was on this do-not-ship list?
    20             And then what we would do is          20        A. Through the monitoring program.
    21   flag -- if it was an existing customer, we      21        Q. Okay. So the only entities
    22   would flag that customer so that we could not   22   that were put on this list then were from
    23   accept any orders into the system for that      23   DEA?
    24   customer.                                       24        A. At that time, yes.
    25        Q. So this -- this do-not-ship             25        Q. Then do you see at the very
   Golkow Litigation Services                                                Page 47 (182 - 185)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further48Confidentiality
                                                         of 88. PageID #: 248642
                                                                             Review
                                              Page 186                                                   Page 188
     1   bottom of the page --                            1   taking the current order and comparing it to
     2        A. Proposed preliminary dosage.             2   the rolling 12-month --
     3        Q. Yeah, proposed preliminary               3       A. Right.
     4   dosage formula, and then it follows on the       4       Q. I'll strike that.
     5   following page as to what that formula is.       5            It was taking the current -- it
     6        A. And that's what I was trying to          6   was taking the current order and comparing it
     7   explain to you where it says add purchase        7   to the rolling 12-month average times            ; is
     8   quantities by product, all oxy products and      8   that accurate?
     9   again by individual SKUs. Okay. So it's          9       A. Correct. Uh-huh.
    10   looking at the -- the API also.                 10       Q. And so this new formula was
    11             Okay.                                 11   comparing the current order to a rolling
    12        Q. And so --                               12   12-month average times          , isn't that the
    13        A. It's pretty detailed.                   13   factor for -- if there's a factor that
    14        Q. So does this -- is this formula         14   says -- it says factor Schedule II controlled
    15   an accurate depiction of the formula that was   15   substances?
    16   applied to dosage products for the 2008         16       A. Well, that -- that along with
    17   through 2013 time period?                       17   some other things that are also here.
    18        A. Not 2008. I think this was              18   Customers will multiply -- with multiple
    19   in --                                           19   ship-to locations should have their total
    20        Q. Sorry, my apologies.                    20   aggregated at the sold-to level but also
    21        A. 2000 --                                 21   reviewed at the ship-to level. Okay.
    22        Q. From fall of 2009 until 2013,           22            So it was not only looking at
    23   is this the formula that was applied to         23   the individual -- it was looking at just not
    24   dosage products?                                24   the individual distributors, but it was
    25        A. I believe that's -- again, this         25   looking at the total that that distributor
                                              Page 187                                                   Page 189
     1   was a work-in-progress draft, but I believe      1   was purchasing.
     2   that this was part of that end product.          2             Had customer months for every
     3        Q. So looking at the end                    3   record used in the above total month within
     4   program --                                       4   the last -- customer center. Went down to
     5        A. Uh-huh.                                  5   zero.
     6        Q. -- what was the formula applied          6             So okay. It's just writing --
     7   to dosage products from fall of 2009             7   this is just writing out the formula of how
     8   through 2013? Can you tell me --                 8   it should be done.
     9        A. What was the formula?                    9             So you take that information,
    10        Q. Yes, what was the formula.              10   you divide the total quantity purchased by
    11        A. Well, it's written out here             11   total customer months, then multiply -- okay,
    12   exactly what the formula consisted of.          12   I'm sorry, what was your -- what were you
    13        Q. So for --                               13   going to say?
    14        A. It's pretty complicated, so for         14        Q. Well, looking -- I'm trying to
    15   me to verbally tell you, I don't know if I --   15   understand the difference between the
    16   if I could describe it well enough.             16   pre-2007 formula, which was for dosage
    17        Q. Well --                                 17   products a rolling 12-month average times
    18        A. It looked --                            18        --
    19        Q. Sorry.                                  19        A. Okay.
    20        A. It looked at order quantity --          20        Q. -- and the formula under the
    21   there was just a number of them that I don't    21   enhanced SOM program.
    22   remember all the formula. I couldn't spell      22        A. Okay. This is one part of the
    23   it out -- spiel it out for you anymore.         23   formula -- this is a formula right here of
    24        Q. Well, if we look at the                 24   what it should look like. It also looked at
    25   pre-2007 formula, it was looking at -- it was   25   your regular order patterns, okay. It looked
   Golkow Litigation Services                                                   Page 48 (186 - 189)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further49Confidentiality
                                                         of 88. PageID #: 248643
                                                                             Review
                                              Page 190                                             Page 192
     1   at, like I said, at the family, or the API,      1             Another example is if it was,
     2   which we didn't look at pre-2009. The            2   say, they hadn't ordered for two or three
     3   pre-2009 just looked at the order by double,     3   months and then all of a sudden we received a
     4   okay.                                            4   large order from a customer, that would be
     5             So I think I've said three             5   considered an irregular order pattern. Okay.
     6   things already that the other -- that the        6   That would kick out on this report.
     7   original report that we sent to the DEA on a     7             Again, I -- I talk about the
     8   monthly basis did not have.                      8   API. If their total API for an order was
     9             And I don't think this is the          9   greater than whatever the criteria was for
    10   final version. It had even more.                10   that, it would kick out.
    11        Q. And in terms of how this                11             Those were reasons for the
    12   formula was -- well, strike that.               12   order to kick out on the report.
    13             How was this formula applied to       13       Q. And where -- was this formula
    14   Mallinckrodt orders?                            14   written down somewhere?
    15        A. Okay. So this was -- this was           15       A. I believe what we put into the
    16   put in in our order entry system, and on a --   16   computer was probably written down somewhere.
    17   on a daily basis all orders were compared to    17   I don't remember exactly.
    18   the log rhythms {sic} that we had set in        18             This was given to our
    19   place for our customers and orders.             19   information services people that were on the
    20             If there was anything that did        20   team and it was put into their systems, so it
    21   not fit the normal order pattern or what we     21   was probably -- it was documented by them.
    22   would consider the normal order pattern based   22       Q. Okay. And did you work with
    23   upon our guidelines and what we had put in      23   anyone in particular in the information
    24   place, it would flag that order and a report    24   services team?
    25   would print out that I looked at on a daily     25       A. I believe it was on the --
                                              Page 191                                             Page 193
     1   basis.                                           1   let's see.
     2            And it would show me the orders         2             I don't see any of the people
     3   that had been flagged as peculiar. And as        3   listed from IS on this team that -- this
     4   discussed earlier, I would take -- is that       4   report here, but there were -- I don't -- I
     5   what you're looking for?                         5   don't remember the people's names that were
     6       Q. Yes.                                      6   from -- I remember Steve, but I don't
     7       A. Okay.                                     7   remember his last name.
     8       Q. And how would it -- how                   8             So they were -- they were part
     9   would -- how would the program tell whether      9   of the team and they were brought in when we
    10   an order did not fit the normal order           10   came -- came to a point where we were ready
    11   pattern?                                        11   to give them some -- give them information
    12       A. Based upon these formulas that           12   that we wanted implemented into the computer
    13   were put into the system.                       13   system, and we would have to write up a
    14       Q. But what -- I mean, what                 14   document spelling out exactly what it was
    15   specifically was this formula supposed to       15   that we wanted to be put into the system.
    16   take into account? What specifically was the    16        Q. And did you write up this
    17   formula looking for in determining what a       17   document, or did someone else write it?
    18   normal order pattern was and what a deviation   18        A. Someone else wrote it up. I
    19   from that was?                                  19   don't remember who exactly.
    20       A. If it was -- if it didn't meet           20        Q. Do you -- and you don't recall
    21   the criteria of the formulas that -- that we    21   who?
    22   had put in place as far as -- for example,      22        A. No.
    23   twice the orders in a rolling 12-month          23        Q. Okay. And what -- you
    24   period, it would kick out. That's just one      24   referenced an IS computer system.
    25   example. Okay.                                  25             Did that system have a name?

   Golkow Litigation Services                                                Page 49 (190 - 193)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further50Confidentiality
                                                         of 88. PageID #: 248644
                                                                             Review
                                              Page 194                                             Page 196
     1       A. That -- that would be our order           1   implementation, testing and so forth.
     2   entry system.                                    2        Q. And do you recall a memo ever
     3       Q. So the order entry system, was            3   being drafted that would lay out this
     4   that the JD Edwards system?                      4   algorithm and how it worked, or was it just
     5       A. Yes.                                      5   computer code that was put into the computer
     6       Q. And so as part of the computer            6   program?
     7   code in this JD Edwards system, you would        7        A. There was probably a document.
     8   have this formula that got applied to all of     8   I don't know -- I don't remember where the
     9   the orders?                                      9   document -- if -- who had it, but the
    10       A. That's correct.                          10   document had to be developed to give to IT.
    11       Q. Okay. And so if an order                 11   They had a -- they had a form that had to be
    12   wasn't flagged by application of this           12   filled out and submitted to them for
    13   algorithm, that order didn't get examined or    13   evaluation and coding and amount of resources
    14   looked at; is that correct?                     14   needed and time needed to do the
    15       A. That's correct.                          15   implementation.
    16       Q. Okay. So if your -- if your              16        Q. And do you recall -- did this
    17   algorithm was faulty or had a gap or was        17   form have a name?
    18   missing something, then, you know,              18        A. I don't recall.
    19   potentially orders that were problematic        19            (Mallinckrodt-Rausch Exhibit 7
    20   could get through; is that fair?                20        marked for identification.)
    21            MR. TSAI: Objection.                   21   QUESTIONS BY MR. KAWAMOTO:
    22            THE WITNESS: That's a                  22        Q. Okay. So I would like to mark
    23       possibility.                                23   as Exhibit 7 another document. It bears a
    24   QUESTIONS BY MR. KAWAMOTO:                      24   Bates number MNK-T1_477900.
    25       Q. In other words, your suspicious          25            So if you could take a minute
                                              Page 195                                             Page 197
     1   order -- your enhanced suspicious order          1   to review this document and let me know when
     2   monitoring program was, you know, only as        2   you're done.
     3   good or as bad as this algorithm was; is that    3            And I have -- I mean, it's a
     4   fair?                                            4   relatively lengthy document, so I have, you
     5       A. That would be --                          5   know, specific questions relating to certain
     6            MR. TSAI: Object as to form.            6   portions of it.
     7   QUESTIONS BY MR. KAWAMOTO:                       7       A. Do you want me to read all of
     8       Q. And who was -- other than you,            8   it?
     9   who helped develop this algorithm?               9       Q. No.
    10       A. Everybody on the team was --             10            Have you read the first half?
    11   had input on what they felt, and that was       11       A. Yes, I've --
    12   part of the -- the team that was put together   12       Q. Okay.
    13   to work on what we felt should be in the --     13       A. -- scanned through it, yes.
    14   in the order entry -- what we should put in     14       Q. So have you ever seen this
    15   the order entry system or this suspicious       15   document before?
    16   order program.                                  16       A. I don't remember it.
    17            So Cathy Stewart, Sue Marlatt          17       Q. Okay. Now, is my understanding
    18   was probably involved in it, myself, Karen      18   correct that this document is, to some
    19   Harper, and, like I said, IT would probably     19   extent, a chronology or a timeline of the
    20   have -- would have had somebody in there at     20   development of the enhanced suspicious order
    21   the point where we would need them as far as    21   monitoring program?
    22   advising us what was possible.                  22       A. It looks like it, yes.
    23            And then we would write up the         23       Q. Okay. And at the very top it
    24   document that we wanted to have put into the    24   says, "Activities 08/2008 through 08/2010."
    25   system and submit that to IT for                25            Do you see that?

   Golkow Litigation Services                                                Page 50 (194 - 197)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further51Confidentiality
                                                         of 88. PageID #: 248645
                                                                             Review
                                              Page 198                                             Page 200
     1        A. Yes.                                     1        A. The IS department, I would say,
     2        Q. Okay. And the suspicious --              2   would have that.
     3   the enhanced suspicious order monitoring         3        Q. Okay. Okay. So directing your
     4   program with its revised algorithm launched      4   attention to page 2 of this timeline.
     5   in the fall of 2009; is that correct?            5        A. Okay.
     6        A. Correct.                                 6        Q. Do you see there's an entry
     7        Q. Okay.                                    7   involving you, it's 03/02/2009?
     8        A. Oh, Robyn McHale was the person          8        A. Okay.
     9   that -- from IT that worked on it. She was a     9        Q. And it says, "Jim Rausch
    10   freelance IT person.                            10   continues work with IS to define the criteria
    11             You know what that is, right?         11   of what would be a peculiar order and how to
    12        Q. Actually, I don't. I'm sorry.           12   determine programmatic flags for detection."
    13        A. Okay. It's a person that                13            Is that accurate?
    14   worked independently for themselves and then    14        A. Yes.
    15   we would hire them to do work for us.           15            Let me explain this. I was --
    16        Q. Essentially like a consultant;          16   at the time I was fairly new to dosage, and
    17   is that fair?                                   17   Cathy was fairly new to bulk, so she was
    18        A. Yeah, that would be a name for          18   working with the dosage log rhythms {sic} and
    19   it.                                             19   I was working on the bulk, because she had
    20        Q. And did she have a -- did she           20   more experience on the dosage side.
    21   have a Mallinckrodt e-mail, a Mallinckrodt      21        Q. And then it says, "CSR
    22   account?                                        22   managers," that would have been you and
    23        A. At that time she probably did,          23   Cathy?
    24   but I don't know if she still works with        24        A. Where are we at?
    25   Mallinckrodt or not.                            25        Q. The entry below that?
                                              Page 199                                             Page 201
     1       Q. Do you know if she had an                 1       A. Oh.
     2   office at Mallinckrodt?                          2       Q. "The CSR managers begin review
     3       A. She had a cubicle, yes. I                 3   of customer segmentation categories within
     4   believe she did. Either -- at times she          4   the order entry system to determine if
     5   worked from her home, too, but -- I think she    5   separate algorithms to define peculiar order
     6   did, but I don't remember anymore.               6   patterns will be necessary based on a class
     7       Q. Okay. And she would have been             7   of trade."
     8   the person --                                    8       A. Correct.
     9       A. She was one of the people that            9       Q. Do you know what the final
    10   I remember from IS that was working on          10   determination of that was?
    11   implementing this into the JD Edwards system.   11       A. That we probably would have
    12       Q. And so she would likely have             12   separate needs depending on our customers.
    13   the document that set out what the exact        13       Q. So this means that you would
    14   algorithm was?                                  14   have separate algorithms depending on the
    15       A. She could be, but I would say            15   class of customer?
    16   that would -- probably since she was a          16       A. What it means is based upon our
    17   consultant, she would not be the person that    17   business needs, okay. What we did for dosage
    18   would -- that would have it now. It would       18   may be different from what we do for bulk as
    19   probably reside with somebody in IT that        19   far as what we implemented.
    20   actually worked for Mallinckrodt.               20       Q. Okay. But within the dosage
    21       Q. Okay. And that person would              21   algorithm --
    22   likely have the -- not only the enhanced        22       A. Yeah.
    23   suspicious order monitoring algorithm as of     23       Q. -- it was not further
    24   2009, but all the variations of it up until     24   subdivided into different classes of
    25   present; is that correct?                       25   customers?

   Golkow Litigation Services                                                Page 51 (198 - 201)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further52Confidentiality
                                                         of 88. PageID #: 248646
                                                                             Review
                                             Page 202                                             Page 204
     1       A. No.                                      1       through the top e-mail, can we take a
     2       Q. So you had one -- you had                2       break?
     3   one -- for dosage products, you had one         3            MR. KAWAMOTO: Sure.
     4   algorithm that was applied to wholesalers,      4            THE WITNESS: Okay. So this
     5   distributors, retail pharmacies?                5       was an e-mail -- or this was what I
     6       A. Correct.                                 6       believe -- oh, okay. It is from
     7       Q. The same algorithm?                      7       Cathy.
     8       A. If I remember. Again, I didn't           8            Cathy, like I said, was working
     9   develop, but I believe so.                      9       on the formulas for the dosage
    10       Q. Okay. And then do you see               10       business, and I think this was --
    11   6/29/2009, it says, "Revised customer          11       somebody says -- this doesn't make
    12   questionnaires are submitted to legal that     12       sense.
    13   have been updated based upon CSR focus group   13            E-mails from Cathy. I'm
    14   meetings Jim Rausch and Cathy Stewart          14       getting confused.
    15   conducted with CSRs"?                          15            I'm not sure if that's Karen
    16       A. Yes, I see that. Okay.                  16       that's saying that, but --
    17       Q. What is that in reference to?           17   QUESTIONS BY MR. KAWAMOTO:
    18       A. It was a questionnaire that I           18       Q. Well, the top line says, "work
    19   think we worked on, but I'm not sure if we     19   continues with IS on algorithms, e-mail
    20   ever did -- what it composed of. I don't       20   follows from Cathy Stewart."
    21   remember it.                                   21       A. Right.
    22       Q. And so are you not sure whether         22       Q. And it -- that seems to
    23   it was ultimately ever sent out?               23   indicate that Cathy Stewart is saying --
    24       A. Correct. I'm not sure what we           24       A. Okay. Cathy Stewart sent an
    25   did with that.                                 25   e-mail to Robyn. "I'm sorry to ask this
                                             Page 203                                             Page 205
     1       Q. And it says, "CSR focus group            1   again, but my notes -- aren't very clear.
     2   meetings."                                      2   This is a correct ship to report classes on
     3           What -- do you recall what the          3   this report is for total quantity."
     4   focus group meetings were?                      4            I think she was reviewing
     5       A. No, I don't.                             5   with -- what Robyn had presented to her and
     6       Q. Okay. Now, it says 7/2009,               6   Cathy was just questioning if that's what she
     7   "CDIG begin sending out SM customer             7   had asked for or not.
     8   questionnaires."                                8       Q. Okay. And then -- well, do you
     9           What is "CDIG"?                         9   see the paragraph in the middle of the page
    10       A. Customer data integrity group.          10   that starts with, "This was -- this was we
    11       Q. And you don't know whether they         11   can see that this customer"?
    12   sent out revised questionnaires or the old     12            Do you see that?
    13   questionnaires?                                13       A. Uh-huh.
    14       A. No, you would have to ask               14       Q. And then it's below the -- what
    15   somebody in that group.                        15   appears to be both months and, I guess,
    16       Q. Okay. Now, do you see at the            16   hypothetical orders.
    17   top of page 3 it says, "Work continues with    17            Do you see that?
    18   IS on algorithms."                             18       A. Yes.
    19       A. Uh-huh.                                 19       Q. Okay. So what -- what is
    20       Q. "E-mail follows from Cathy              20   Cathy's concern?
    21   Stewart."                                      21       A. I'm not sure. You would have
    22       A. Right.                                  22   to ask Cathy about that.
    23       Q. And can you review that e-mail          23       Q. Okay.
    24   for me?                                        24       A. From -- this was -- okay. I
    25           MR. TSAI: Dean, after we go            25   think her -- what she was saying that
   Golkow Litigation Services                                               Page 52 (202 - 205)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further53Confidentiality
                                                         of 88. PageID #: 248647
                                                                             Review
                                              Page 206                                            Page 208
     1   their -- their gradual increase of orders        1       Q. But -- but you're not aware
     2   rather than jumping from 100 to 200 would        2   of -- you're not aware of what fix, if any,
     3   trigger the 2 X formula versus if they           3   was applied to address this concern?
     4   gradually increase from 100 to 125 to 150 to     4       A. No.
     5   175 would not trigger that -- that to kick       5            MR. KAWAMOTO: Okay. So why
     6   out.                                             6       don't we take a break now.
     7        Q. In other words, it would be              7            VIDEOGRAPHER: We're going off
     8   possible over time to actually have a            8       the record at 2:35 p.m.
     9   significant increase in the monthly order        9        (Off the record at 2:35 p.m.)
    10   that wouldn't be triggered by the algorithm;    10            VIDEOGRAPHER: We are back on
    11   is that fair?                                   11       the record at 2:51 p.m.
    12        A. Right. And I think that's what          12   QUESTIONS BY MR. KAWAMOTO:
    13   Cathy is pointing out --                        13       Q. So if we could return to the
    14        Q. Okay.                                   14   document that you were just looking at, I
    15        A. -- is that they could get               15   believe it is Exhibit 7.
    16   around it that way. So we were trying to        16       A. Okay.
    17   work on a system that everything that we        17       Q. Okay?
    18   possibly could think of of getting around       18            Now, you had -- we were
    19   placing an order that we didn't feel it was     19   discussing the gradual increase in orders
    20   legitimate, we were trying to think of          20   over time, and you had indicated that's
    21   everything possible.                            21   something that Cathy Stewart would be
    22        Q. And so how was this concern             22   knowledgeable about in the dosage area.
    23   addressed?                                      23       A. That's correct.
    24        A. I don't remember. I think it            24       Q. With respect to the bulk area,
    25   was addressed, but I don't remember exactly     25   which was your area of expertise, wouldn't
                                              Page 207                                            Page 209
     1   how.                                             1   that same problem also apply?
     2       Q. Okay. And so it was possible              2        A. Yeah, the same problem could
     3   that it -- was it possible that it wasn't        3   apply, yes.
     4   addressed?                                       4        Q. And so how was that addressed
     5       A. I think you would have to talk            5   in the bulk context?
     6   to Cathy about that.                             6        A. I don't remember, but I'm
     7       Q. Okay. Do you know --                      7   sure -- is it in here? We would have put
     8       A. Like I said, she was working on           8   something in based upon the bulk side also.
     9   the dosage log rhythms {sic} and I was           9   I don't remember exactly what it was.
    10   working on the bulk because that's what we      10        Q. Well, how -- how would one fix
    11   were familiar with.                             11   this problem?
    12       Q. Do you know if anyone else               12        A. How would one fix this problem?
    13   raised a similar concern, namely that you       13        Q. Yes. I mean, hypothetically,
    14   could have gradual increases that over time     14   how would you fix a problem? I mean, if you
    15   result in a significant increase that           15   have a numeric formula that's based on
    16   wouldn't be caught?                             16   looking at a current order and then comparing
    17       A. If anybody else --                       17   it to sort of prior order history, I mean,
    18       Q. Yeah, do you know if this                18   how would you -- how would you modify the
    19   concern was raised by anyone else?              19   formula to address that problem?
    20       A. I'm not sure. It could have              20        A. It would probably be based upon
    21   been. I mean, the team working on this was      21   an average versus looking at -- and I'm just
    22   looking at all possibilities. They're trying    22   guessing at this point because I don't
    23   to think of what they could do, somebody -- a   23   remember anymore. I'll just leave it at
    24   customer could do to try and get around the     24   that: I don't remember anymore how we
    25   system.                                         25   addressed it.
   Golkow Litigation Services                                                Page 53 (206 - 209)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further54Confidentiality
                                                         of 88. PageID #: 248648
                                                                             Review
                                              Page 210                                              Page 212
     1       Q. But mathematically speaking,               1            Do you see that?
     2   what -- I mean, what would you do? Because,       2       A. Uh-huh.
     3   I mean, you're already basing that formula on     3       Q. So how long was the peculiar
     4   an average, aren't you?                           4   order report that you ultimately ended up
     5       A. Correct. Average period of                 5   reviewing after the program went live in fall
     6   time of ordering.                                 6   of 2009?
     7       Q. Yes.                                       7       A. It varied from day to day. On
     8       A. Yes.                                       8   an average, I would say it's less than
     9            So if they went from 100 to 150          9   probably -- probably 10 or 15.
    10   to 175 to 200 over a period of time, I guess     10       Q. And that's 10 or 15 pages?
    11   you would try to divide that and come up with    11       A. Yes.
    12   an average. And if it went two times over        12       Q. And how many orders would be on
    13   that average, it might kick it out that way.     13   that report?
    14       Q. Well, I mean, isn't the only              14       A. Maybe five or so orders on a
    15   way to decrease the        times -- so instead   15   page.
    16   of looking at two times, you would look at,      16       Q. So anywhere from 25 to 50
    17   for example,       ?                             17   orders; is that fair?
    18       A. That's one approach. I'm not              18       A. It could be on a day, daily
    19   sure if that's the only approach.                19   basis.
    20       Q. Well, what -- what -- what is             20       Q. And who was responsible for
    21   the other approach that you're --                21   investigating and determining whether there
    22       A. I think -- that's what I was              22   was a valid business -- well, strike that.
    23   just talking about. If you looked at the         23            What did you do with those 25
    24   average of, say, 125, 150, 175, 200, which is    24   or 50 orders that would show up on your
    25   a general increase, if you took that average     25   report on a daily basis?
                                              Page 211                                              Page 213
     1   and say it was 150, if the orders were two        1       A. I would review them to see if
     2   times that 150, then it would kick it out.        2   there's anything that I saw that would kick
     3   That's one way of doing it.                       3   that order out, because it would give us
     4            Or you could do it like you              4   different histories of that particular
     5   said and make it      or      or or --            5   customer and what they ordered and that type
     6   there's probably a number of ways of doing it     6   of thing. And if I could see something that
     7   besides that, but I don't remember what we        7   would validate the order that was flagged, I
     8   landed on.                                        8   would let the order go.
     9       Q. And in terms of the average,               9             If I couldn't validate it, then
    10   though, you would -- so you would -- you         10   I would go to the CSRs like I explained
    11   would try to shorten the average period --       11   earlier, the process, CSR, business manager,
    12   I'm just trying to understand how modifying      12   sales rep, and try to get this explained.
    13   the average --                                   13       Q. And were you doing all 25 to 50
    14       A. I understand what you're --               14   orders, or was someone else also doing orders
    15   what you're asking, but I don't remember what    15   for you?
    16   we did.                                          16       A. I was doing it.
    17       Q. Okay. And to be clear, you're             17       Q. So you were the only one
    18   not even sure that this problem was              18   essentially doing it?
    19   addressed, are you?                              19       A. Reviewing that.
    20       A. I don't remember.                         20             And it could -- it could have
    21       Q. So turning to page 4, at the              21   been less. I don't remember particularly.
    22   very top it says, "Work continues with IS        22   It could have been five. I don't know, five
    23   peculiar order report being generated based      23   to ten, if that many.
    24   upon algorithm settings that's 49 pages          24       Q. And roughly how long did it
    25   long."                                           25   take you? What's your -- well, strike that.
   Golkow Litigation Services                                                 Page 54 (210 - 213)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further55Confidentiality
                                                         of 88. PageID #: 248649
                                                                             Review
                                              Page 214                                             Page 216
     1            What's your recollection as to          1   primary in the morning and the afternoon --
     2   how long it took you?                            2       A. Right. That's when the reports
     3        A. A couple hours a day.                    3   came out.
     4            And that didn't entail -- if            4       Q. Okay. And so did they come out
     5   I couldn't -- if I couldn't come up with a       5   twice daily?
     6   solution of bringing it to the business          6       A. I believe they did, yes.
     7   manager or to the sales rep, we tried to get     7       Q. And if this was primary for the
     8   it resolved as soon as possible, hopefully by    8   morning and this was primary for the
     9   the -- the end of the day, if possible. If       9   afternoon --
    10   not, it may take a day or two to be resolved,   10       A. It took up a good bit of my
    11   depending on where the sales person was or      11   time.
    12   where the business manager -- if I couldn't     12       Q. Yes.
    13   get ahold of them right away. But those were    13           When did you have time to get
    14   not that many orders.                           14   your other work done?
    15        Q. And so what's the maximum that          15           MR. TSAI: Object to the form.
    16   you could review, the maximum number of         16           THE WITNESS: Could you be more
    17   orders that you could review at any day?        17       specific?
    18        A. The maximum that I could                18   QUESTIONS BY MR. KAWAMOTO:
    19   review?                                         19       Q. Sure.
    20        Q. Well, I mean, would it be               20           If this was your primary task
    21   possible for you to review 200 orders?          21   in the morning and your primary task in the
    22            MR. TSAI: Object to the form.          22   afternoon -- I mean, the working day is
    23            THE WITNESS: No, but to answer         23   generally just divided into morning and
    24        your -- to answer that, I would say        24   afternoon --
    25        there was not the case where I was         25       A. Right.
                                              Page 215                                             Page 217
     1       being asked to -- or seeing 200 orders       1        Q. -- so --
     2       on a daily basis.                            2        A. Yeah, we're talking an hour or
     3   QUESTIONS BY MR. KAWAMOTO:                       3   so in the morning and an hour or so in the
     4       Q. Was there anyone else at the              4   afternoon of reviewing these orders.
     5   company other than you that could review         5        Q. And so do you see the entry,
     6   these orders?                                    6   that 10/27/09, "peculiar order report being
     7       A. Yes. As I mentioned before,               7   generated based on algorithm is 150 dosage
     8   the customer service rep that sat in for me      8   orders per day and 170 bulk API orders per
     9   when I was not there.                            9   day"?
    10       Q. But as a general matter, it was          10        A. I see that.
    11   just you reviewing these orders?                11        Q. Okay. Would it have been
    12       A. Correct.                                 12   possible for you to review 150 dosage orders
    13       Q. And did you have other job               13   per day?
    14   responsibilities in addition to reviewing       14        A. No, it would not.
    15   these orders?                                   15             Now, keep in mind this was
    16       A. Yes.                                     16   based upon the working document, or what we
    17       Q. What were they?                          17   were looking at as far as suspicious order
    18       A. I oversaw the customer service           18   monitoring program based upon different
    19   group. I had a pretty -- pretty senior          19   criteria.
    20   group, so just solving problems or questions    20             Now, as we went along, there
    21   that they may have, meeting with other people   21   was some things that were not working that
    22   on other business on a daily basis. But this    22   created this problem of having so many. That
    23   was -- this was primary in the morning and      23   had nothing to do with what we wanted to look
    24   the afternoon.                                  24   at, but it was put into the system.
    25       Q. Well, it was -- if it was                25             And I think you can say there

   Golkow Litigation Services                                                Page 55 (214 - 217)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further56Confidentiality
                                                         of 88. PageID #: 248650
                                                                             Review
                                             Page 218                                             Page 220
     1   was some statistical problems that needed to    1       A. Uh-huh.
     2   be fine-tuned. So it was kicking out orders     2       Q. -- when you have it -- when you
     3   that shouldn't have been kicked out.            3   have it turned on, it is kicking out, you
     4             And this was an IS -- this was        4   know, some amount of orders. Or I guess to
     5   an IS issue.                                    5   put it more accurately, it's flagging a
     6        Q. And what is your basis for              6   certain amount of orders as peculiar; is that
     7   saying that it was kicking out orders that      7   correct?
     8   shouldn't have been kicked out?                 8       A. Correct.
     9             Well, let me rephrase that.           9       Q. And then when you remove this,
    10   What are examples of orders that were being    10   when you turn it off, those orders are no
    11   kicked out that shouldn't have been?           11   longer flagged as peculiar; is that right?
    12        A. Well, right here, I don't              12       A. Correct.
    13   remember exactly what this was about, where    13       Q. Was any analysis ever done to,
    14   it says, "The 30-day cumulative algorithm is   14   you know, verify or confirm that those orders
    15   turned off because that specific trigger was   15   were in fact not peculiar?
    16   not spelled out in HDMA guidance and has       16       A. I don't remember.
    17   inflated the peculiar order count."            17       Q. If that analysis were done, who
    18             So that's one instance where it      18   would have it?
    19   was inflating the number of orders that we     19       A. I'm not sure who would have it
    20   were looking at.                               20   at this time.
    21        Q. And what is the 30-day                 21       Q. Now, as a practical matter, you
    22   cumulative algorithm? Do you know what that    22   can't review 150 orders per day, correct?
    23   is?                                            23       A. That would be difficult.
    24        A. I don't remember.                      24       Q. And so if you had a program
    25        Q. Now, from this entry, it               25   that were -- that was identifying 150 orders,
                                             Page 219                                             Page 221
     1   indicates that the 30-day cumulative            1   just as a matter of resources, you would have
     2   algorithm was not spelled out in HDMA           2   to tweak that; isn't that correct?
     3   guidance. But that's not the same thing as      3        A. And I think that's what this is
     4   saying that this algorithm wasn't going to      4   showing here, is we were tweaking things that
     5   provide valuable information on peculiar        5   we felt that we could tweak without losing
     6   orders, is it?                                  6   focus of what we intended to do.
     7             MR. TSAI: Object to the form.         7            And again, we weren't given any
     8             THE WITNESS: No, I don't think        8   guidance on what it should be doing, but we
     9       it's saying that. I'm not sure what         9   felt we still had a pretty robust system, and
    10       it's saying there.                         10   just 150 orders were not within our -- our --
    11   QUESTIONS BY MR. KAWAMOTO:                     11   able to do that at that time. So we felt by
    12       Q. Okay. Was there any analysis            12   changing this we could still maintain a
    13   done on the impact of removing the 30-day      13   robust system.
    14   cumulative algorithm with respect to the       14        Q. But part of what you were
    15   orders that were no longer being kicked out?   15   looking at in terms of designing this system
    16       A. Well, as I had mentioned                16   was its ability to function given the
    17   earlier, you know, what we did was we -- we    17   resources that were assigned to it; is that
    18   test ran this and massaged it as it went       18   fair?
    19   along to see if it was doing the job we        19        A. I'm not sure if that's fair.
    20   wanted it to do as far as looking at the       20   We felt we -- we still felt with our end
    21   orders based upon what we felt was needed,     21   product that we had a good product, and with
    22   and it was adjusted as we went along. So       22   the resources that we had that we could
    23   that's all I can -- all I can remember.        23   manage it.
    24       Q. So with respect to this 30-day          24        Q. Well, with respect to, for
    25   cumulative algorithm --                        25   example, this 30-day cumulative algorithm, no

   Golkow Litigation Services                                               Page 56 (218 - 221)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further57Confidentiality
                                                         of 88. PageID #: 248651
                                                                             Review
                                                 Page 222                                              Page 224
     1   one ever went back and actually reviewed the        1   that would have been kicked out under the
     2   orders that were no longer being kicked out         2   times that were not kicked out under
     3   because the algorithm was turned off?               3   times; is that correct?
     4       A. I didn't say that. I said I                  4       A. That's true.
     5   don't remember if somebody did or not.              5       Q. Was there ever a trial run or
     6       Q. Do you feel that analysis                    6   an analysis done to confirm that those orders
     7   should have been done before turning it off?        7   were not in fact peculiar?
     8       A. It probably should have and                  8       A. On the ones that didn't kick
     9   probably was; I just don't remember.                9   out?
    10       Q. And you don't know who would                10       Q. Yes, on the ones that were no
    11   have done that analysis or how it would have       11   longer kicked out because of this
    12   been memorialized?                                 12   programmatic change.
    13       A. No, I don't.                                13       A. I don't remember. I don't know
    14       Q. Then do you see down it says --             14   if we did or not.
    15   the entry is 4/30/2010?                            15       Q. Okay. But you believe that is
    16       A. Yes.                                        16   an analysis that should have been done; is
    17       Q. It says, "Peculiar order                    17   that correct?
    18   calculation change from       times factor to      18       A. We probably did it, yes, but I
    19         times factor."                               19   don't remember exactly who did it or when it
    20       A. Okay.                                       20   was done.
    21       Q. Is that consistent with your                21       Q. Now, one of the things about
    22   recollection of how the algorithm was              22   increasing the factor from         times to
    23   modified?                                          23   times is that it does -- it does -- well,
    24       A. Yes.                                        24   strike that.
    25       Q. Okay. What was the basis for                25            Do you recall Ms. Stewart's
                                                 Page 223                                              Page 225
     1   changing it from       times to       times?        1   concern about a gradual -- gradual increases
     2        A. This -- the system had been                 2   that was referenced on page 3 of this
     3   implemented already. I believe it was the           3   document?
     4   fall of 2009, right?                                4        A. Yes, I remember. Yes.
     5        Q. I believe that's what you said.             5        Q. Okay. So when you go from a
     6        A. Yeah.                                       6        times to a        times factor, that is
     7            So after months of working with            7   going to increase that concern or that risk,
     8   it and not finding any peculiar orders became       8   isn't it?
     9   suspicious orders, we felt pretty -- pretty         9        A. I -- yes.
    10   good about changing the number from          to    10        Q. Okay. And so in this regard,
    11        So that's what we did.                        11   with respect to this risk, meaning a gradual
    12            And we ran that -- I ran that             12   increase over time, this calculation is now
    13   by Karen Harper, and Karen Harper agreed to        13   less protective than it would have been if it
    14   that based upon us not having any suspicious       14   were two times?
    15   orders, and we put that in place.                  15        A. That's -- that's true. But
    16        Q. And -- well, why          times            16   keep in mind, we were not -- we were not
    17   instead of      times or times?                    17   the -- selling to the end user in that. Not
    18        A. That's the number that we came             18   only were we -- we weren't -- we were selling
    19   up with.                                           19   this material to the distributors and -- who
    20        Q. And so sort of going back to a             20   had their own programs in place, and they
    21   previous question that I've asked.                 21   were also responsible for reviewing the
    22        A. Uh-huh.                                    22   orders and customers that they were selling
    23        Q. With respect to the change from            23   to.
    24         times to      times, you know,               24             So we felt even with the
    25   presumably there are now orders that are --        25   where we weren't finding any issues with
   Golkow Litigation Services                                                   Page 57 (222 - 225)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further58Confidentiality
                                                         of 88. PageID #: 248652
                                                                             Review
                                                  Page 226                                              Page 228
     1   orders that we couldn't explain, and we -- we         1   attention to page 7 of this memo, you see at
     2   changed our process to the          and continued     2   the very bottom of the page it says, "Action
     3   to monitor. And we changed it to          , and we    3   plan"?
     4   still didn't have any peculiar orders that            4       A. Okay.
     5   became suspicious orders.                             5       Q. And in the middle of that
     6        Q. Well, by --                                   6   paragraph at the very bottom it says, "The
     7        A. But we felt comfortable in                    7   team believes the suspicious order monitoring
     8   doing this at the time.                               8   program can be further enhanced by analyzing
     9        Q. By changing the formula from                  9   chargeback data for indirect customers and
    10         to                                             10   direct sales information available within
    11        A. Right. And we discussed that,                11   existing systems."
    12   yes.                                                 12            Do you see that?
    13        Q. Yes.                                         13       A. I do.
    14            And it would -- it would -- I               14       Q. Do you know if the suspicious
    15   mean, well, one of the effects is that it            15   order monitoring program was ever modified to
    16   decreased the number of orders you were              16   take -- to analyze chargeback data?
    17   reviewing, yes?                                      17       A. Yes, it was. As part of our
    18        A. That's true.                                 18   ongoing enhancement program for the
    19        Q. Do you recall how much of a                  19   suspicious order program, it was identified
    20   decrease this was?                                   20   that the chargeback system could help us in
    21        A. I don't -- I don't remember.                 21   identifying who the distributors were selling
    22        Q. Now, you indicated in your                   22   to. So eventually in 2010, this was -- the
    23   prior answer that -- well, strike that.              23   monitoring of suspicious orders were moved
    24            Is it fair to say that part of              24   over to the chargeback team.
    25   the reason Mallinckrodt was comfortable              25       Q. And do you recall when in 2010
                                                  Page 227                                              Page 229
     1   making this change from           to    is            1   this occurred?
     2   because, as you indicated, the distributors           2       A. Fall of 2010.
     3   have their own programs for suspicious                3       Q. And so were you still involved
     4   orders?                                               4   in the suspicious order monitoring program at
     5       A. Well, that was part of it.                     5   that point?
     6   Part of it was that we had not found any              6       A. The daily review was turned
     7   peculiar orders that became suspicious                7   over to that department.
     8   orders. And as we changed it to          and we       8       Q. So what you had previously
     9   had approval to do that, or I had approval to         9   described about how you would get 50 orders
    10   do that, we continued to monitor orders,             10   and then you would contact the --
    11   peculiar orders, and again, we did not have          11       A. Right.
    12   any suspicious orders.                               12       Q. -- sales reps, that was no
    13       Q. What did you do to -- well,                   13   longer your responsibility?
    14   what did Mallinckrodt do to satisfy --               14       A. Correct. It was turned over to
    15   satisfy itself that the distributors were            15   this other group that had the chargeback
    16   implementing adequate SOM programs?                  16   information.
    17       A. I wasn't -- I was just there at               17       Q. Okay. And do you know who in
    18   the beginning of this, but -- I should say,          18   this other group it was turned over to?
    19   actually it probably started in 2009, but            19       A. Tiffany is who I had mentioned
    20   there was a team that was put together of            20   earlier. I don't remember her last name.
    21   Karen Harper and one of the legal people             21       Q. Okay. And do you know what
    22   along with -- who would do audits with the           22   procedure or process she followed?
    23   distributors to see what programs they had in        23       A. No, I don't.
    24   place.                                               24       Q. Do you know if she continued to
    25       Q. Now, if I could direct your                   25   review these reports on a daily basis?
   Golkow Litigation Services                                                     Page 58 (226 - 229)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further59Confidentiality
                                                         of 88. PageID #: 248653
                                                                             Review
                                              Page 230                                            Page 232
     1       A. I believe she did, yes.                   1   QUESTIONS BY MR. KAWAMOTO:
     2       Q. And she continued to                      2        Q. So I'm marking another exhibit.
     3   communicate with the sales reps?                 3   It is Exhibit 8.
     4       A. I would imagine that would be             4        A. Are we done with this one?
     5   part of her process. I'm not sure what she       5        Q. Yes, we're done with that one.
     6   did once she took over it, but I explained to    6            And this has Bates number
     7   her what I did and -- as far as what my          7   MNK-T1_264431.
     8   review -- what review I took as far as           8        A. Okay.
     9   talking to the sales reps and the business       9        Q. Okay. Now, just as a matter of
    10   managers. And they also had the chargeback      10   chronology, the enhanced -- the enhanced SOM
    11   system in that group, so I'm sure it was used   11   program came online in 2000 -- in the fall
    12   to enhance the system.                          12   of 2009?
    13       Q. And you indicated that --                13        A. Yes.
    14       A. And I turned over all my files           14        Q. And in fall of 2010, your SOM
    15   over to her -- for her, to her group.           15   responsibilities were transferred to Tiffany?
    16       Q. And do you know how she used             16        A. That's correct.
    17   the chargeback data?                            17        Q. So you oversaw the enhanced SOM
    18       A. I don't.                                 18   program for dosage products for one year?
    19       Q. Now, prior to 2010, did you              19        A. Correct.
    20   have access to the chargeback data?             20        Q. Okay. This document, it's
    21       A. I did not, no.                           21   Bates-numbered MNK-10-1_264431 {sic}, and it
    22            I think it was identified as a         22   purports to describe the peculiar order
    23   source that we could implement to enhance our   23   process.
    24   system as we were looking for opportunities     24        A. Okay.
    25   for more information and that. That was         25        Q. Based on your review, does this
                                              Page 231                                            Page 233
     1   pointed out as, hey, maybe we can use the        1   accurately describe what Mallinckrodt's
     2   chargeback system.                               2   peculiar order process was from fall of 2009
     3       Q. Well, how old is the chargeback           3   to fall of 2010?
     4   system?                                          4       A. As -- as a peculiar order, yes.
     5       A. It's been around for a long               5       Q. Okay. And then you'll note
     6   time.                                            6   that someone --
     7       Q. So in 2008 and 2009, you had              7       A. This is what I was trying to
     8   chargeback data; is that correct?                8   describe to you earlier but probably didn't
     9       A. We did.                                   9   do a very good job of it, where it summarizes
    10       Q. And so in -- so in theory, one           10   the API of the product.
    11   could have used this chargeback data, you       11       Q. Okay. And you'll see how
    12   know, in 2007 or 2008 or 2009?                  12   the -- in the peculiar order criteria, the
    13       A. In theory it could have.                 13   has been crossed out and someone has
    14       Q. So it's not as if Mallinckrodt           14   substituted in there.
    15   was collecting now data starting in 2010; it    15       A. Okay.
    16   was that it was using the data it had?          16       Q. So this would suggest that this
    17       A. Yes, and we -- I don't remember          17   document was -- would have been prepared
    18   exactly how we -- you know, we finally          18   sometime in 2010, because that's when that
    19   figured out, hey, maybe we can start, you       19   decision was made?
    20   know, digging deeper into the -- into who our   20       A. Sometime in that time frame,
    21   customers were selling to also as part of an    21   yes.
    22   enhancement.                                    22       Q. Okay. Now, it says, "New
    23           (Mallinckrodt-Rausch Exhibit 8          23   customers for dosage. Dosage will manually
    24       marked for identification.)                 24   establish the threshold limit."
    25                                                   25            What -- what is the threshold
   Golkow Litigation Services                                                Page 59 (230 - 233)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further60Confidentiality
                                                         of 88. PageID #: 248654
                                                                             Review
                                              Page 234                                            Page 236
     1   limit?                                           1   that we already had on the books and get an
     2        A. I believe the threshold limit,           2   average based upon that as our criteria to
     3   if I remember right, was based upon the          3   start with.
     4   customer class of what the average order         4       Q. Okay. So it sounds like you
     5   amount was for that -- a customer of that        5   had distributor subclasses, essentially?
     6   type.                                            6       A. Yes.
     7             Since we had no previous orders        7            (Mallinckrodt-Rausch Exhibit 9
     8   from this customer, we -- we just took the       8       marked for identification.)
     9   average of what we were selling to customers     9   QUESTIONS BY MR. KAWAMOTO:
    10   like -- like them so we had some kind of        10       Q. Okay. So I'd like to mark as
    11   basis to go on.                                 11   Exhibit 9 the following document, and this
    12        Q. And when you say "customer              12   has a Bates number MNK-T1_269399.
    13   class," what do you mean by that?               13       A. Okay.
    14        A. Like distributor.                       14       Q. Okay. So this is a memo dated
    15        Q. So distributor verse wholesaler         15   November 2, 2010, to Karen Harper from Howard
    16   verse chain pharmacy, are those the different   16   Davis.
    17   classes?                                        17       A. Okay.
    18        A. I would say so, yes.                    18       Q. Do you know who Howard Davis
    19        Q. And the threshold limit is              19   is?
    20   essentially -- it's the base that the           20       A. I believe he was with the DEA.
    21   algorithm would compare the current order to    21       Q. Okay. And did you ever work
    22   sort of the historic baseline; is that          22   with Howard Davis on anything while you were
    23   accurate?                                       23   at Mallinckrodt?
    24        A. Yes.                                    24       A. No, I didn't. Not that I
    25        Q. So for the threshold -- well,           25   remember.
                                              Page 235                                            Page 237
     1   strike that.                                     1       Q. Okay. Do you know anything
     2            So one of the problems could be         2   about Howard Davis other than he was with the
     3   if your threshold limit were set too high,       3   DEA?
     4   then, you know, orders that should be tagged     4       A. No.
     5   as peculiar would not be; is that fair?          5       Q. Okay. So in this memo he
     6       A. That's possible.                          6   states -- well, let's start with the second
     7       Q. All right. Now, you indicated             7   full paragraph.
     8   that the threshold limit was set based on the    8       A. Okay.
     9   average of all of the distributors.              9       Q. He states, "Federal register
    10       A. I believe so. I think that's             10   notices published as early as 2007 state
    11   how it was done, yes.                           11   specifically that using formulas that rely on
    12       Q. And for the distributors, was            12   percentages or averages over time has been
    13   this -- was this average set on an              13   determined by the DEA to be insufficient."
    14   industry-wide assessment of distributors, or    14            Do you agree with that
    15   was it just Mallinckrodt's distributor          15   statement?
    16   customers?                                      16       A. Yes.
    17       A. Mallinckrodt's.                          17       Q. Then skipping to the paragraph
    18       Q. Okay. Now, distributors varied           18   below that, it says, "An order must not be
    19   in size and geographic scope, didn't they?      19   processed and filled if it's either
    20       A. I think we tried to take in              20   suspicious or excessive. The existing SOP
    21   effect how many -- how many different           21   excels to meet this requirement through a
    22   distributing warehouses they had, what their    22   specific evaluation process; however, the
    23   typical sales were, that type of thing, all     23   numeric formula is problematic. For example,
    24   the information that we could gather, and       24   should an occasion arise where an order is
    25   tried to make them comparable to customers      25               over the historical average for

   Golkow Litigation Services                                                Page 60 (234 - 237)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further61Confidentiality
                                                         of 88. PageID #: 248655
                                                                             Review
                                                 Page 238                                               Page 240
     1   that customer, an item, or in a situation            1       A. We wouldn't -- we wouldn't have
     2   where the order meets but does not exceed the        2   changed it.
     3   three times criteria, it would theoretically         3       Q. Okay.
     4   be filled through normal processing without          4       A. Keep in mind, we were -- you
     5   question -- without further question. In             5   know, we were on our own as far as developing
     6   doing so in certain cases and as noted in            6   our programs. So, you know, Karen, on doing
     7   recent immediate suspensions of other                7   her job as compliance manager, felt it was
     8   large-scale DEA registrants, which are all a         8   important to keep the DEA in the progress of
     9   matter of public record, Mallinckrodt would          9   our program that we had placed.
    10   be unnecessarily exposing itself to potential       10            And I guess in seeing this --
    11   liability."                                         11   and this is the first time I have seen it --
    12             Do you see that paragraph?                12   she apparently brought it to Howard's
    13       A. I do.                                        13   attention that we had changed from           to
    14       Q. Do you agree with that                       14        and he apparently responded in this
    15   statement?                                          15   manner.
    16             MR. TSAI: Object to the form.             16       Q. Okay. Now, turning to the
    17             THE WITNESS: I understand -- I            17   second page, it says, "Numeric formulas do
    18       hear -- I hear what he's saying, yes.           18   not identify circumstances that might be
    19   QUESTIONS BY MR. KAWAMOTO:                          19   indicative of diversion, such as ordering
    20       Q. Well, and do you agree with his              20   larger quantities of a limited variety
    21   assessment?                                         21   regularly that would not otherwise be viewed
    22       A. Well, we -- we felt that we                  22   as suspicious, like ordering controlled
    23   were -- we had done with the         that we        23   substances with few, if any, other drugs or
    24   didn't -- as I told you before, we felt             24   products, whether controlled or
    25   comfortable with going from         to      and I   25   noncontrolled, ordering highly abused
                                                 Page 239                                               Page 241
     1   had Karen's approval. And apparently in due          1   controlled substances in limited quantities
     2   diligence she talked to Howard Davis about           2   disproportionate to other orders, or even
     3   it, and in doing so, he was coming back              3   ordering the same controlled substances from
     4   feeling that going from       to      would          4   multiple suppliers."
     5   be -- expose us to potential liability.              5             Do you see that?
     6        Q. Did you know that Karen Harper               6       A. I see it.
     7   talked to Howard Davis about the        to           7       Q. And do you agree that these are
     8   change?                                              8   all problems with numeric formulas?
     9        A. I did not.                                   9       A. These are all possibilities,
    10        Q. Okay. If you had known that                 10   yes.
    11   Howard Davis had concerns about this                11       Q. Okay. And directing your
    12   change, would it have -- well, strike that.         12   attention to Exhibit 2, so if you go back to
    13            Did you support the change from            13   the start of the dep, which was that 2006 DEA
    14        to                                             14   letter, these are the factors that the DEA
    15        A. Yes, at the time I did.                     15   identified in that letter, aren't they?
    16        Q. If you had known that Howard                16       A. Are you talking about the 10?
    17   Davis had concerns about changing it from           17       Q. I'm sorry, let me pull that
    18   to       would that have mattered to your           18   out.
    19   support?                                            19             Yes. If you look at Exhibit 2,
    20        A. Of course it would have.                    20   on page 3, Bates number 273565, it's the
    21            MR. TSAI: Object to the form.              21   circumstances that might be indicative of
    22            THE WITNESS: Yes.                          22   diversion, and it lists out four different
    23   QUESTIONS BY MR. KAWAMOTO:                          23   things.
    24        Q. Okay. And how would it have                 24       A. Oh. Yes, that's what he's
    25   mattered?                                           25   talking about there.
   Golkow Litigation Services                                                    Page 61 (238 - 241)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further62Confidentiality
                                                         of 88. PageID #: 248656
                                                                             Review
                                             Page 242                                              Page 244
     1        Q. Okay. So these four things               1       yearly basis we were sending it out to
     2   match up to the concerns that Howard is          2       our customers asking these questions,
     3   expressing?                                      3       or similar questions, asking them if
     4        A. Yes.                                     4       they'd fill it out and send it back to
     5        Q. And the DEA expressed these              5       us for us to continue to sell to them.
     6   concerns in 2006, didn't they?                   6   QUESTIONS BY MR. KAWAMOTO:
     7        A. It looks like it, yes.                   7       Q. Do you know if any attempt was
     8        Q. Okay. Then underneath that               8   made to verify the information that the
     9   there's another paragraph that says, "The DEA    9   customers were providing in this regard?
    10   registrant population as a whole is now         10       A. I don't know.
    11   required to consider the totality of the        11       Q. Okay. Should that information
    12   circumstances when evaluating an order prior    12   have been verified given its importance?
    13   to it being filled."                            13       A. I guess it would be.
    14            Do you under -- do you agree           14            (Mallinckrodt-Rausch Exhibit 10
    15   with that statement?                            15       marked for identification.)
    16        A. Yes.                                    16   QUESTIONS BY MR. KAWAMOTO:
    17        Q. Okay. And underneath that,              17       Q. Now, this document also has an
    18   skipping further down, it says, "While not      18   attachment which I'm going to mark as
    19   all-inclusive, recommended customer inquiries   19   Exhibit 10, and the Bates number for this
    20   may include such factors as," and then this     20   attachment is MNK-T1_269401.
    21   lists one, two, three, four, five, six, seven   21            Now, actually, I'm sorry, if I
    22   eight, nine -- nine different bullet points.    22   could interrupt you briefly.
    23            Do you see those?                      23            So going back to Exhibit 9,
    24        A. I do.                                   24   this memorandum.
    25        Q. And do you agree that all of            25       A. Okay.
                                             Page 243                                              Page 245
     1   these should be recommended customer             1       Q. Do you know what steps, if any,
     2   inquiries?                                       2   were taken to address Mr. Davis' concerns?
     3             MR. TSAI: Object to the form.          3       A. This was written in
     4             THE WITNESS: Let me look --            4   November 2010, and I was no longer
     5       read them.                                   5   responsible for monitoring the orders. But
     6   QUESTIONS BY MR. KAWAMOTO:                       6   like I mentioned earlier -- as far as the
     7       Q. Sure.                                     7   and the       Okay?
     8       A. Okay.                                     8           And like I stated earlier, I
     9       Q. Okay. So do you agree that                9   believe this was part of the checklist that
    10   this is all information that should be taken    10   we sent out to our -- our customers from
    11   into account?                                   11   CDIG.
    12       A. I believe this was part of that          12       Q. But you don't know if anything
    13   checklist that was being sent out by the        13   was actually done to modify the enhanced SOM
    14   credit department, or CDIG, on a yearly basis   14   program to respond to Mr. Davis' concerns?
    15   for our customers to check whether they were    15       A. I do not.
    16   doing that or not.                              16       Q. Okay. Okay. So can you -- can
    17       Q. Okay. And so if Mallinckrodt's           17   you review the MNK -- well, I'm sorry, can
    18   SOM program was not taking into account this    18   you review Exhibit 10?
    19   information, you would view that as             19           And I don't have detailed
    20   problematic, would you not?                     20   questions on all of it, but I do have some
    21             MR. TSAI: Object to the form.         21   questions for you on this document.
    22             THE WITNESS: I would. But             22       A. Is there a date on this or --
    23       like I stated, I believe we were            23       Q. Well, this was an attachment to
    24       sending this out when new customers         24   the Howard Davis memo, so it would presumably
    25       were being established. And on a            25   have the same date as the memo.

   Golkow Litigation Services                                                Page 62 (242 - 245)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further63Confidentiality
                                                         of 88. PageID #: 248657
                                                                             Review
                                             Page 246                                              Page 248
     1       A. Same date as the memo?                    1       Q. So Howard Davis is a -- I
     2       Q. Yes.                                      2   believe he is a former DEA personnel.
     3       A. Okay.                                     3       A. Okay.
     4       Q. So November of 2010.                      4       Q. And he was working as a
     5       A. And who is this from?                     5   consultant for Mallinckrodt.
     6       Q. Well, actually, if you look               6       A. Oh, okay.
     7   back at Exhibit 10 {sic}, the very bottom of     7       Q. I'm not -- I'm not positive
     8   the memo, Mr. Davis says, "I recommend the       8   exactly what his status was.
     9   immediate revision of SOP number CS COMP 3.0     9       A. Okay.
    10   to include additional definitive criteria as    10       Q. But apparently Ms. Harper asked
    11   noted above." And then further down he says,    11   him to review the S -- CS COMP 3.0 procedure,
    12   "The new draft SOP entitled 'Due Diligence      12   and he prepared her this memo --
    13   Procedures and Monitoring of Controlled         13       A. Okay.
    14   Substances Sales' is included for               14       Q. -- with these recommendations.
    15   consideration."                                 15       A. Oh, okay.
    16       A. Okay.                                    16       Q. So I guess my -- one thing I
    17       Q. And that's what this document            17   wanted to ask you is that -- does that
    18   is.                                             18   change -- does that change any of your prior
    19       A. Oh, okay. So they were giving            19   testimony regarding Mr. Davis' views as he
    20   us information on standard operating            20   expressed in his memo?
    21   procedure.                                      21            MR. TSAI: And I would like to
    22       Q. And if it helps your review, my          22       object for the record that that line
    23   questions relate to sections 4, 5, 7, 8 and 9   23       of questioning was -- didn't have that
    24   of the memo.                                    24       clarification. And if we're just
    25           MR. TSAI: We've been going for          25       clarifying the record, I think at this
                                             Page 247                                              Page 249
     1       about an hour. Is this a good time to        1        time when Exhibit 9 was written,
     2       take a break since this is a long            2        Howard Davis was not speaking on
     3       document?                                    3        behalf of the DEA or employed by the
     4             MR. KAWAMOTO: Well -- okay.            4        DEA.
     5       Well -- sure. Well, why don't I --           5   QUESTIONS BY MR. KAWAMOTO:
     6             THE WITNESS: I'm willing to            6        Q. So with that -- with that
     7       go.                                          7   clarification --
     8             MR. KAWAMOTO: Okay. Well,              8        A. Okay.
     9       yeah -- well, why don't we keep going,       9        Q. -- does that change your
    10       and if for whatever reason you want to      10   opinion of any of the views he's expressing
    11       take a break, just let me know and I'm      11   in his memorandum?
    12       happy to take a break.                      12        A. Does it change my opinion?
    13             THE WITNESS: Okay.                    13             What in particular did you want
    14   QUESTIONS BY MR. KAWAMOTO:                      14   to talk about? 4 or the whole thing or --
    15       Q. So did you want to review some           15        Q. Well, no, let's go back --
    16   more, or should I just ask you questions?       16   let's go back. I didn't realize that --
    17       A. No, go ahead. I mean, I can              17   until I reviewed the transcript, I didn't
    18   look at it to --                                18   realize there was that confusion.
    19       Q. Okay. So Section 4 is an                 19             But going back to Exhibit 9 --
    20   affidavit requirement.                          20        A. So this was written by someone
    21       A. Now, if I'm reading this right,          21   that I guess -- that we had -- that was a
    22   this is from the DEA, I believe you said?       22   former DEA employee that we had consulted
    23       Q. Well, no, that is something I            23   with to go over the -- our process --
    24   wanted to clarify with you.                     24        Q. Yes.
    25       A. Okay.                                    25        A. -- and make recommendations?
   Golkow Litigation Services                                                Page 63 (246 - 249)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further64Confidentiality
                                                         of 88. PageID #: 248658
                                                                             Review
                                              Page 250                                             Page 252
     1        Q. That is my understanding.                1   paragraph.
     2   Well, you, I believe -- based on this memo,      2        A. Okay. Yes, I would agree with
     3   it appears you asked him to review the           3   that.
     4   program.                                         4        Q. Okay. And the statement that
     5        A. When you say "you" --                    5   "an order must not be processed and filled if
     6        Q. I believe Karen Harper.                  6   it is either suspicious or excessive," you
     7        A. -- Karen Harper did.                     7   would agree with that statement?
     8        Q. Yes.                                     8        A. Okay.
     9        A. Okay. So I just want to                  9        Q. Well, I'm sorry, so --
    10   establish that this is something that Karen     10        A. I'm just seeing now, he's
    11   Harper had asked him to review and reported     11   reviewing -- this is a review and -- of -- by
    12   it back to him. This is the first time I've     12   Howard Davis. And he's -- he's telling Karen
    13   seen this document, so --                       13   that right now, as the -- the current process
    14             MR. TSAI: And again, I'll             14   is being done is that we have time frame --
    15        object for the record to that line of      15   or we decided that we could allow an order
    16        questioning and testimony, given the       16   determined as peculiar to go ahead and ship
    17        misunderstanding that was just put on      17   as long as we continued to do our due process
    18        the record.                                18   of following up on the order to make sure it
    19   QUESTIONS BY MR. KAWAMOTO:                      19   was not becoming a suspicious order -- not a
    20        Q. Well, okay. In that case, why           20   suspicious order.
    21   don't we turn to Exhibit 9. So can you pick     21             So I think that's what he's
    22   up Exhibit 9 again?                             22   addressing.
    23        A. Okay.                                   23        Q. Okay.
    24        Q. So this -- this is -- this is           24        A. Addressing here.
    25   the memo that Mr. Davis prepared for            25             Then he goes on to address the
                                              Page 251                                             Page 253
     1   Ms. Harper?                                      1   other portion of what was in place at the
     2        A. Oh, okay.                                2   time, that we changed it from        to
     3        Q. Okay?                                    3        Q. Uh-huh.
     4        A. Okay. So that makes it a                 4        A. Okay? And he brought this up
     5   little more clear that he wasn't working for     5   as some concerns that he may have that we
     6   the DEA.                                         6   might want to address.
     7        Q. He was not working for the DEA,          7        Q. Okay. And so the statement he
     8   though he was formerly employed by them and      8   has when "an order must not be processed and
     9   presumably had some expertise.                   9   filled if it is either suspicious or
    10        A. Right. And he had -- Karen had          10   excessive," do you agree with that statement?
    11   asked him to review our process.                11   Is he correct on that point?
    12        Q. Yes.                                    12        A. I agree with what he is coming
    13        A. Okay.                                   13   back and telling us, that it should not be
    14        Q. And so when he says, "Federal           14   shipped, okay?
    15   register notices published as early as 2007     15             And what I'm saying, as part of
    16   state specifically that using formulas that     16   our daily review prior to this, prior to
    17   rely on percentages or averages over time has   17   Howard Davis saying this, that we were going
    18   been determined by the DEA to be                18   ahead if the order was peculiar and we were
    19   insufficient," would you agree with that        19   not able to completely vet the order -- and
    20   statement?                                      20   what I mean by that is, as the sales
    21             MR. TSAI: Object to the form.         21   department or the salesmen or the marketing
    22             THE WITNESS: Where are you at?        22   person in a due fashion of time, that we
    23        I'm sorry.                                 23   would go ahead and allow the order to ship,
    24   QUESTIONS BY MR. KAWAMOTO:                      24   and we would continue the process of
    25        Q. The middle of the second                25   evaluating whether it should be moved to a

   Golkow Litigation Services                                                Page 64 (250 - 253)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further65Confidentiality
                                                         of 88. PageID #: 248659
                                                                             Review
                                             Page 254                                               Page 256
     1   suspicious order.                                1   matter of public record, Mallinckrodt would
     2             So he's coming back after              2   be unnecessarily exposing itself to potential
     3   review and saying, "This is something that       3   liability."
     4   you may want to not -- may not want to do."      4       A. Okay.
     5        Q. Okay. And do you agree with              5       Q. Do you see that statement?
     6   his assessment, that that is something that      6       A. I do.
     7   you don't want to do?                            7       Q. Do you agree with that, sir?
     8        A. Well, at the time I don't -- I           8             MR. TSAI: Object to the form.
     9   didn't agree with it. I felt that we -- we       9             THE WITNESS: I guess all I can
    10   were doing our -- our job, and we had a         10       say is that we felt that we could do
    11   six-month or five-month history of working at   11       that. And Howard, who was a former
    12   two months and not having an order that         12       employee of the DEA, is saying as a
    13   became -- went from peculiar to suspicious,     13       consultant that you may want to relook
    14   and we felt it was okay based upon that to      14       at your -- and that's what Karen was
    15   move it to three times. All right? So we        15       doing, was asking him to review what
    16   felt that was okay. Karen approved.             16       we were doing and pointing out things
    17             And Howard came back, from what       17       that he felt that we might be liable
    18   I'm reading here, and saying that you may       18       for.
    19   want to change that. That's what I get out      19             So in that case he's saying,
    20   of it.                                          20       you may want to review your          -- or
    21        Q. Well, actually, what he's               21       your       program and change it to
    22   saying, if you just read the text, is, "An      22       because the potential for orders going
    23   order must not be processed and filled if it    23       through you might be liable for.
    24   is either suspicious or excessive."             24   QUESTIONS BY MR. KAWAMOTO:
    25             So do you disagree with that          25       Q. And had How -- had you known
                                             Page 255                                               Page 257
     1   statement?                                       1   that Howard had this concern, would you still
     2             Can an order be processed and          2   have supported a change from the       to
     3   filled if it is suspicious or excessive?         3        A. Well, I'm not sure when -- this
     4        A. Well, it shouldn't if it's               4   was done in October, I believe.
     5   deemed suspicious.                               5        Q. Oh, it's November of 2010.
     6        Q. Okay. So if an order is -- if            6        A. November of 2010. And I
     7   an order is either suspicious or excessive,      7   believe we made that change prior to November
     8   it should not be processed and filled; is        8   of 2010. Okay?
     9   that fair?                                       9             And to answer your question,
    10        A. That's what he's saying, yes, I         10   if -- if Howard pointed this out and Karen,
    11   agree with that.                                11   you know, agreed with him, we would change it
    12        Q. Then he goes on to say, "The            12   back to the
    13   existing SOP excels to meet this requirement    13        Q. Well, putting Karen aside
    14   through a specific evaluation process.          14   because --
    15   However, the numeric formula is problematic.    15        A. Right.
    16   For example, should an occasion arise where     16        Q. -- you don't know what Karen
    17   an order is three times over the historical     17   did, you know, after she received this memo,
    18   average for that customer and item, or in a     18   correct?
    19   situation where the order meets but does not    19        A. Right.
    20   exceed the three times criteria, it would       20        Q. So just from the standpoint of
    21   theoretically be filled through normal          21   your support and your -- your support for the
    22   processing without further question. In         22   change from        to    --
    23   doing so, in certain cases and as noted in      23        A. Right.
    24   recent immediate suspensions of other           24        Q. -- if Mr. Davis had sent this
    25   large-scale DEA registrants, which are all a    25   memo to you, would it have -- would it have

   Golkow Litigation Services                                                 Page 65 (254 - 257)
Case: 1:17-md-02804-DAP Doc #: 1983-21 Filed: 07/24/19 66 of 88. PageID #: 248660
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further67Confidentiality
                                                         of 88. PageID #: 248661
                                                                             Review
                                              Page 262                                            Page 264
     1   registrant population as a whole is now          1       A. I do.
     2   required to consider the totality of the         2       Q. Okay. Do you know if this
     3   circumstances when evaluating an order prior     3   requirement was ever put in place?
     4   to it being filled."                             4       A. I believe it was.
     5             Do you see that statement?             5       Q. Okay.
     6        A. I do.                                    6       A. I believe it was part of the
     7        Q. And you would agree with that,           7   CDIG checklist that was sent out to the
     8   correct?                                         8   customers.
     9        A. I agree.                                 9       Q. Okay. Section 5, which is
    10        Q. Okay. And then going down to            10   background documentation. And these are
    11   the nine bullet points that Mr. Davis           11   documents by customer type, asking the
    12   identifies as being important information to    12   customer specific questions about their
    13   gather from customers, you would still agree    13   businesses and their licenses.
    14   that that is important information?             14           And can you review the various
    15             MR. TSAI: Object to the form.         15   questions?
    16             THE WITNESS: I believe this --        16       A. Okay.
    17        yes, they would be important factors.      17       Q. Okay. Do you agree that it
    18   QUESTIONS BY MR. KAWAMOTO:                      18   makes sense to ask customers these types of
    19        Q. Okay. So putting that document          19   questions?
    20   aside and turning now to Exhibit 10. So --      20           MR. TSAI: Object to the form.
    21        A. I just was reading this last            21   QUESTIONS BY MR. KAWAMOTO:
    22   one.                                            22       Q. Well, let me rephrase that.
    23        Q. Go ahead.                               23           Do you agree that customers
    24        A. I wanted to see what he                 24   should be asked the following questions that
    25   recommended.                                    25   he identifies?
                                              Page 263                                            Page 265
     1           Okay.                                    1            MR. TSAI: Object to the form.
     2       Q. Now, turning to --                        2            THE WITNESS: I guess I agree
     3       A. This is the draft that he                 3       that these are things that should
     4   prepared?                                        4       be -- again, Howard, I guess, was
     5       Q. Yes, this is the draft that he            5       making recommendations, and I believe
     6   prepared. This, I believe, is Exhibit 10.        6       that I shouldn't -- I shouldn't speak
     7       A. Okay.                                     7       out of turn because I was in customer
     8       Q. So do you see on page -- or               8       service. So this would have been part
     9   Section 4 of this draft it says, "Affidavit"?    9       of the CDIG process, so -- but I do
    10       A. Okay.                                    10       agree these are things that we could
    11       Q. Okay.                                    11       possibly ask.
    12       A. Okay.                                    12   QUESTIONS BY MR. KAWAMOTO:
    13       Q. Okay. So this -- this is --              13       Q. Okay. And, well, not only
    14   Howard is proposing an affidavit requirement,   14   could you possibly ask for them, but you
    15   and the affidavit would verify that the         15   would agree that it would be a good idea to
    16   customer is not an online pharmacy and has      16   ask these questions?
    17   never conducted business as an Internet         17            MR. TSAI: Object to the form.
    18   pharmacy and is otherwise aware of their        18            THE WITNESS: Like I said, it
    19   corresponding responsibility for dispensing     19       would be a good idea.
    20   controlled substances legitimately.             20   QUESTIONS BY MR. KAWAMOTO:
    21           Do you see that?                        21       Q. Okay. Then turning to
    22       A. I do.                                    22   Section 7, it says "Memos."
    23       Q. Do you think that this                   23       A. Okay.
    24   requirement makes sense as part of a            24       Q. Okay. Now, do you agree that
    25   suspicious order monitoring program?            25   this would be a good modification to the
   Golkow Litigation Services                                                Page 67 (262 - 265)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further68Confidentiality
                                                         of 88. PageID #: 248662
                                                                             Review
                                              Page 266                                            Page 268
     1   suspicious order monitoring program?             1   location, review documents, inspect the
     2        A. I agree that it would enhance            2   customer's facility, observe the customer's
     3   it, yes.                                         3   dispensing and/or examination practices,
     4        Q. Okay. Do you know if this was            4   request additional information from the
     5   done?                                            5   customer and complete an inspection report."
     6        A. I don't know.                            6             Do you agree that that would
     7        Q. Okay. Then Section 8 is an               7   have been factors that a third-party
     8   on-site inspection report. And it says, "If      8   investigator should have looked at?
     9   a customer is flagged suspicious based on        9             MR. TSAI: Object to the form.
    10   their ordering habits or their due diligence    10             THE WITNESS: It's something
    11   documents, then the compliance department may   11       that could have been done, yes.
    12   require that an on-site inspection be           12   QUESTIONS BY MR. KAWAMOTO:
    13   conducted by a third-party, experienced,        13       Q. Well, I mean -- well, strike
    14   trained investigator."                          14   that.
    15            Do you see that section?               15             Not only could it have been
    16        A. Uh-huh, I do.                           16   done, but it would have enhanced the program,
    17        Q. Do you think that requirement           17   would it not?
    18   makes sense as an addition to the suspicious    18       A. It would have enhanced any
    19   order monitoring program?                       19   program.
    20        A. You're asking me as a customer          20       Q. Okay. Do you know if this was
    21   service manager if I feel that this is --       21   actually done?
    22   would be important?                             22       A. I don't know.
    23        Q. Yes. And as someone that was            23       Q. Okay. Then Section 9 is
    24   involved in setting up the SOM program, a       24   parameters used in defining orders of
    25   member of the SOM team.                         25   interest.
                                              Page 267                                            Page 269
     1       A. Well, this is -- this is                  1            Do you see that?
     2   enhancements to the SMO {sic} team, and I        2       A. I do.
     3   believe -- well, a form of this was done, as     3       Q. Okay. So orders of unusual
     4   I explained earlier, where Karen Harper and      4   size would be a parameter that should be used
     5   the team were going ahead and making audits      5   in defining an order of interest; is that
     6   on -- with customers. So that's as far as I      6   correct?
     7   know what was implemented as of the time that    7       A. Yes.
     8   I was there.                                     8       Q. Okay. What about an order
     9       Q. Do you know if Karen -- I                 9   deviating substantially from a normal
    10   believe you previously testified that the       10   pattern?
    11   audits were conducted by Karen Harper and --    11       A. Yes.
    12       A. A team of other individuals.             12       Q. What about orders of unusual
    13   I'm not sure who was all on the team. I know    13   frequency?
    14   one of our lawyers were, and there -- I'm not   14       A. Yes.
    15   sure if they went ahead and got an              15       Q. What about will call orders,
    16   investigator or not.                            16   meaning requested to be picked up?
    17       Q. Okay. So you don't know if               17       A. We didn't -- we didn't allow
    18   they used a third-party, experienced, trained   18   will call orders that I remember in the
    19   investigator?                                   19   dosage group.
    20       A. I don't. I don't.                        20       Q. Okay. What about orders to be
    21       Q. Do you think it would have been          21   delivered -- well, so strike that.
    22   a good idea to do so?                           22            So will call orders then should
    23       A. It wouldn't have hurt.                   23   not have been permitted?
    24       Q. Okay. It also says, "The                 24       A. I want to say that it wasn't,
    25   investigator will visit the customer            25   but I can't verify -- say for sure that that
   Golkow Litigation Services                                                Page 68 (266 - 269)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further69Confidentiality
                                                         of 88. PageID #: 248663
                                                                             Review
                                                Page 270                                            Page 272
     1   was true. I don't --                               1             THE WITNESS: I would say that
     2       Q. I'm sorry, go ahead.                        2        that would be an enhancement, yes.
     3       A. Go ahead.                                   3   QUESTIONS BY MR. KAWAMOTO:
     4       Q. But in your opinion, will call              4        Q. Okay. And then actually if you
     5   orders should not have been permitted?             5   look -- do you see number 1 below Section 9?
     6       A. I would -- I would say that                 6        A. I do.
     7   that's true.                                       7        Q. It says, "A physician or
     8       Q. Okay. Orders to be delivered                8   veterinarian orders certain controlled
     9   to a different location, that should also not      9   substances that are not consistent with a
    10   have been permitted?                              10   type of practice identified by the
    11       A. I agree.                                   11   practitioner's licenses."
    12       Q. Okay. Cash orders should not               12             So that would, I imagine, be an
    13   have been permitted?                              13   example of an order placed out of a scope of
    14       A. I don't -- yes, I agree.                   14   a customer's field of practice?
    15       Q. And orders placed out of a                 15        A. Yes, I would agree with that.
    16   scope of the customer's field of practice,        16        Q. Okay. And so that is something
    17   that should not have been permitted?              17   that should have been considered in
    18             MR. TSAI: Objection to the              18   determining whether or not to fill an order;
    19       form.                                         19   is that correct?
    20             THE WITNESS: I'm not sure if I          20             MR. TSAI: Object to the form.
    21       understand what he's saying here, "out        21             THE WITNESS: I -- I would
    22       of the scope of the customer's field          22        agree with that other -- other than we
    23       of practice." I'm not sure I know             23        weren't filling orders from physicians
    24       what that is.                                 24        or veterinarians. I'm not sure where
    25                                                     25        this is coming from.
                                                Page 271                                            Page 273
     1   QUESTIONS BY MR. KAWAMOTO:                         1   QUESTIONS BY MR. KAWAMOTO:
     2       Q. Okay. Could he be referencing,              2       Q. Okay. So that's all I have on
     3   for example, if you have a customer of a           3   that exhibit.
     4   distributor that is, you know, in a certain        4            MR. KAWAMOTO: Rocky, did you
     5   practice area and they are prescribing drugs       5       want to take a break now?
     6   that are generally not used by that practice       6            MR. TSAI: Let's take a break.
     7   area?                                              7            MR. KAWAMOTO: Okay.
     8            MR. TSAI: Object to the form.             8            VIDEOGRAPHER: We're going off
     9            THE WITNESS: I'm not really               9       the record at 4:11 p.m.
    10       sure what he's -- what he's saying            10        (Off the record at 4:11 p.m.)
    11       here. I'm not sure if that's -- what          11            VIDEOGRAPHER: We are back on
    12       you're saying is right or not.                12       the record at 4:31 p.m.
    13   QUESTIONS BY MR. KAWAMOTO:                        13   QUESTIONS BY MR. KAWAMOTO:
    14       Q. Okay. And then the next bullet             14       Q. Okay. So, Mr. Rausch, the last
    15   point is, "Orders placed for more than one        15   topic I want to cover with you is the
    16   controlled substance that are known to be         16   clearing of suspicious orders. And what I
    17   taken together, drug combinations, outside of     17   mean by that is you had previously indicated
    18   normal prescribing and patient treatment          18   that you would receive these reports, and
    19   practices. Such an example may be narcotics       19   then you would contact various people
    20   with benzodiazapines, Soma and sleep aids         20   regarding the justification.
    21   known as narcotic cocktails."                     21       A. Right.
    22            So do you believe that these             22       Q. And so just so, you know, both
    23   types of orders should not have -- that these     23   of us are on the same page as to my
    24   types of orders should not have been placed?      24   questions --
    25            MR. TSAI: Object to the form.            25       A. Yes.
   Golkow Litigation Services                                                  Page 69 (270 - 273)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further70Confidentiality
                                                         of 88. PageID #: 248664
                                                                             Review
                                              Page 274                                            Page 276
     1       Q. -- I want to explore that                 1   bears the Bates number MNK-T1_307119.
     2   process.                                         2            And this is an e-mail exchange
     3       A. Okay.                                     3   between you and, I believe, people in sales
     4       Q. Now, would you agree with the             4   regarding a suspicious order and the business
     5   statement that it's important to formally        5   justification for it; is that fair?
     6   document the investigation of a peculiar         6       A. Yes. Let me read it here.
     7   order, including the hows and whys of the        7       Q. Okay.
     8   logic that was used to determine that the        8       A. Okay. This was a bulk
     9   order was either appropriate or inappropriate    9   customer.
    10   to ship?                                        10       Q. Okay. And do you recall
    11       A. I can tell you what we did.              11   sending or receiving these e-mails?
    12       Q. Okay. What did you do then?              12       A. I do.
    13       A. Okay. So we would get the                13       Q. Okay. So the top e-mail, it's
    14   reports, and as I had talked earlier, we had    14   to Bill Ratliff, who is director of security.
    15   several orders on that report that were         15       A. Right.
    16   flagged as peculiar. And I would go down the    16       Q. And it says, "See the
    17   line, as I had mentioned earlier, and look at   17   information below. Sovereign is an
    18   why it was kicking out. There was different     18   established customer that we have dealt with
    19   flags, reasons, that would be checked on why    19   for years. They are a contract manufacturer
    20   the order would be flagged. So I would take     20   that may have gotten some new business. Let
    21   a look at that.                                 21   me know if we need to do anything else."
    22            And then I would take a look at        22            So this e-mail is the -- is a
    23   reports that I had to my disposal and see if    23   complete report with respect to the
    24   there was anything else that I could see        24   justification for shipping this order; is
    25   that may be why the order had been flagged      25   that fair?
                                              Page 275                                            Page 277
     1   that would be okay. Okay?                        1       A. I'm not sure if it's the
     2            If I could not determine                2   complete report. I don't see a response from
     3   through what I had available to me, then I       3   Bill.
     4   would go to the CSR, then to the business        4       Q. Okay.
     5   manager and then to the sales force. And I       5       A. So I'm sure there was, you
     6   would send out e-mails to the folks, if I        6   know, continued e-mails on what he -- if he
     7   needed to, and document that and attach that     7   gave his approval or not.
     8   to the report. Okay?                             8       Q. Okay. Now, it says they're a
     9            And then this was filed in the          9   contract manufacturer that may have gotten
    10   file folder for the month. I believe it's       10   some new business.
    11   for the month.                                  11       A. That's -- okay.
    12        Q. And the documentation of the            12       Q. Do you see the "may"?
    13   order with respect to the information you       13       A. Yes.
    14   received from either the CSR or the business    14       Q. So that indicates that you
    15   manager or the sales force, that consisted of   15   weren't sure whether they had gotten new
    16   whatever they e-mailed in response to you?      16   business. You thought they may have?
    17        A. Yes.                                    17       A. That's what Tom Palmer is
    18        Q. So there was no formal,                 18   saying, yes.
    19   separate report or memo that was prepared?      19       Q. Okay. So do you know if Tom
    20        A. No. No.                                 20   took any steps to verify that they in fact
    21            (Mallinckrodt-Rausch Exhibit 11        21   had new business?
    22        marked for identification.)                22       A. I cannot tell that from what he
    23   QUESTIONS BY MR. KAWAMOTO:                      23   put in this e-mail.
    24        Q. Okay. So I'd like to mark this          24       Q. Okay. Did you take any steps
    25   as Exhibit 11, and it is -- let's see. It       25   to verify that they in fact had gotten some
   Golkow Litigation Services                                                Page 70 (274 - 277)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further71Confidentiality
                                                         of 88. PageID #: 248665
                                                                             Review
                                              Page 278                                             Page 280
     1   new business?                                    1       A. Okay.
     2        A. You know, he mentions here that          2       Q. Okay. Do you recall sending
     3   both Marilyn and Camille are aware of the        3   and receiving this e-mail?
     4   situation. If he learns any more, he would       4       A. I don't recall, but I -- I'm
     5   let us know.                                     5   sure -- I'm sure I sent it.
     6            So, you know, without all the           6       Q. Okay. And this is an e-mail
     7   communication that was involved in this          7   from you to Kate and Kate to you --
     8   e-mail, I can't really answer that question      8       A. Correct.
     9   because I don't see a response from Bill here    9       Q. -- regarding an oxycodone
    10   and any continued communication what            10   order.
    11   occurred. So to say if this is complete, I      11       A. Yes.
    12   would say, no, it is not complete.              12       Q. And, you know, you're flagging
    13        Q. Okay. So do you recall taking           13   an increase in the order.
    14   any additional steps to verify this             14       A. Correct.
    15   information?                                    15       Q. And Kate's response is, "Jim,
    16        A. I don't remember. I don't               16   we are the secondary with CVS Caremark and
    17   remember, to answer your question.              17   this product. There is only one other
    18        Q. Okay. You indicate, you say,            18   supplier in the market, so my guess is that
    19   "Bill, let me know if we need to do anything    19   they're not able to get it from them and have
    20   else."                                          20   ordered from us."
    21        A. Right.                                  21       A. Okay.
    22        Q. So if Bill were to say no, then         22       Q. "I don't think it is too big of
    23   I assume this would be the complete record;     23   a reason to be alarmed. Thanks, Kate."
    24   is that correct?                                24       A. Okay. Kate was the business
    25        A. "No" meaning that we should not         25   person for the product.
                                              Page 279                                             Page 281
     1   ship it or we would --                           1       Q. Okay. And so she's saying it's
     2       Q. No. If Bill says, no, we don't            2   her guess --
     3   need to do anything else, if Bill approves       3       A. Right.
     4   this for shipment, then this is a complete       4       Q. -- that that's why this is.
     5   record?                                          5       A. Right.
     6       A. I believe so, yes.                        6       Q. Do you know if she did anything
     7       Q. Okay. And you don't recall                7   to verify her guess?
     8   whether Bill said yes or not?                    8       A. I would have probably reached
     9       A. I don't see a response here, so           9   out to the salesperson.
    10   I don't remember, no.                           10       Q. Okay. And who is the
    11       Q. Okay.                                    11   salesperson?
    12       A. This was, you know, not --               12       A. I don't remember who the
    13       Q. Was it Bill --                           13   salesperson was for Caremark at this -- off
    14       A. Ten years ago.                           14   the top of my head, I don't remember who it
    15       Q. Was it Bill's general practice           15   is.
    16   to request for more information, or did he      16       Q. But you would have taken steps
    17   generally just approve these?                   17   to verify Kate's guess?
    18       A. No, he -- he would -- he would           18       A. Yeah, my -- my guess is not
    19   do -- he would look into it, yes.               19   good enough for allowing this order to go
    20            (Mallinckrodt-Rausch Exhibit 12        20   out, I don't believe.
    21       marked for identification.)                 21       Q. Okay. So this should have been
    22   QUESTIONS BY MR. KAWAMOTO:                      22   verified?
    23       Q. Okay. So this is another                 23       A. Yes.
    24   exhibit. I'm marking it as Exhibit 12, and      24       Q. And presumably that
    25   it bears the Bates number 266788.               25   verification would have been attached to the
   Golkow Litigation Services                                                Page 71 (278 - 281)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further72Confidentiality
                                                         of 88. PageID #: 248666
                                                                             Review
                                              Page 282                                             Page 284
     1   suspicious order report?                         1   it was verified, it would have been
     2       A. I would have hoped so, yes.               2   documented as an e-mail attached to the
     3       Q. Okay. And it was your practice            3   suspicious order report, correct?
     4   to attach any verification?                      4       A. It could have been, yes.
     5       A. Yes.                                      5       Q. Okay.
     6       Q. Okay. If this wasn't verified             6       A. Should have been.
     7   and this went out just based on Kate's guess,    7       Q. Now, the suspicious order
     8   that would -- in your view, that would be a      8   report, I believe, is that on Bates
     9   problem?                                         9   number 266995?
    10       A. It could be a problem, yes.              10       A. Is it what? I'm sorry?
    11            (Mallinckrodt-Rausch Exhibit 13        11       Q. I'm looking at Bates
    12       marked for identification.)                 12   number 266995. It's a list of orders.
    13   QUESTIONS BY MR. KAWAMOTO:                      13       A. Okay.
    14       Q. Okay. So this is now                     14       Q. Is that the suspicious order
    15   Exhibit 13, and it's being tagged as MN --      15   report?
    16   I'm sorry, bears the Bates number               16       A. Yes.
    17   MNK-T1_266996.                                  17       Q. Okay. And then behind that, on
    18       A. Okay.                                    18   page 266997, that's the actual orders; is
    19       Q. Okay. So this is another                 19   that correct?
    20   e-mail chain between you and Kate               20       A. Correct.
    21   Muhlenkamp --                                   21       Q. Okay. So, you know, the
    22       A. All right.                               22   complete --
    23       Q. -- regarding a suspicious                23       A. Is there an order number here?
    24   order. Or I'm sorry, regarding a peculiar       24       Q. Sure.
    25   order. And --                                   25       A. I'm just seeing if it had the
                                              Page 283                                             Page 285
     1       A. Okay.                                     1   order number on there.
     2       Q. -- what she says to you is,               2            I'm seeing whether it
     3   "Jim, I followed up with Steve Becker."          3   referenced anything that is quoted in the
     4            Would Steve Becker have been            4   e-mail. I'm trying to see if there's
     5   the business person?                             5   anything about 456 bottles on here. I don't
     6       A. He would have been the                    6   see that.
     7   salesperson, I believe.                          7            And this is dated -- this is
     8       Q. The salesperson? Okay.                    8   dated April 26th, and this report's dated
     9       A. Uh-huh.                                   9   4/23.
    10       Q. "He noted that Henry Schein had          10            I'm trying to see if there's
    11   recently made changes to their internal         11   something that's -- identifies on this report
    12   structure and are now servicing additional      12   this -- what we were e-mailing about. I see
    13   third-party contracts, chargebacks, which may   13   Henry Schein, but I don't see the order
    14   be driving their new demand. He was not         14   quantity that was talked about.
    15   surprised that they had started ordering.       15            It says 456, and I don't see
    16   Hope this helps."                               16   that on -- on what's attached here.
    17            Do you know if any steps were          17            So anyway -- okay. So I'm
    18   taken to verify that the internal structure     18   assuming that what's attached here is
    19   was in fact driving the new demand?             19   referencing an order that the e-mail is
    20       A. I don't remember.                        20   talking to.
    21       Q. Okay. Should additional steps            21       Q. Okay. So this -- this e-mail
    22   have been taken to verify that?                 22   then would have been the just -- the complete
    23       A. It could have been warranted,            23   justification for shipping this order?
    24   yes.                                            24       A. I believe so.
    25       Q. Okay. And if -- if, in fact,             25       Q. Okay. And so no steps were
   Golkow Litigation Services                                                Page 72 (282 - 285)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further73Confidentiality
                                                         of 88. PageID #: 248667
                                                                             Review
                                              Page 286                                            Page 288
     1   taken then to verify that in fact the            1   say, okay, and from what I read here is she's
     2   internal structure was what was driving their    2   saying, okay, based upon estimates from the
     3   demand; is that correct?                         3   customers of how much they'll be purchasing,
     4        A. I imagine this was the end of            4   we offered them a price. Okay?
     5   it, yes.                                         5            If they don't purchase close to
     6        Q. Okay. And so this -- okay.               6   that amount, we -- the amount they estimate,
     7   Strike that.                                     7   we encourage them to do that or their price
     8            (Mallinckrodt-Rausch Exhibit 14         8   may be adjusted. Okay?
     9        marked for identification.)                 9            So based upon their volume,
    10   QUESTIONS BY MR. KAWAMOTO:                      10   they -- they would -- you can buy at
    11        Q. So I'd like to mark this as             11   different tiers, is what I'm assuming this is
    12   Exhibit 14, and it bears a Bates number         12   saying.
    13   MNK-T1_266735.                                  13       Q. So in other words, if they
    14        A. Okay.                                   14   don't purchase close to their estimated
    15        Q. Okay. Now, this is an e-mail            15   quantity, there's a financial, you know,
    16   exchange between you and Penny Myers.           16   penalty or consequence that gets attached; is
    17            Who is Penny Myers?                    17   that fair?
    18        A. She was a business manager.             18       A. We're -- from what I read, it
    19        Q. Okay. And this is -- do you             19   sounds that -- when you say "penalty," no,
    20   recall receiving -- well, do you recall         20   they're telling us that, okay, based upon the
    21   sending and receiving these e-mails?            21   amount that they estimated to be buying from,
    22        A. I don't recall it, but I -- I           22   we quote them a price. Okay? If they don't
    23   wrote it, so, yes.                              23   buy that, then we're probably going to have
    24        Q. Okay. And you were -- you were          24   to increase the price.
    25   asking her about a suspicious order from        25       Q. Okay.
                                              Page 287                                            Page 289
     1   HD Smith -- or, I'm sorry, a peculiar order      1       A. You called it a penalty. We
     2   for HD Smith, and Penny indicates to you that    2   call it -- I wouldn't call it a penalty.
     3   the order is due to increased compliance and     3       Q. But it would be fair to say
     4   new pharmacies being added.                      4   they are getting a less favorable price?
     5            And then you ask her, "What is          5       A. Correct.
     6   increased compliance?" and the answer she        6       Q. So they have a financial
     7   gives you is above.                              7   incentive from Mallinckrodt to increase their
     8            Is this the complete record for         8   order; is that fair?
     9   the justification of this order?                 9       A. Correct.
    10       A. I don't remember.                        10       Q. Okay. So in essence, in the
    11       Q. Okay. Now, increased                     11   context of this e-mail, there is a financial
    12   compliance. Now, Penny -- well, strike that.    12   incentive from Mallinckrodt to have this
    13            You asked her what increased           13   seller essentially put in a peculiar order?
    14   compliance is, and Penny responds, "When we     14             MR. TSAI: Object to the form.
    15   offer a price, we asked for the estimated       15             THE WITNESS: No, I wouldn't
    16   quantity that they will purchase. If they       16       say a peculiar order.
    17   don't purchase close to the amount they         17   QUESTIONS BY MR. KAWAMOTO:
    18   estimated, we encourage them to do that or      18       Q. Well, this order was flagged in
    19   their price may not remain the same or their    19   the system as a peculiar order, was it not?
    20   VIP provision may change."                      20       A. It was. Okay. So what
    21            Do you see that?                       21   they're -- what it is is that, okay, the
    22       A. I do.                                    22   order is more than what they've ordered in
    23       Q. And what do you understand her           23   the past. The system flagged it. The
    24   to be saying with that?                         24   business manager reached out to the sales --
    25       A. What I'm understanding her to            25   to the customer -- or came back to Penny and
   Golkow Litigation Services                                                Page 73 (286 - 289)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further74Confidentiality
                                                         of 88. PageID #: 248668
                                                                             Review
                                              Page 290                                            Page 292
     1   said, "This is the reason why the orders have    1            Okay.
     2   increased, because we've given them a better     2        Q. Okay. So this is an e-mail
     3   price if they buy more." So that was             3   between you and Lisa Lundergan.
     4   justification for the order.                     4            Who is Lisa Lundergan?
     5       Q. Okay. And you don't know if               5        A. I believe she was a business
     6   they actually had an increase in demand,         6   manager.
     7   right? Well, strike that.                        7        Q. Okay. And do you recall
     8       A. I don't know that.                        8   sending or receiving these e-mails?
     9       Q. There's no indication that they           9        A. I don't recall it, but I see
    10   had an increase in demand. They might well      10   that I did.
    11   be purchasing this additional amount because    11        Q. Okay. And then this -- this
    12   they don't want to have to pay the increased    12   involves an order for 44,208 bottles of
    13   price?                                          13   morphine oral --
    14       A. I don't know. That's                     14        A. Okay.
    15   speculation. I can't answer that.               15        Q. -- which was three times more
    16       Q. But there's nothing in this              16   than they had ever placed before, and hence
    17   e-mail that indicates that they are --          17   it tripped the algorithm.
    18       A. One way or the other.                    18        A. Correct.
    19       Q. Yes.                                     19        Q. And Lisa's response to your
    20             Okay. So they are -- according        20   question as to why they are placing such an
    21   to this e-mail, the reason they're asking for   21   order is, "Yes, we are offering them the
    22   significant -- for significantly more than      22   remainder of our inventory for morphine oral
    23   they previously asked for is because they       23   since it was being discontinued. Thank you
    24   don't want to have to pay a less favorable      24   for checking."
    25   price; is that fair?                            25        A. Okay.
                                              Page 291                                            Page 293
     1      A.      That's correct.                       1       Q. Would that justification have
     2            But that was -- that was the            2   been sufficient for you to ship this order?
     3   reason why it hit the peculiar order report,     3       A. Yes.
     4   and this was the responses back of why.          4       Q. Okay. Is it a cause for a
     5            (Mallinckrodt-Rausch Exhibit 15         5   concern that -- well, strike that.
     6       marked for identification.)                  6            (Mallinckrodt-Rausch Exhibit 16
     7   QUESTIONS BY MR. KAWAMOTO:                       7       marked for identification.)
     8       Q. I'm going to mark this document           8   QUESTIONS BY MR. KAWAMOTO:
     9   as Exhibit 15, and this is MNK-T1_266730.        9       Q. Okay. So this is Exhibit 16
    10            Actually, I'm sorry, I just had        10   now. It bears the Bates number
    11   one more question on Exhibit 14, the            11   MNK-T1_298447.
    12   compliance e-mail.                              12       A. Okay.
    13            Could you turn to that again?          13       Q. So this says, "Cardinal placed
    14       A. I'm sorry, which one?                    14   a large order for" -- 851501, I believe
    15       Q. The prior one.                           15   that's the order number -- "for
    16       A. This one.                                16   12,720 bottles" -- I'm sorry, let me take a
    17       Q. So I think it's Exhibit 14.              17   step back.
    18       A. Exhibit 14? Okay.                        18            So this is an e-mail between
    19       Q. So the increased compliance              19   you and Kate Muhlenkamp again?
    20   justification, that would have been             20       A. Correct.
    21   sufficient to justify shipping the order?       21       Q. Do you recall receiving or
    22       A. Yes.                                     22   sending these e-mails?
    23       Q. Okay. Thank you.                         23       A. No.
    24            So now we're on Exhibit 15?            24       Q. Okay. Do you have any reason
    25       A. Yes.                                     25   to doubt that you did send or receive them?
   Golkow Litigation Services                                                Page 74 (290 - 293)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further75Confidentiality
                                                         of 88. PageID #: 248669
                                                                             Review
                                              Page 294                                             Page 296
     1       A. No.                                       1       diversion and that as you referred to
     2       Q. Okay. And so the e-mail -- the            2       in -- before, you know, the
     3   e-mail from you to Kate is that Cardinal has     3       distributors had their own programs in
     4   placed an order for 12,720 bottles, and their    4       place for diversion.
     5   average has been 3,227.                          5            As you can see from the e-mail,
     6       A. Okay.                                     6       we were -- we were doing our part as
     7       Q. And you wanted to know why                7       far as checking why the order was
     8   they're increasing their inventory for these     8       placed, and in my view, we did our due
     9   two products.                                    9       diligence of reaching out to the
    10       A. Okay.                                    10       business manager. The business
    11       Q. And her response is that she             11       manager had asked if -- on our behalf
    12   has been working with Cardinal to increase      12       if they would take a larger increase
    13   their inventories.                              13       of this product, and as far as I was
    14       A. Correct.                                 14       concerned, that was okay for releasing
    15       Q. Okay. Would that have been a             15       the order.
    16   sufficient justification to ship this order?    16   QUESTIONS BY MR. KAWAMOTO:
    17       A. Yes.                                     17       Q. Do you know if Karen Harper
    18       Q. Okay. Do you know why Kate was           18   signed off on the desire to have Cardinal
    19   working with Cardinal to increase their         19   increase their inventories?
    20   inventories?                                    20       A. I don't know that, no.
    21       A. I don't remember, no.                    21       Q. Would this have been a decision
    22       Q. Okay. Was it -- was it a                 22   she should have been involved in?
    23   concern to Mallinckrodt if a distributor was    23       A. I'm not sure if she should be
    24   accumulating an excessively large inventory     24   or not.
    25   of opioid products?                             25            What's your -- what's your --
                                              Page 295                                             Page 297
     1            MR. TSAI: Object to the form.           1   well, okay. Go ahead.
     2            THE WITNESS: I think what Kate          2       Q. Well, would -- would you agree
     3       was doing here was that Cardinal --          3   that it is a concern --
     4       well, I shouldn't -- I shouldn't             4       A. I can't -- I can't answer what
     5       speculate. I don't know what -- how          5   Kate's thinking was on this or what was going
     6       to answer that.                              6   on behind the scenes as far as us asking them
     7            It would have been a concern,           7   to increase their inventories. Maybe they
     8       well, our business manager felt that         8   were keeping lower-than-expected inventories.
     9       it was appropriate that we reached out       9   Maybe -- I don't know. I can't answer for
    10       to them and asked them for reasons          10   what reasons Kate Muhlenkamp had for asking
    11       that I can't answer right now, to go        11   for this.
    12       ahead -- if they would go ahead and         12       Q. Well, I'm not asking for -- I'm
    13       increase their inventories.                 13   not asking for your speculation as to what
    14   QUESTIONS BY MR. KAWAMOTO:                      14   Kate was thinking.
    15       Q. From a diversion control                 15       A. Okay, but you're -- okay, go
    16   standpoint, though, is it a concern when a      16   ahead.
    17   distributor starts accumulating a very large    17       Q. What I am asking is, from the
    18   inventory of controlled substances?             18   standpoint of diversion control, is it a
    19            MS. YOCUM: Objection to form.          19   concern to have distributors accumulating
    20            THE WITNESS: I think we were           20   large inventories of controlled substances?
    21       reaching out to them, so it was okay        21       A. If they have -- in my
    22       with us if they went ahead -- if we         22   viewpoint, if they have the controls in
    23       could ship this to them.                    23   place, it would not -- it would not be a
    24            So, again, we are not the --           24   problem.
    25       the sole party in this stream of            25       Q. And by "controls in place,"

   Golkow Litigation Services                                                Page 75 (294 - 297)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further76Confidentiality
                                                         of 88. PageID #: 248670
                                                                             Review
                                              Page 298                                             Page 300
     1   what do you mean by that?                        1   regard to this customer at NC?
     2        A. Suspicious order monitoring              2        A. I don't remember.
     3   program.                                         3        Q. Okay.
     4             (Mallinckrodt-Rausch Exhibit 17        4        A. Again, I don't think it was
     5        marked for identification.)                 5   anything that kicked out as far as being on
     6   QUESTIONS BY MR. KAWAMOTO:                       6   a -- on the peculiar order report. I think
     7        Q. So I'd like to mark this as              7   Cheryl was just reaching out and saying that
     8   Exhibit 17.                                      8   they had already reached the quantity of what
     9        A. Okay.                                    9   they could buy, and they were asking if they
    10        Q. So here's an e-mail from Cheryl         10   could buy more or whatever. That's what I --
    11   Nelson to Marc Montgomery and Kate              11   what I read out of this.
    12   Muhlenkamp, and you're cc'd on it.              12             And she reached out to -- to
    13        A. Correct.                                13   Marc Montgomery, who was the director of
    14        Q. Do you recall receiving this?           14   marketing.
    15        A. No, but I see that I'm cc'd on          15        Q. So this -- and this would have
    16   it, so I would have received it, I guess.       16   been sufficient to allow this shipment to go
    17        Q. Okay. And so Cheryl is asking           17   through then?
    18   Kate and Marc about a shipment that has         18        A. Yes.
    19   triggered the -- the suspicious order           19             MR. KAWAMOTO: Okay. So why
    20   algorithm, or the peculiar order algorithm;     20        don't we take a very short,
    21   is that correct?                                21        five-minute break, and I should be
    22        A. I don't know if it triggered            22        close to wrapping up.
    23   it, but from what I recall -- I don't know      23             VIDEOGRAPHER: We're going off
    24   where she's getting "we have experienced        24        the record at 5:06 p.m.
    25   considerable diversion tampering issues." I     25         (Off the record at 5:06 p.m.)
                                              Page 299                                             Page 301
     1   don't remember that, if that was the case        1            VIDEOGRAPHER: We are back on
     2   anymore.                                         2       the record at 5:14 p.m.
     3            But what they're saying here            3            MR. KAWAMOTO: Okay.
     4   is, there was a shortage, if I remember          4       Mr. Rausch, thank you for your time.
     5   right, of this product, and customers were       5       I have no further questions.
     6   only allowed so much a month based upon          6            THE WITNESS: Okay. Thank you.
     7   history, sales history, to them.                 7            MR. TSAI: So just to clarify,
     8            And from what I see here,               8       in case of redirect, I think I
     9   Cheryl was reaching out and asking who           9       probably have five minutes.
    10   were -- Kate and Marc, who were doing the       10            Do you want to do that now, or
    11   allocations, if it would be okay to ship them   11       should we do Tennessee first?
    12   material.                                       12            MS. CONWAY: I think
    13        Q. Okay. And so Mark says that             13       timing-wise, it should be fine for
    14   it's okay, and Kate says that it's okay; is     14       her.
    15   that correct?                                   15            MR. TSAI: Okay.
    16        A. Okay. Yes.                              16            VIDEOGRAPHER: We are going off
    17        Q. So would this order have been           17       the record at 5:14 p.m.
    18   shipped?                                        18        (Off the record at 5:14 p.m.)
    19        A. Yes, I would assume it would            19            VIDEOGRAPHER: We are back on
    20   be. I don't -- Kate -- yes, I would assume      20       the record at 5:15 p.m.
    21   it was, because it's not kicking out on the     21            CROSS-EXAMINATION
    22   suspicious order program.                       22   QUESTIONS BY MS. HERZFELD:
    23        Q. Okay. So no one did any                 23       Q. Mr. Rausch, how are you doing
    24   follow-up regarding what the considerable       24   this evening?
    25   diversion or tampering issues were with         25       A. Getting tired.

   Golkow Litigation Services                                                Page 76 (298 - 301)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further77Confidentiality
                                                         of 88. PageID #: 248671
                                                                             Review
                                            Page 302                                             Page 304
     1      Q.      Getting tired.                      1      and Dunaway have been prejudiced in
     2             Okay. You're okay to go for          2      their ability to prepare for this
     3   another hour or so?                            3      deposition.
     4        A. Is that what it's going to be?         4           Additionally, the Tennessee
     5        Q. Well, we'll see.                       5      Drug Dealer Liability Act claims at
     6             But do you feel like you're          6      issue in the Tennessee litigation have
     7   okay, or do we need to reset this for          7      different elements and require
     8   tomorrow?                                      8      different discovery and areas of
     9        A. No.                                    9      inquiry than the MDL.
    10        Q. Want to go forward now?               10           Also, the Tennessee Rules of
    11        A. We can go forward.                    11      Civil Procedure do not place any time
    12        Q. Okay. Great.                          12      restrictions on the length of
    13             Well, my name is Tricia             13      depositions. The Staubus and Dunaway
    14   Herzfeld, and I am one of the attorneys for   14      plaintiffs have requested two hours to
    15   the plaintiffs in the Tennessee state         15      depose Mr. Rausch today, in addition
    16   litigation known as the Staubus and Dunaway   16      to the MDL's deposition time. We
    17   cases in state court in Tennessee.            17      requested it nine days before this
    18             MS. HERZFELD: Before I start        18      scheduled deposition, and we're happy
    19        with my questioning, I just wanted to    19      that we could work that out with the
    20        officially lodge an objection on         20      parties.
    21        behalf of my clients that the            21           But regardless, if for some
    22        plaintiffs in the Staubus and the        22      reason there are additional documents
    23        Dunaway matter have not -- they've       23      that come forward at a later date, we
    24        been cross-noticed in this case but      24      would be moving to redepose Mr. Rausch
    25        have not been provided documents by      25      at that time based on the violations
                                            Page 303                                             Page 305
     1      Mallinckrodt in a timely way, nor in        1       I've just stated.
     2      compliance with the order issued out        2            I'm sure you've got something
     3      of the MDL.                                 3       you'd like to say.
     4           According to that order,               4            MR. TSAI: Yeah. For the
     5      Mallinckrodt was required to produce        5       record, Mallinckrodt's position is
     6      Mr. Rausch's complete and total             6       quite different from counsel's
     7      custodial file by November 2nd, 14          7       recitation, and we reserve our rights
     8      days in advance of this noticed             8       accordingly.
     9      deposition. Mallinckrodt continued to       9            MS. HERZFELD: Great.
    10      produce thousands of Mr. Rausch's          10            MR. TSAI: You can go ahead.
    11      custodial documents after                  11   QUESTIONS BY MS. HERZFELD:
    12      November 2nd, finally concluding on        12       Q. Okay. Mr. Rausch, have you
    13      November 12, 2018, just a few days         13   ever been to Tennessee?
    14      before we came here today.                 14       A. No, I have not.
    15           As required, 14 days before           15       Q. Okay. You haven't been for
    16      this deposition Mallinckrodt stated        16   pleasure or for work?
    17      that Mr. Rausch had no                     17       A. I drove through Nashville to go
    18      Tennessee-specific knowledge. The          18   to Florida.
    19      Staubus and Dunaway plaintiffs aren't      19       Q. Okay. Did you stop?
    20      sure if that is actually true, if you      20       A. No.
    21      have no knowledge about Tennessee          21       Q. Okay. Do you know when that
    22      whatsoever, but we intend to ask you       22   was?
    23      questions about Tennessee, regardless.     23       A. No, not offhand.
    24           By failing to abide by the            24       Q. Since you retired?
    25      protocol, the plaintiffs in Staubus        25       A. Before I retired.
   Golkow Litigation Services                                              Page 77 (302 - 305)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further78Confidentiality
                                                         of 88. PageID #: 248672
                                                                             Review
                                             Page 306                                              Page 308
     1       Q. Okay. Okay. And do you have               1        Q. Okay.
     2   any friends or family that live in Tennessee?    2        A. I didn't go out and buy a new
     3       A. No.                                       3   house or anything.
     4       Q. Okay. And when you left                   4        Q. So you think roughly less than
     5   Mallinckrodt, did you have any stock options     5   $
     6   with Mallinckrodt?                               6        A. Correct.
     7       A. No.                                       7        Q. Okay. Great.
     8       Q. Okay. Have you ever owned any             8             Okay. Would you agree with the
     9   stock in Mallinckrodt?                           9   statement that the opioid crisis seems to be
    10       A. Years ago, but they've all been          10   worse in some areas of the country?
    11   cashed.                                         11             MR. TSAI: Object to the form.
    12       Q. Okay. And was that part of a             12             THE WITNESS: Would I agree to
    13   compensation package for you?                   13        that? I don't have that information.
    14       A. It was -- it was part of a               14   QUESTIONS BY MS. HERZFELD:
    15   management program.                             15        Q. Okay. You said before that you
    16       Q. Okay.                                    16   did know -- have some knowledge about the
    17       A. The stock options were given at          17   opioid crisis in this country.
    18   a particular price. They had nothing to do      18        A. From the news, yes.
    19   with sales or anything like that.               19        Q. Okay. And do you have any
    20       Q. Okay. And what year was that?            20   information about particular regions where
    21       A. Oh, gosh. This is before                 21   the opioid crisis may be worse?
    22   probably 2000.                                  22        A. No, I haven't really followed
    23       Q. Okay. And was it just a                  23   it since I've been retired.
    24   one-time thing, or was it kind of year after    24        Q. You haven't followed the opioid
    25   year?                                           25   crisis news at all since you've been retired?
                                             Page 307                                              Page 309
     1       A. It was for three or four years,           1       A. Well, I've followed it. I've
     2   and then they raised the level that they         2   seen it on the news, but it didn't talk
     3   would give stock options, and I was no longer    3   specifically about areas that were of greater
     4   in the program.                                  4   concern than others.
     5       Q. Okay. When you say "they                  5       Q. Okay. Have you read any books
     6   raised the level" --                             6   about the opioid crisis?
     7       A. Of participation, as far as it            7       A. No.
     8   went from managers up to director level, I       8       Q. Okay. Have you heard
     9   believe.                                         9   particularly that the opioid crisis is
    10       Q. And you were at what level?              10   particularly bad in Appalachia?
    11       A. Manager.                                 11       A. No, I have not.
    12       Q. And so they took managers out            12       Q. Okay. What about West
    13   of the availability?                            13   Virginia?
    14       A. Correct.                                 14       A. No.
    15       Q. Okay. And how much would you             15       Q. What about Kentucky?
    16   say your stock options were worth when you      16       A. No.
    17   cashed them in?                                 17       Q. Virginia?
    18       A. I don't remember anymore.                18       A. No.
    19       Q. Like 10,000? Hundred thousand?           19       Q. How about Tennessee?
    20       A. Some of them weren't worth               20       A. No.
    21   anything because the stock dropped.             21       Q. You've never heard anything
    22       Q. Okay.                                    22   about the opioid crisis in Tennessee?
    23       A. No less than -- probably less            23       A. Not that I remember.
    24                                   but I'm         24       Q. Okay. What about Florida? Do
    25   guessing there.                                 25   you know anything about there being an opioid

   Golkow Litigation Services                                                Page 78 (306 - 309)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further79Confidentiality
                                                         of 88. PageID #: 248673
                                                                             Review
                                             Page 310                                              Page 312
     1   crisis in Florida?                               1           THE WITNESS: Well, no, I
     2       A. Back in the -- when I was still           2       didn't say that.
     3   employed, there was some information about       3   QUESTIONS BY MS. HERZFELD:
     4   Florida. I remember some news about Florida      4       Q. Oh, okay. I want to make sure
     5   being a place of concern for the DEA, yes.       5   I understand what you're saying, so correct
     6       Q. Okay. And do you know where               6   me.
     7   you obtained that information?                   7       A. Yes. As I said, it was because
     8       A. From the news.                            8   the DEA was saying that there was increased
     9       Q. Okay. Did you ever obtain that            9   diversion, and they were asking us to enhance
    10   information through your employment with        10   our programs.
    11   Mallinckrodt?                                   11       Q. Okay. So when the DEA was
    12            MR. TSAI: Objection to this            12   saying there was increased diversion, the way
    13       line of questioning. It's not               13   you took that was decreased diversion all
    14       Tennessee-specific.                         14   over the country, but you knew specifically
    15            But go ahead.                          15   about issues in Florida?
    16            THE WITNESS: Karen Harper, our         16       A. Yes, there was bullets put out
    17       DEA compliance officer, brought it up       17   by the DEA to our DEA compliance people, and
    18       to our attention.                           18   they passed on information about that.
    19   QUESTIONS BY MS. HERZFELD:                      19       Q. Okay. So you received specific
    20       Q. Okay. And what information did           20   information about Florida?
    21   she give you?                                   21       A. From what I remember, yes.
    22       A. She just noted that the DEA had          22       Q. Do you remember any other
    23   sent out a bullet that there was some issues    23   states?
    24   in Florida.                                     24       A. I don't.
    25       Q. Okay. And do you know roughly            25       Q. Okay. Were you aware that
                                             Page 311                                              Page 313
     1   what year that was?                              1   people were traveling from other states to
     2       A. I'd be guessing. I don't know.            2   Florida for the purpose of obtaining opioids?
     3   Probably -- I'd be guessing.                     3       A. I was.
     4       Q. The '80s? '90s?                           4       Q. And how did you become aware of
     5       A. Oh, 2000s.                                5   that?
     6       Q. 2000s.                                    6            MR. TSAI: Objection. Vague as
     7            Okay. Do you think it was               7       to time.
     8   before or after 2010?                            8            Go ahead.
     9       A. Probably before.                          9            THE WITNESS: Through what I
    10       Q. Okay. And did you make any               10       was just talking about, information
    11   changes based on -- to your job and your job    11       that Karen passed on to us.
    12   duties based on that information that you       12   QUESTIONS BY MS. HERZFELD:
    13   received from Karen Harper about Florida?       13       Q. Okay. Did you know that people
    14       A. Well, I believe, as you can see          14   from Tennessee specifically were going to
    15   from the documents that we were reviewing or    15   Florida to get opioids?
    16   from what we talked about, that there was a     16            MR. TSAI: Objection. Vague as
    17   growing concern from the DEA about diversion,   17       to time.
    18   and that's part of the reason why we enhanced   18            THE WITNESS: No, not
    19   our -- our program that we had in place,        19       specifically.
    20   suspicious order program.                       20   QUESTIONS BY MS. HERZFELD:
    21       Q. Okay. And so you believe that            21       Q. Since 2000, that people were
    22   the change in your suspicious order program     22   going from Tennessee to Florida to get
    23   was because of this information about           23   opioids, were you aware of that?
    24   Florida?                                        24       A. Was there a question there?
    25            MR. TSAI: Object to the form.          25       Q. Yes.
   Golkow Litigation Services                                                Page 79 (310 - 313)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further80Confidentiality
                                                         of 88. PageID #: 248674
                                                                             Review
                                             Page 314                                              Page 316
     1            Were you aware of that?                 1       to time.
     2       A. No.                                       2            THE WITNESS: Not that I
     3       Q. Okay. Did the suspicious order            3       remember.
     4   monitoring team monitor Tennessee news           4   QUESTIONS BY MS. HERZFELD:
     5   articles?                                        5       Q. Okay. I'm going to ask you
     6       A. No.                                       6   that question from 2000 to 2010.
     7       Q. Okay. Did the suspicious order            7            Did you receive any reports
     8   monitoring team monitor social media within      8   about distributors distributing to Tennessee
     9   Tennessee?                                       9   with issues of abuse and diversion?
    10       A. No.                                      10       A. I personally did not.
    11       Q. Okay. Did the suspicious order           11       Q. Okay. And what about from 2010
    12   monitoring team review Tennessee disciplinary   12   until the time that you retired?
    13   actions of pharmacists and prescribers?         13       A. I personally did not.
    14       A. Not that I'm aware of.                   14       Q. Okay. Did you ever hear of
    15       Q. Okay. Did the suspicious order           15   either of those things?
    16   monitoring team review third-party data for     16       A. No.
    17   red flags of diversion in Tennessee?            17       Q. Okay. Do you know if anybody
    18       A. I don't know what the                    18   in your team would have knowledge if it
    19   compliance group was monitoring.                19   wasn't you?
    20       Q. Okay. And that would have been           20       A. I can't speak for them.
    21   done through the compliance group?              21       Q. Okay. Whose responsibility
    22       A. Correct.                                 22   would it to -- to have that information,
    23       Q. Did you ever review IMS Health           23   reports about suspected abuse and diversion
    24   data or any other data to determine             24   of distributors --
    25   suspicious orders in Tennessee?                 25       A. I believe if there was such
                                             Page 315                                              Page 317
     1       A. No, I did not.                            1   reports, it would be going to our Karen
     2       Q. Okay. Would that have been                2   Harper in compliance.
     3   within your purview or that would have been      3       Q. Okay. And would you have been
     4   the compliance department?                       4   copied on those, or is that information you
     5       A. That would have been                      5   should have had?
     6   compliance.                                      6       A. Would I have been copied? No,
     7       Q. Okay. Did the suspicious order            7   not that I can remember.
     8   monitoring team discuss red flags that could     8            Was it -- how it would affect
     9   indicate diversion in Tennessee with you or,     9   my job, I don't think so.
    10   to your knowledge, to your team?                10       Q. Okay. What would have been
    11       A. Say that again.                          11   your role?
    12       Q. Did the suspicious order                 12       A. My role?
    13   monitoring team discuss red flags that could    13       Q. Yes, sir.
    14   have indicated diversion in Tennessee with      14       A. In the suspicious order
    15   you, or was there a discussion amongst the      15   monitoring program?
    16   team?                                           16       Q. If you had information that a
    17       A. No.                                      17   supplier that supplied to Tennessee was
    18       Q. Okay.                                    18   having issues with abuse and diversion, you
    19       A. Not that I remember.                     19   would have a role in that, would you not?
    20       Q. Okay. Did the suspicious order           20       A. Well, only an aspect if they
    21   monitoring team receive reports about           21   were -- they were placing orders with us that
    22   possible abuse or diversion of Mallinckrodt     22   would hit our suspicious order monitoring
    23   opioids by distributors that supplied to        23   program, that would have been my role.
    24   Tennessee?                                      24       Q. Okay. So I guess that's my
    25           MR. TSAI: Objection. Vague as           25   question.
   Golkow Litigation Services                                                Page 80 (314 - 317)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further81Confidentiality
                                                         of 88. PageID #: 248675
                                                                             Review
                                            Page 318                                             Page 320
     1       A. Okay.                                   1       Q. Okay. What about any detailing
     2       Q. So I'm going to back it up              2   of any Tennessee physicians by anyone at
     3   because maybe you didn't understand it.        3   Mallinckrodt, do you have any knowledge of
     4       A. Okay.                                   4   that?
     5       Q. So to your knowledge, you never         5       A. No, I do not.
     6   had any orders that came through that were     6       Q. Okay. Were you ever present
     7   dinged as suspicious orders through your       7   when opioid abuse or diversion issues in
     8   suspicious order monitoring team from          8   Tennessee were discussed by any other
     9   Tennessee or from suppliers that supplied      9   Mallinckrodt employee?
    10   pharmacies in Tennessee?                      10       A. No.
    11       A. No.                                    11       Q. Have you ever seen any memos or
    12       Q. Okay. Who would know that?             12   paperwork or any sort of a record talking
    13       A. To my knowledge, we did not            13   about --
    14   have any suspicious orders.                   14       A. Not that I can remember.
    15       Q. Okay. So you would be the              15       Q. -- abuse and diversion in
    16   person who would know that?                   16   Tennessee?
    17       A. For that period of time, from          17       A. No.
    18   2009 to 2010.                                 18       Q. Okay. Do you know if anyone on
    19       Q. Okay. Okay. And after that,            19   the suspicious order monitoring team, while
    20   it would have been?                           20   you were involved with it, ever discussed any
    21       A. I don't remember her name              21   problems with abuse or diversion with law
    22   anymore. I had the first name. It was in my   22   enforcement or other officials in Tennessee?
    23   notes. I don't -- I'm getting a little -- I   23       A. No, I do not remember that.
    24   don't remember her name. She was in the --    24       Q. Okay. Do you know which
    25   the rebate group.                             25   distributors at Mallinckrodt did business
                                            Page 319                                             Page 321
     1       Q. Okay. So after you left that            1   with that shipped Mallinckrodt opioids to
     2   position, she'd be the one who would know      2   Tennessee?
     3   that?                                          3       A. Which distributors we shipped
     4       A. Right.                                  4   to in Tennessee?
     5            MR. TSAI: Objection.                  5       Q. Yes, sir.
     6       Duplicative.                               6       A. I don't recall that, who they
     7            MS. HERZFELD: Can't be                7   were.
     8       duplicative if he doesn't know the         8       Q. Okay. What types of records
     9       name.                                      9   would show who those were, the distributors
    10            MR. TSAI: No, this question          10   that shipped to Tennessee?
    11       was asked before.                         11       A. Order processing records.
    12   QUESTIONS BY MS. HERZFELD:                    12       Q. Okay. Anything else?
    13       Q. Okay. On -- do you know if             13       A. That would probably -- from my
    14   Mallinckrodt's customer service department    14   point of view where I came from, order
    15   had a relationship with any pharmacies in     15   processing would be one of the places that
    16   Tennessee?                                    16   records would be kept.
    17       A. I do not know that.                    17       Q. Okay. Can you think of any
    18       Q. Okay. Do you know if any               18   other spots, or is that the only one you can
    19   Mallinckrodt employees ever detailed any      19   think of?
    20   Tennessee pharmacies?                         20       A. That's the only one I can think
    21       A. Detailed?                              21   of.
    22       Q. Went and met with them, like a         22       Q. Okay. Did the suspicious order
    23   sales call.                                   23   monitoring team ever break down how many
    24       A. I don't -- I don't have                24   particular pills were being shipped to a
    25   knowledge of that.                            25   state, on a kind of state-by-state basis?
   Golkow Litigation Services                                              Page 81 (318 - 321)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further82Confidentiality
                                                         of 88. PageID #: 248676
                                                                             Review
                                             Page 322                                              Page 324
     1   Did you ever look at that in the aggregate?      1   that would be a possibility.
     2        A. By state by state?                       2       Q. Okay. But to your knowledge,
     3        Q. Yes, sir.                                3   from your perspective, everything was the
     4        A. Not that I'm aware of.                   4   same?
     5        Q. Okay. Or by ZIP code or by               5       A. From my perspective, correct.
     6   city?                                            6       Q. Okay. And so that would go for
     7        A. No.                                      7   Tennessee as well. Tennessee was never
     8        Q. Okay. Do you know what                   8   treated differently than any other state?
     9   percentage of Mallinckrodt opioids were sent     9       A. Correct.
    10   to Tennessee?                                   10       Q. Okay. Did you ever have any
    11        A. I do not.                               11   discussion with any distributors about
    12        Q. Okay. Do you know if there was          12   problem prescribers in Tennessee?
    13   ever a consideration in the suspicious order    13       A. No.
    14   monitoring team about the number of opioids     14       Q. Did you ever hear a discussion
    15   shipped to a particular area compared to that   15   of problem prescribers in Tennessee?
    16   area's population?                              16       A. No.
    17        A. No.                                     17       Q. Okay. And what about problem
    18        Q. Okay. So other than we talked           18   pharmacies?
    19   about Florida a little bit just a few minutes   19       A. No.
    20   ago, you said that the changes were             20       Q. Okay. Do you know if any
    21   generally -- I'm paraphrasing you, so tell me   21   distributor orders going to Tennessee ever
    22   if I'm saying it incorrectly -- that the DEA    22   appeared to be in your peculiar order report
    23   generally had some concerns about diversion     23   or suspicious order report?
    24   generally, and you knew specifically about      24       A. I don't remember. I don't
    25   this issue in Florida.                          25   remember.
                                             Page 323                                              Page 325
     1       A. Correct.                                  1        Q. Is it possible to determine in
     2       Q. Based on that information, did            2   the aggregate, year by year, how many of
     3   you treat Florida any differently than any       3   those suspicious orders or peculiar order
     4   other state in performing your job               4   reports were generated for Tennessee? From
     5   responsibilities?                                5   Tennessee?
     6       A. Not my job responsibilities.              6        A. Is it possible to do that? I
     7   Our -- our reports from -- would --              7   guess it's possible. I don't know how it
     8   nationally for all that would -- would take a    8   would be done, but I can't answer it any
     9   look at orders that were being processed from    9   further than that.
    10   Florida, like any other order, and kick out     10        Q. When you put the information
    11   peculiar orders from them.                      11   into the computer or database or whatever --
    12       Q. Okay. So I want --                       12        A. Right. And looking at how far
    13       A. At that time, yeah.                      13   back you're talking about, whether the data
    14       Q. I want to make sure I                    14   is still available, someone from -- from IS
    15   understand your answer correctly.               15   or whatever would have to put together a
    16            So Florida would have been             16   report, if they could, of the history of
    17   looked at the same as any other state at that   17   orders that were placed by companies in
    18   point?                                          18   Tennessee.
    19       A. From what I remember.                    19        Q. Okay. And do you know what the
    20       Q. Okay.                                    20   name of that database was or if there was --
    21       A. There may have been -- you               21        A. JD Edwards.
    22   know, we had a compliance group led by Karen    22        Q. JD Edwards?
    23   Harper that would visit distributors and        23        A. That was the order processing
    24   that. That may have been one of the areas       24   system.
    25   that they keyed in on. I'm not sure, but        25        Q. Okay. And that's what was used
   Golkow Litigation Services                                                Page 82 (322 - 325)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further83Confidentiality
                                                         of 88. PageID #: 248677
                                                                             Review
                                             Page 326                                             Page 328
     1   at the time?                                     1       A. I don't remember.
     2       A. Yes.                                      2       Q. Okay. Did you ever attend any
     3       Q. Okay. And do you have a                   3   meetings about the DEA investigation of
     4   designation for state or region or something     4   Sunrise Wholesale?
     5   geographically?                                  5       A. No, I didn't.
     6       A. Yes.                                      6       Q. Okay. Did you hear about a
     7       Q. Okay. Great.                              7   sting operation in 2009 of -- in Tennessee
     8            Do you know if there were any           8   relating to Sunrise Wholesale in Florida?
     9   Tennessee pharmacies on Mallinckrodt's           9       A. No, I didn't.
    10   chargeback restriction list?                    10       Q. Okay. Have you ever spoken or
    11       A. I'm not familiar with the                11   do you know a person named Pete Kleissle?
    12   chargeback system.                              12       A. Doesn't ring a bell.
    13       Q. Okay. Do you know if anyone              13       Q. Okay. DEA agent?
    14   from your team ever communicated with any       14       A. No, doesn't -- sorry.
    15   Tennessee pharmacies?                           15       Q. That's okay.
    16       A. No.                                      16            Have you ever spoken to a DEA
    17       Q. Did you ever communicate with            17   agent, to your knowledge?
    18   any Tennessee pharmacies?                       18       A. Not that I can remember.
    19       A. Not that I -- no.                        19       Q. Okay.
    20       Q. Okay. And I'm not -- I may               20       A. It was -- most of our
    21   have asked you this question, so if I did, I    21   communication with the DEA was through Karen
    22   apologize.                                      22   Harper's group.
    23            You don't recall any suspicious        23       Q. Okay.
    24   orders coming from Tennessee for diversion or   24       A. Our compliance group, I should
    25   overordering or anything?                       25   say.
                                             Page 327                                             Page 329
     1       A. No.                                       1       Q. Okay. Have you ever heard of
     2       Q. Okay. Do you have any                     2   Dr. Barry Schultz?
     3   familiarity with Sunrise Wholesale?              3       A. Does not ring a bell.
     4       A. I've heard of them.                       4       Q. Okay. And do you know who
     5       Q. In Delray Beach, Florida?                 5   would have been involved in a decision to
     6       A. Yes.                                      6   continue to ship to Sunrise Wholesale after
     7       Q. Okay. Did you have any                    7   July of 2009?
     8   involvement with Sunrise Wholesale while you     8       A. Who would have been involved?
     9   were at Mallinckrodt?                            9       Q. Who would have made that
    10       A. As far as what?                          10   decision.
    11       Q. Any discussions about them?              11            Would that have been you?
    12   Meetings?                                       12       A. Whether we were going to -- no,
    13       A. I remember Sunrise being                 13   that was above my pay grade.
    14   discussed. What was discussed, I don't          14       Q. Okay.
    15   remember.                                       15       A. It would have been our DEA
    16       Q. Okay. Do you recall Tennessee            16   compliance group. They would have informed
    17   being mentioned in relation to Sunrise?         17   us that we were no longer going to ship to
    18       A. No.                                      18   them.
    19       Q. Okay. Do you know if Sunrise             19       Q. Okay. And if they didn't, you
    20   Wholesale had been flagged for suspicious       20   would just continue shipping to them if
    21   orders or peculiar orders?                      21   they're an existing customer?
    22       A. I don't remember.                        22            MR. TSAI: Object to the form.
    23       Q. Okay. Did you ever learn at              23            THE WITNESS: That's -- that's
    24   some point that Sunrise Wholesale was being     24       asking me to -- I don't -- I'll answer
    25   investigated by the DEA?                        25       that by saying I don't think we do,

   Golkow Litigation Services                                                Page 83 (326 - 329)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further84Confidentiality
                                                         of 88. PageID #: 248678
                                                                             Review
                                              Page 330                                            Page 332
     1       because the compliance group would           1       Q. Did you ever go to Cincinnati
     2       have informed us not to ship to them         2   for a meeting to discuss suspicious order
     3       anymore.                                     3   monitoring?
     4   QUESTIONS BY MS. HERZFELD:                       4       A. I believe we did.
     5       Q. If there was already a raid?              5       Q. Okay. When do you think that
     6       A. Yes.                                      6   was?
     7       Q. Okay. But you don't have any              7       A. I don't remember. Probably
     8   knowledge specifically about --                  8   2009.
     9       A. No, I don't.                              9       Q. Okay. And do you recall what
    10       Q. -- Sunrise?                              10   the purpose of the meeting was?
    11            Okay. Do you know who Steve            11       A. To discuss their suspicious
    12   Becker is?                                      12   order program, look to observe their
    13       A. I do.                                    13   facility.
    14       Q. Who is Steve Becker?                     14       Q. When you say "them," who do you
    15       A. Steve Becker was a salesman.             15   mean?
    16       Q. Okay. A salesman at                      16       A. Oh, I'm sorry.
    17   Mallinckrodt?                                   17       Q. That's okay.
    18       A. Correct.                                 18       A. I believe -- I believe Karen --
    19       Q. Okay. Do you recall attending            19   well, I think Karen Harper was involved, but
    20   a meeting with Steve Becker in July of 2010     20   I don't remember for sure. I believe our
    21   to talk about the oxy situation?                21   VP -- VP of sales was involved. She went
    22       A. I don't recall it.                       22   along. And also our director of marketing
    23       Q. Have you ever been in a meeting          23   was also involved.
    24   with Steve Becker that you've talked about      24             But our purpose, I believe, at
    25   diversion or oxy or anything like that?         25   the time was to see what monitoring they had
                                              Page 331                                            Page 333
     1       A. I don't remember.                         1   in their system for suspicious orders, that
     2       Q. Okay. Do you recall ever                  2   type of thing.
     3   discussing Tennessee with Steve Becker?          3        Q. And when you say "monitoring in
     4       A. No.                                       4   their system" --
     5       Q. Okay. Do you know a                       5        A. What their suspicious order
     6   distributor named KeySource Medical, Inc.?       6   program was, if they had one, and what
     7       A. I remember the name.                      7   their -- because we were doing some due
     8       Q. Okay. Do you remember anything            8   diligence, as I mentioned earlier, that we
     9   specific about them?                             9   were trying to outreach to other companies
    10       A. They were a customer at some             10   that we dealt with to see if we could help
    11   point.                                          11   them in developing suspicious order reporting
    12       Q. Okay. In Florida maybe?                  12   if they didn't have it already.
    13       A. I would be guessing that they            13        Q. And which company were you
    14   were in Florida.                                14   visiting?
    15       Q. Okay. Do you know if you had             15        A. I don't remember the name.
    16   any interaction with KeySource Medical?         16        Q. Okay. You just knew it was in
    17       A. No.                                      17   Cincinnati and there was a big group of
    18       Q. Okay. Do you know if that --             18   people?
    19   you ever heard anybody mention or read in any   19        A. Yes.
    20   documents any interactions between KeySource    20        Q. Okay. Okay. And you didn't
    21   Medical and Tennessee?                          21   attend a DEA meeting in 2011 in Arlington,
    22       A. No.                                      22   Virginia?
    23       Q. Okay. Have you ever been to              23        A. No.
    24   Cincinnati?                                     24        Q. Okay. I'm assuming that
    25       A. I have been to Cincinnati.               25   because you said you've never met a DEA
   Golkow Litigation Services                                                Page 84 (330 - 333)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further85Confidentiality
                                                         of 88. PageID #: 248679
                                                                             Review
                                              Page 334                                             Page 336
     1   agent.                                           1       A. I remember discussions about
     2       A. Right.                                    2   Harbor being reviewed -- reviewed by the DEA.
     3       Q. Okay. Do you know anything                3       Q. Okay. Do you remember who was
     4   about Masters Pharmaceutical?                    4   having those discussions?
     5       A. I remember the name, yes.                 5       A. The DEA.
     6       Q. Okay. And did you interact at             6       Q. Okay. And do you recall who
     7   all with Masters Pharmaceutical?                 7   told you?
     8       A. Were they in Cincinnati?                  8       A. I believe that was probably
     9       Q. I wish I could answer that                9   from Karen Harper.
    10   question for you. I can't.                      10       Q. Okay. And did Ms. Harper or
    11       A. I don't -- okay. Because I               11   anyone else ever mention Tennessee in
    12   couldn't remember what the name of the          12   connection with the Harbor Medical Group?
    13   company was in Cincinnati.                      13       A. Not that I remember.
    14       Q. I don't have that information.           14            MS. HERZFELD: Okay. I don't
    15       A. Did I interact personally with           15       think I have any further questions for
    16   them?                                           16       this witness at this time. Thank you.
    17       Q. Yes.                                     17            VIDEOGRAPHER: We're going off
    18       A. No.                                      18       the record at 5:46 p.m.
    19       Q. Do you know if anyone from your          19        (Off the record at 5:46 p.m.)
    20   team did?                                       20            VIDEOGRAPHER: We are back on
    21       A. By "your team," do you mean              21       the record at 5:47 p.m.
    22   compliance people?                              22            CROSS-EXAMINATION
    23       Q. Yes, sir.                                23   QUESTIONS BY MR. TSAI:
    24       A. I'm sure there was some                  24       Q. Mr. Rausch, do you recall your
    25   inter -- I believe so.                          25   testimony earlier today regarding Mr. Howard
                                              Page 335                                             Page 337
     1       Q. Okay. Do you recall them                  1   Davis?
     2   having any particular issues with suspicious     2       A. I do.
     3   or peculiar orders?                              3       Q. Have you ever met Howard Davis?
     4       A. I don't remember.                         4       A. Not that I can recall.
     5       Q. Okay. Do you remember anybody             5       Q. Have you ever spoken with
     6   particularly kind of being repeat customers      6   Howard Davis?
     7   for issues for suspicious or peculiar orders?    7       A. Not that I can recall.
     8       A. We didn't have -- in the time             8       Q. Do you know whether Howard
     9   frame that I had, we didn't have any             9   Davis had any experience as of November 2010
    10   suspicious orders.                              10   in regard to developing or implementing any
    11       Q. Okay. So you've -- as was                11   suspicious order monitoring program?
    12   already discussed, you would track those down   12       A. I do not know if he did or not.
    13   and eventually the order would go through?      13       Q. Could you pull up Exhibit 10?
    14       A. Right.                                   14       A. (Witness complies.)
    15       Q. Okay. What about the Harbor              15       Q. And if I could refer you to
    16   Medical Group in Livonia, Michigan, do you      16   Section 5, entitled "Background
    17   recall any interactions with them?              17   Documentation."
    18       A. I remember the name.                     18       A. Okay.
    19       Q. Okay. And do you remember                19       Q. Is it your understanding that
    20   anything particularly about them?               20   this is Mr. Davis' personal recommendation as
    21       A. As far as --                             21   to additional background documentation for
    22       Q. Suspicious orders?                       22   Mallinckrodt to request for its customers?
    23       A. -- compliance, that type of              23       A. That's my understanding.
    24   thing?                                          24       Q. Are Mallinckrodt's customers
    25       Q. Yes, sir.                                25   individual pharmacies?

   Golkow Litigation Services                                                Page 85 (334 - 337)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further86Confidentiality
                                                         of 88. PageID #: 248680
                                                                             Review
                                             Page 338                                             Page 340
     1       A. No.                                       1           MR. TSAI: No further
     2       Q. Are Mallinckrodt's customers              2       questions.
     3   patients or end users?                           3           MR. KAWAMOTO: Okay. I believe
     4       A. No.                                       4       I'm permitted to recross.
     5       Q. Are Mallinckrodt's customers              5           MR. TSAI: Yes. It's a
     6   physicians or other prescribers?                 6       minute-for-minute for recross.
     7       A. No.                                       7           MR. KAWAMOTO: I guess I have
     8       Q. Are Mallinckrodt's customers              8       seven minutes or six minutes.
     9   distributors or other manufacturers?             9           REDIRECT EXAMINATION
    10       A. Yes.                                     10   QUESTIONS BY MR. KAWAMOTO:
    11       Q. If you could go back to                  11       Q. Okay. So, Mr. Rausch, your
    12   Section 5, and do you see the bullet point --   12   counsel asked you a number of questions
    13   one of the background documentation items       13   regarding Section 5 relating to the types of
    14   recommended by Mr. Davis as of November 2010    14   information that could be solicited; is that
    15   in this memo is "Do they self-medicate?"        15   fair?
    16            Do you see that?                       16       A. That's correct.
    17       A. Yes.                                     17       Q. Could this information have
    18       Q. Could Mallinckrodt ask a                 18   been solicited from a distributor's
    19   distributor whether it self-medicates?          19   customers?
    20            MR. KAWAMOTO: Objection to             20       A. From a distributor's customer?
    21       form.                                       21       Q. Yes.
    22            THE WITNESS: No.                       22       A. I guess it could be.
    23   QUESTIONS BY MR. TSAI:                          23       Q. So this is information that
    24       Q. If you could go to the very              24   could be gathered on Mallinckrodt -- on the
    25   next bullet point: "Are they treating family    25   customers of Mallinckrodt's customer,
                                             Page 339                                             Page 341
     1   members?"                                        1   correct?
     2             Do you see that?                       2       A. Yes.
     3        A. Yes.                                     3       Q. And using the chargeback data,
     4        Q. Could Mallinckrodt ask one of            4   Mallinckrodt could -- Mallinckrodt had an
     5   its distributor customers whether it is          5   understanding of who the distributor's
     6   treating family members?                         6   customers were; is that correct?
     7        A. No.                                      7            MR. TSAI: Object to the form.
     8        Q. Could Mallinckrodt, looking at           8            THE WITNESS: I don't know how
     9   the next bullet point, ask one of its            9       the chargeback data worked. I was not
    10   distributor customers how many patients do      10       familiar with that process.
    11   they see daily?                                 11   QUESTIONS BY MR. KAWAMOTO:
    12        A. No.                                     12       Q. Is it your understanding that
    13        Q. Going to the next bullet point,         13   the chargeback data could be used to identify
    14   recommended by Mr. Davis, could Mallinckrodt    14   the end users?
    15   ask one of its distributor customers about      15       A. I believe so.
    16   the number of patients to whom they dispense    16       Q. Okay.
    17   controlled substances?                          17       A. But to -- do they
    18        A. No.                                     18   self-medicate? I don't think they could find
    19        Q. Do these recommendations even           19   that information out and some of the other
    20   make sense for a manufacturer like              20   questions here.
    21   Mallinckrodt?                                   21            MR. KAWAMOTO: Okay. No
    22        A. Not to me.                              22       further questions.
    23        Q. And do you agree with                   23            THE WITNESS: Okay.
    24   Mr. Davis' recommendations here?                24            VIDEOGRAPHER: We're going off
    25        A. No.                                     25       the record at 5:51 p.m.
   Golkow Litigation Services                                                Page 86 (338 - 341)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further87Confidentiality
                                                         of 88. PageID #: 248681
                                                                             Review
                                              Page 342                                                 Page 344
     1     (Deposition concluded at 5:51 p.m.)            1          INSTRUCTIONS TO WITNESS
     2           –––––––                                  2
     3                                                    3           Please read your deposition over
     4                                                    4   carefully and make any necessary corrections.
     5                                                    5   You should state the reason in the
     6                                                    6   appropriate space on the errata sheet for any
     7                                                    7   corrections that are made.
     8                                                    8           After doing so, please sign the
     9                                                    9   errata sheet and date it. You are signing
    10                                                   10   same subject to the changes you have noted on
    11                                                   11   the errata sheet, which will be attached to
    12                                                   12   your deposition.
    13                                                   13           It is imperative that you return
    14                                                   14   the original errata sheet to the deposing
    15                                                   15   attorney within thirty (30) days of receipt
    16                                                   16   of the deposition transcript by you. If you
    17                                                   17   fail to do so, the deposition transcript may
    18                                                   18   be deemed to be accurate and may be used in
    19                                                   19   court.
    20                                                   20
    21                                                   21
    22                                                   22
    23                                                   23
    24                                                   24
    25                                                   25

                                              Page 343                                                 Page 345
     1             CERTIFICATE                            1        ACKNOWLEDGMENT OF DEPONENT
     2                                                    2
     3           I, CARRIE A. CAMPBELL, Registered        3
         Diplomate Reporter, Certified Realtime
     4   Reporter and Certified Shorthand Reporter, do    4            I,______________________, do
         hereby certify that prior to the commencement        hereby certify that I have read the foregoing
     5   of the examination, James Rausch was duly        5   pages and that the same is a correct
         sworn by me to testify to the truth, the             transcription of the answers given by me to
     6   whole truth and nothing but the truth.
     7           I DO FURTHER CERTIFY that the            6   the questions therein propounded, except for
         foregoing is a verbatim transcript of the            the corrections or changes in form or
     8   testimony as taken stenographically by and       7   substance, if any, noted in the attached
         before me at the time, place and on the date         Errata Sheet.
     9   hereinbefore set forth, to the best of my
         ability.                                         8
    10                                                    9
                 I DO FURTHER CERTIFY that I am          10
    11   neither a relative nor employee nor attorney    11
         nor counsel of any of the parties to this
    12   action, and that I am neither a relative nor    12   ________________________________________
         employee of such attorney or counsel, and            James Rausch      DATE
    13   that I am not financially interested in the     13
         action.                                         14
    14
    15                                                   15   Subscribed and sworn to before me this
    16                                                   16   _______ day of _______________, 20 _____.
            ____________________________                 17   My commission expires: _______________
    17      CARRIE A. CAMPBELL,
            NCRA Registered Diplomate Reporter           18
    18      Certified Realtime Reporter                  19   Notary Public
            Notary Public                                20
    19
    20                                                   21
    21                                                   22
    22                                                   23
    23      Dated: November 23, 2018                     24
    24
    25                                                   25

   Golkow Litigation Services                                                  Page 87 (342 - 345)
Case:Highly
      1:17-md-02804-DAP Doc #:- 1983-21
              Confidential       SubjectFiled:
                                           to 07/24/19
                                               Further88Confidentiality
                                                         of 88. PageID #: 248682
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     2          –––––––
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   Golkow Litigation Services                              Page 88 (346 - 347)
